Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 1 of 273 Page ID #:6447




                            Ghanem_Sentencing_00001027
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 2 of 273 Page ID #:6448




                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             800

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                            Ghanem_Sentencing_00001028
    Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 3 of 273 Page ID #:6449


   From:                              Rami Ghanem <ramithe@gmail.com>
   Sent:                              Sunday, December 14, 2014 12:33 PM
   To:                                Mohd <aldaboubim@gmail.com>
   Subject:                           Invoices
   Attach:                            Mi 24 Tools Invoice.pdf; L39 Invoice.pdf~Fl Invoice.pdf




   &mawq ~. l!LBNA- /ti!J'.l!Q
   Egypt Office
   Complex 122, Building 16, Apartment 42
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fa'I:: 962 6 5685625
   .r.~m.m~.~@gm.~.i.~~-~9..m.. or                          .@1~.@.9'!@'.~Pc~m~-Si9.hi:ic
   US Telephone: 772 675-4363                                S1.-ype Address: caravanarne

    The information contained In this message is for the intended addressee only and mey contai n confldenti.ll a no/or privileged Information. tf you are not the Intended acdressee, this messa1e wll self destruct so
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    of any cf its associated :ompanies. No reliarce miv be placed on this mes.~ge without written confirm at.on frcm an authorized rep·esertatlve of the company.




                             Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                   Before you speak >>Listen
                                                                                   Before you write »Think
                                                                                    Before you spend »Earn
                                                                                   Before you pray »Forgive
                                                                                     Before you hurt >>Feel
                                                                                    Before you hate » Love
                                                                                     Before you quit »Try
                                                                                     Before you die »Live

                                                                                                    That's Life ...




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 4 of 273 Page ID #:6450




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 5 of 273 Page ID #:6451




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 6 of 273 Page ID #:6452



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          Mob.: +962 777100 577 - +962 777 333 390
                                               P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 7 of 273 Page ID #:6453




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 8 of 273 Page ID #:6454



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          Mob.: +962 777100 577 - +962 777 333 390
                                               P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 9 of 273 Page ID #:6455




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 10 of 273 Page ID
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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 11 of 273 Page ID
                                  #:6457




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT             801

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                         Ghanem_Sentencing_00001037
           Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 12 of 273 Page ID
                                             #:6458

   From:                            Rami Ghanem < ramithe@gmail.com>
   Sent:                            Sunday, February 22, 2015 9:33 Afv1
   To:                              Mohd <aldaboubim@gmail.com>
   Subject:                         Invoices
   Attach:                          MiG 23 & 25 Invoice.pdf; Mi24 tools fnvoice.pdf; L39 tools Invoice.pdf; Mj 24 Engines
                                    and APU.PDF; Mi 24 Crew for March 2015.pdf



   Boss you have the invoices for the following:

   MiG 23 & 25 Crews
   Mi24 tools
   Mi 24 engines and APU
   L39 Tools
   Mi24 Crew




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   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational # : +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com or rami(CP,caravaname.com
   US Telephone: 772 675-4363 Sl')'pe Address: !;.~nw.mJ~~~

    The Information contained in this mes..,e Is for the Intended addressee only and m;y contain confidentlal and/or p-lvlle:ed loformatlon.11 you are not the Intended acdressee, this messa,e wll self destruct so
    notify t he sender; do not copy o r distribut e this mes.sage or disc-lose luco ntcnt:s t o anyone. A ny views o r eplnlcns expressed inthb 1r1c s"Sagc a1c these o f the iuthor and do not necessarily rcpre,.cnt ttosc: cf CME o r
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                           life is short .. So love your life .. Be happy .. And Keep smiling.. and


                                                                                   Before you speak »listen
                                                                                    Before you write >>Think
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 13 of 273 Page ID
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                           Before you quit »Try
                           Before you die »Live

                               That's Life ...




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 14 of 273 Page ID
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 15 of 273 Page ID
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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

                                                                                           
       00089218                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001041
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 16 of 273 Page ID
                                  #:6462

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              5DPL*KDQHP                      

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   SOLDTO:                                           DELIVERY/CONSIGNEE:
   .D\DQ,QWHUQDWLRQDO&RPSDQ\
                                                       .D\DQ,QWHUQDWLRQDO&RPSDQ\
   $%'(/6$/$0$/,                                       $%'(/6$/$0$/,            
   0LVXUDWD.LU]D]/LE\D                             0LVXUDWD.LU]D]/LE\D
  ,WHP             'HVFULSWLRQVRI*RRGV              4XDQWLW      8QLW3ULFH        7RWDO$PRXQW
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                                                                                             
           )LOWHUVIRU,0 SFV IUHHDVD                             
            UHSODFHPHQW                                             
             'HYLFHIRUPHDVXULQJIUDFWXUHDQG
                                                          
             KHDUWEHDWWUDQVPLVVLRQVKDIW SLHFH 
            +3% SXPSFRQWURO                      
           $LUFRPSUHVVRU$.
           8OWUDVRQLFGHYLFHIRUZDVKLQJILOWHUV 
            VPDOOVL]H 
           2LOGUDLQKRVHZLWKJHDU±
             0DJD]LQHVSUHSDULQJWRIO\KHOLFRSWHUV
   
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           3HDU5HILOOVD[LDOMRLQWVDQGEXVKLQJV+%
           3%
                                                          2QH+XQGUHG 1LQHW\(LJKW
           ([KDXVWSLSHV OHIWDQGULJKW    7KRXVDQGV86'
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     00089220                                                                Ghanem_00000241

                                 Ghanem_Sentencing_00001042
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 17 of 273 Page ID
                                  #:6463


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00089220                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001043
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 18 of 273 Page ID
                                  #:6464




    SOLO TO:                                             DELIVERY/ CONSIGNEE:

    Kayan International Company                          Kayan International Company
    ABDELSALAM ALI                                       ABDELSALAM ALI
    Misurata. Kirzaz. Libva                              Misurata. Kirzaz. Libva
    Item                Descriptions of Goods            Quantit      Unit Price     Total Amount
                                                            y
               Tools for L39
               Apparat us for checking aneroid
               membrane devices KIIY-3 -
                                                                    $63,000             $63,000
               Device with swivel flange to drain the
               fuel from the fuel tank -

               Control to check the tightness of the
               enclosure and the fuel system of the
               aircraft

               Engine tool for engine Al-25TL - used Total ........... ............ $63,000.00
               in case of replacement of the engine,
               as well as the replacement of its
               various units (25.TL.1900.30) -;      Sixty T hree Thousands USD

               Tool kit for engine Al-25TL - used
               during       flight      operations
               (25.TL.1900.010) -
               6.Tecbnical documentation for L 39 -

               MJG-23
               J) Y30 MEC (34,8 Kr) -
               2) BDT3<1>-5 (34,8 Kr) -




                        info/@Gatewaymena com
                        Mobile: +201 127999552




     00089222                                                                   Ghanem_00000241

                                     Ghanem_Sentencing_00001044
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 19 of 273 Page ID
                                  #:6465




   Bank Details:
   Invest Bank, Shmessani Branch.
   43 Abdul Hamid Sharar St.
   P.O. Box 950601
   Amman 11195 Jordan
   Telphone: +9626 5001500
   Fax+

   Company Name: Gateway to MENA for
   Logistics Services
   Account USD # 00133000021662220001
   IBAN Number:
   J019JIFB0010033000021662220001

   SWIFT: JIFBJOAJ\,l




     00089222                                          Ghanem_00000241

                         Ghanem_Sentencing_00001045
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 20 of 273 Page ID
                                  #:6466

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   SOLDTO:                                          DELIVERY/CONSIGNEE:
   .D\DQ,QWHUQDWLRQDO&RPSDQ\
                                                      .D\DQ,QWHUQDWLRQDO&RPSDQ\
   $%'(/6$/$0$/,                                      $%'(/6$/$0$/,            
   0LVXUDWD.LU]D]/LE\D                            0LVXUDWD.LU]D]/LE\D
  ,WHP             'HVFULSWLRQVRI*RRGV             4XDQWLW      8QLW3ULFH     7RWDO$PRXQW
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     00089224                                                               Ghanem_00000241

                                 Ghanem_Sentencing_00001046
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 21 of 273 Page ID
                                  #:6467


                                       GataWMENA                                           


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00089224                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001047
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 22 of 273 Page ID
                                  #:6468

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   SOLDTO:                                      DELIVERY/CONSIGNEE:
   .D\DQ,QWHUQDWLRQDO&RPSDQ\
                                                  .D\DQ,QWHUQDWLRQDO&RPSDQ\
   $%'(/6$/$0$/,                                  $%'(/6$/$0$/,            
   0LVXUDWD.LU]D]/LE\D                        0LVXUDWD.LU]D]/LE\D
  ,WHP          'HVFULSWLRQVRI*RRGV            4XDQWLW 8QLW3ULFH        7RWDO$PRXQW
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     00089226                                                           Ghanem_00000241

                              Ghanem_Sentencing_00001048
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 23 of 273 Page ID
                                  #:6469


                                       GataWMENA                                           


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     &RPSDQ\1DPH*DWHZD\WR0(1$IRU
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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00089226                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001049
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 24 of 273 Page ID
                                  #:6470




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT         802

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001050
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 25 of 273 Page ID
                                         #:6471

   From:           Gerton Business <gerton.businessllp@gmail.com>
   Sent:           Sunday, February 22, 2015 6:13 Afv1
   To:             Rami Ghanem < ramithe@gmail.com>
   Subject:        Ammounts



   1) L 39 tools+fvlIG 23 mastique =12 600$
   2) 24 tools = 71 392 $
   3) MIG 23 sallary ( pi lot-3 months and technicians 1 months)= 111 224$
   4) MI24 sallary= 335 800$(81 000$-R. G.)
   BR+




00089229.pdf                                                                 Ghanem 00000241
                                         Ghanem_Sentencing_00001051
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 26 of 273 Page ID
                                  #:6472




                                            CASE NO.   CR 15-0704 (A)-SJO
                                                  UNITED STATES OF AMERICA
                                             VS.     GHANEM

                                            PLAINTIFF=S EXHIBIT          803

                                            DATE                               IDEN.

                                            DATE                               EVID.

                                            BY
                                                          DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001052
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 27 of 273 Page ID
                                         #:6473

   From:           Gerton Business <gerton.businessllp@gmail.com>
   Sent:           Saturday, Apri l 4, 2015 11:09 AM
   To:             Rami Ghanem < ramithe@gmail.com>
   Subject:        25



   As for MIG 25 +
   1 pilot is ready to go+
   1) salary 20 per month=60000
   2) pocket money is 900 per month -2700
   3) Ins - 4050
   4) Cash 1850
   Total:68600

   If we need technjcians it is possible 9000 per months




00084824.pdf                                                            Ghanem 00000241
                                          Ghanem_Sentencing_00001053
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 28 of 273 Page ID
                                  #:6474




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT             804

                                            DATE                                  IDEN.

                                            DATE                                  EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001054
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 29 of 273 Page ID
                                         #:6475

   From:                     Mohd <aldaboubim@gmail.com>
   Sent:                     Sunday, April 5, 2015 1:53 AM
   To:                       Rami Ghanem < ramithe@gmail.com>
   Subject:                  Re: 25



   This is expensive


   Sent from my iPhone                  Ii
   On Apr 5, 2015, at 09:41 , Rami Ghanem <ramithe@gmaiJ..com> wrote:

         If you want me to send it directly to Haj Mohammed or Khalifa, I will please fix the prices and
         send it back to me.

         As for MIG25
         1 pilot is ready to go
         1) salary 30 per rnonth=90000
         2) pocket money is 900 per month =2700
         3) Ins - 4050
         4) Cash 1850
         Total :98600

         If we need technicians it is possible 15000 per months + other expenses




         ti.awq ~• l!IBHL /tif'J!I/
         Egypt Office
         Complex 133, Building 7, Apartment 32
         Al Rehab City, Cairo Egypt
         lternational #: +37282432246
         Telephone# 00201127999552
         Jordan Office

         Tel: 962 6 5685624
         Fax: 962 6 5685625
         ramithe@gmail.com . or ram i@caravaname.com
         US Telephone: 772 675-4363 Skype Address: caravaname

           The lnformatlo11 contained In this message Is for the lnteaded ~ddruseeonly and may contain corlide.ntlal and/01 privle&td Information. If you ue not the Intended addrusee this messaee
          wlU self destr uct so not ify t he sender; do not <lCPY o r distribute this message o r disclose its oontenb to anyone. Any views or opin ions c:<prcs.scd In t his mes~agc ere t h:>sc of the author and do
          not necess.arily represent those of CME or of any of hs as.sodat-~ compafl~S. No ce!ianct: may be p1aced on this mes.sag~ without written conflrmltion from an author zed ,epresentatlve cf
          the ccmpany.




                    Life is short .. So love your life .. Be happy .. And Keep smiling .. and



00084789.pdf                                                                                                                                                                                    Ghanem 00000241
                                                                            Ghanem_Sentencing_00001055
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 30 of 273 Page ID
                                  #:6476


                         Before you speak »Listen
                         Before you write »Think
                          Before you spend »Earn
                         Before you pray »Forgive
                           Before you hurt »Feel
                          Before you hate »Love
                           Before you quit »Try
                           Before you die »Live

                               That's Life ...




                                                                 Ghanem 00000241
                         Ghanem_Sentencing_00001056
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 31 of 273 Page ID
                                  #:6477




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT         805

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001057
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 32 of 273 Page ID
                                         #:6478

   From:           Alexei Alexei <office.hartford@gmail.com>
   Sent:           Saturday, May 16, 2015 9:15 AM
   To:             Rami Ghanem < ramithe@gmail.com>
   Subject:        Full Report



   Total ammount arrived to account:
   799 050 $
   Transfers:
   - Serbia - arrived to them 50 000 $ + bank transfer fee 90 $ + bank service fee (0,3%) 150 $ = 50 240 $
   - Ecuador - anived 100 000 S + bank transfer fee 684,25 $ + bank service fee (0,3%) 300 $ = 100 984,25 $
   - Sallary l'vfl 24 + pocket money 4 months - l 45 600 $
   - Sallary L 39 + pocket money 3 months - 93 500 $
   - Insuarancc - 3 250 *7 = 22 750 $ + 3 % = 23 432 $
   - Debt for Ecuador - 6630 $

   Residue on the account for 15.05.2015 : 378 664 $

   General need to transfer:
   -145600$
   - 6 630 $
   After that Residue on the account wi ll be - 530 894 $




   Your Cash money
   Was 45 200 $
   Paid :
   - Simtravel Rami - 200 $
   - David - 2 000 $
   Total: 43 000 $
   Added to your money:
   - Sallary l'vU 24 + 26 200 $
   - Sallary L 39 + 18 500 $
   Total your money I have at 16.05.2015 are: 87 700 $




00080074.pdf                                                                                   Ghanem-00072443
                                          Ghanem_Sentencing_00001058
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 33 of 273 Page ID
                                  #:6479




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT         806

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001059
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 34 of 273 Page ID
                                         #:6480

   From:           Mohd <aldaboubim@gmail.com>
   Sent:           Wednesday, June 24, 2015 3:12 PM
   To:             Rami Ghanem < ramithe@gmail.com>
   Subject:        Fwd: Invoices
   Attach:         Mi24 tools Invoice.pdf; Untitled attachment 01436.htm; L39 tools lnvoice.pdf; Untitled
                   attachment 01 439.htm ; Various items Invoice.pd( Untitled attachment 01442.htm ; L39
                   Invoice 2nd.pdf; Untitled attachment 01445.htm




   Sent from my iPhone    Ii
   Bt!gin forwarded message :

        From: Mohd <aldaboubim@gmail_.com>
        Date: June 13, 2015 at 18:10:50 GMT+3
        To: mohammad aldaboubi <mdaboubi@ hotmail.com>
        Subject: Fwd: Invoices




         Sent from my iPhone           Ii
        Begin forwarded message :

               From: Mohd <aldaboubim@gmail.com>
               Date: May 14, 2015 at 18:33 :02 GMT+2
               To: Fakroun <fakrun l@ gmail.com>
               Subject: Fwd: Invoices

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                      ccntents to anyone. AllY views oropi.nion.s exvr¢$Std i.n this mes..'aae ue those oflhe author and do not ne~ar:ly rcpre.se=u Lh<:$C ofCME or
                      of any of its associo.tedcom)Xlni¢S. No reUance ,ray be ploe:d on tJtis tnessage without written confirmntion froo on tutho:ized reprtsi.'tlta:.ive
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                      Life is short .. So love your life .. Be happy .. And Keep
                                                                              smiling.. and


                                                             Before you speak »Listen
                                                             Before you write »Think
                                                             Before you spend »Earn


00078542.pdf                                                                                                                                                                Ghanem-00072443
                                                             Ghanem_Sentencing_00001060
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 35 of 273 Page ID
                                  #:6481

                           Before you pray »Forgive
                                Before you hurt »Feel
                                Before you hate >>Love
                                 Betore you quit »Try
                                 Before vou
                                        .,  die »Live


                                      That's Life ...




          From: Mohd[mailto:aldaboubim@c<rynailcom.]
          Sent: Thursday, May 14, 2015 4:35 PM
          To: Rami Ghanem
          Subject: Fwd: lnvoices




          Sent from my iPhone   ~

          Begin forwarded message:

               From: Mohd <aldaboubim@ gmail.com>
               Date: February 22, 2015 at 20:16:26 GMT+2
               To: Fakroun <fakrun.I@gmail.. com>
               Subject: Fwd: Invoices




               Sent from my t.Phone   Ii

               Begin forwarded message:

                     From: "Rami Ghanem" < ramithe@ gmail,.com>
                     Dale: February 22, 2015 al 19:33 :29 GMT+2
                     To: "'Mohd"' <aldaqoubirn@gI)lail.com>
                     Subject: Invoices

                     Boss you have the invoices for the


                                                                  Ghanem-00072443
                            Ghanem_Sentencing_00001061
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 36 of 273 Page ID
                                  #:6482

                   following:



                   Mi G 23 & 25 Crews

                   Mi24 tools

                   Mi 24 engines and APU
                   L39 Tools

                   Mi24 Crew




                   G~wq ~- l!LBNL /Gn!I/
                   Egypt Office

                   Complex 133, Building 7, Apartment 32

                   Al Rehab City, Cairo Egypt

                   Iternational #: +37282432246

                   Telephone# 00201127999552

                   Jordan Office

                   Tel: 962 6 5685624
                   Fax: 962 6 5685625
                   ramithe@gmail.com . or rami@caravanamc.com
                   US Telephone: 772 675-4363                                  Skype Address:
                   cara,,~mame

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                    Life is short.. So love your life .. Be
                     happy .. And Keep smiling .. and



                                   Before you speak »Listen



                                                                                                                               Ghanem-00072443
                                  Ghanem_Sentencing_00001062
    Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 37 of 273 Page ID
                                      #:6483

                                     Before you write >> Think
                                      Before you spend »Earn
                                     Before you pray »Forgive
                                        Before you hurt »Feel
                                       Before you hate >>Love
                                        Before you quit »Try
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                                              That's Life ...




No virus found in this message.
Checked by A VG- www.av..R.£9m
Version: 2015.0.6086 I Virus Database: 4392/1 - Release Date: 07/07/15
Internal Virus Database is out of date.




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 38 of 273 Page ID
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 39 of 273 Page ID
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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00078546                                                              Ghanem-00072443

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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 40 of 273 Page ID
                                        #:6486




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 41 of 273 Page ID
                                  #:6487




    SOLO TO:                                             DELIVERY/ CONSIGNEE:

    Kayan International Company                          Kayan International Company
    ABDELSALAM ALI                                       ABDELSALAM ALI
    Misurata. Kirzaz. Libva                              Misurata. Kirzaz. Libva
    Item                Descriptions of Goods            Quantit      Unit Price     Total Amount
                                                            y
               Tools for L39
               Apparat us for checking aneroid
               membrane devices KIIY-3 -
                                                                    $63,000             $63,000
               Device with swivel flange to drain the
               fuel from the fuel tank -

               Control to check the tightness of the
               enclosure and the fuel system of the
               aircraft

               Engine tool for engine Al-25TL - used Total ........... ............ $63,000.00
               in case of replacement of the engine,
               as well as the replacement of its
               various units (25.TL.1900.30) -;      Sixty T hree Thousands USD

               Tool kit for engine Al-25TL - used
               during       flight      operations
               (25.TL.1900.010) -
               6.Tecbnical documentation for L 39 -

               MJG-23
               J) Y30 MEC (34,8 Kr) -
               2) BDT3<1>-5 (34,8 Kr) -




                        info/@Gatewaymena com
                        Mobile: +201 127999552




     00078549                                                                   Ghanem-00072443

                                     Ghanem_Sentencing_00001067
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 42 of 273 Page ID
                                  #:6488




   Bank Details:
   Invest Bank, Shmessani Branch.
   43 Abdul Hamid Sharar St.
   P.O. Box 950601
   Amman 11195 Jordan
   Telphone: +9626 5001500
   Fax+

   Company Name: Gateway to MENA for
   Logistics Services
   Account USD # 00133000021662220001
   IBAN Number:
   J019JIFB0010033000021662220001

   SWIFT: JIFBJOAJ\,l




     00078549                                          Ghanem-00072443

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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 43 of 273 Page ID
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 44 of 273 Page ID
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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 45 of 273 Page ID
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 46 of 273 Page ID
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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 47 of 273 Page ID
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00078555.pdf                                                           Ghanem-00072443
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 48 of 273 Page ID
                                  #:6494




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT             807

                                            DATE                                  IDEN.

                                            DATE                                  EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




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       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 49 of 273 Page ID
                                         #:6495

   From:                     m ohammad aldaboubi <mdaboubi@hotmail.com>
   Sent:                    Sunday, July 12, 20 15 5:27 AM
   To:                      Rami Ghanem < ramithe@gmail.com>
   Subject:                 Fwd: new Invoices
   Attach:                   Invoice for Fl parts.pdf; Messag e Text; Crew Invoice 2nd term.pdf; Message Text




   Sent from my iPhone                  lf:i
   Beg in forwarded message :

        From: "Rami Ghanem" <ramithe@grnail .com>
        To: mdaboubi@ hotmail.com
        Subject: new invoices




         tillbN,qJ                      ~f#      .l!LBNA- /tirn!IJ
        Egypt Office
        Complex 133, Building 7, Apartment 32
        Al Rehab City, Cairo Egypt
        lternational #: +37282432246
        Telephone# 00201127999552
        Jordan Office

        Tel: 962 6 5685624
        Fax: 962 6 5685625
        ramithe@_gmail.com.. or ram.i@.caravauame.com
        US Telephone: 772 675-4363 Skype Address: caravaname

            The information contained in this message is for the 1nte11ded addressee only and may contain confidential and/or privteged information. If you ue not the intended addressee t his message
           win self destruct so notify 1he stnder; do not «PV or distribute this messace or disclose rt$ content$ to anyone. Any views or opinions expressed In this messace ere th,se of the author and do
           not neces.s.arily represent those of CME or of any of hs assoc:iat~ companies. No ,e·iance ma\' be p'aced on this mes.sag~ wltbout written confl,m1tlon from an author zed ,epresentatlve cf
           lheccmpany.




                    Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                         Before you speak »Listen
                                                                          Before you write >>Think
                                                                          Before you spend »Earn
                                                                         Before you pray »Forgive


00077628.pdf                                                                                                                                                                           Ghanem-00072443
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 50 of 273 Page ID
                                  #:6496

                          Before you hurt »Feel
                          Before you hate »Love
                           Before you quit »Try
                           Before you die »Live

                               That's Life ...




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 51 of 273 Page ID
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                                                                                    
        Mob.: +962 777100 577 - +962 777 333 390   P.O Box 830589 Amman 11183   Email: aldaboublm@gmall.com



       00077630                                                                      Ghanem-00072443

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 53 of 273 Page ID
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                                                      Quantity                 TotalSalary
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                                                                               monthin
                                                                               USD
              Completeteamforservice                               
            andoperationalcrewforMi  Person     9X90days                 584,720
                           24Helicopter
            MobilizationFees                1          50,000                  50,000
            OtherExpenses                  1          98,000                  98,000
            AirTickets&HotelOne                      1,150        
                                             10                                   11,500
            nightinKiev
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        Mob.: +962 777100 577 - +962 777 333 390   P.O Box 830589 Amman 11183   Email: aldaboubim@gmail.com
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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 55 of 273 Page ID
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                               Ghanem_Sentencing_00001081
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 56 of 273 Page ID
                                  #:6502




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT         808

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           Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 57 of 273 Page ID
                                             #:6503
   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Tuesday, July 14, 2015 6:22 AM
   To:                            Salam <fakrunl @gmail.com>
   S ubject:                       2 Invoices
   Attach:                        L39 Invoice 3rd.pelf; ASF L39 tools Invoice.pelf




   till&WII/I W J!IBNA. /tin!IJ
   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com or rami@caravaname.com
   US Telephone: 772 675-4363                           Skype Address: caravaname

     The lnformadon contalred In this inessa~ Is for the intended addressee only and may contain confldent,al an:J/or prlv\leged informatk>n. If yOJ are not t-.e lntende:I add'essM, thh me,sage will self de1t-ruc-t so notify the
    sender; :lo not cOfi/ o r distrib Jte ttis message o r disclos.e its c,nterts to anyone. Any views oropinilnS e.1pres;ed in this mesS.1ge are those of the a uthor a nd co not necessarily re present those of CMEe r of any of its
    as!ociated conparies. No reliance may be pla:ed on this me~age without wri:ten confirmatio, from an authaized representative cf the compa ny.




                               Life is short .. So love your life .. Be happy .. And Keep smi ling .. and


                                                                                     Before you speak »Listen
                                                                                      Before you write »Think
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                                                                                                       That's Life ...




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 58 of 273 Page ID
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 61 of 273 Page ID
                                  #:6507




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT             809

                                            DATE                                  IDEN.

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                         Ghanem_Sentencing_00001087
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 62 of 273 Page ID
                                        #:6508

   From:       Bill G1igor <office.gb.defence@gmail.com>
   Sent:       Tuesday, August 4, 2015 8:34 AM
   To:         Rami Ghanem <Ramithe@gmail.com>
   Subject:    Report
   Attach:     Full report 2.docx




00076971.pdf                                                           Ghanem-00072443
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       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 63 of 273 Page ID
                                         #:6509

 30.07.2015

 INCOMING TRANSFERS : 799 050 $ (07.05.2015)       T   238 000$ (04.06.2015)   = 1 037 050 $
 OUTGOING TRANSFERS:

     1) Serbia - arrived to them 50 000 $+bank transfer fee 90 $+bank service fee (0,3%) 150 $ = 50 240 $
     2) Ecuador - arrived 100 000 $+bank transfer fee 684,25 S + bank service fee (0,3%) 300 $ = 100 984,25 $
     3) Sallary Ml 24 + pocket money - 145 600 $
     4) Sallary L 39 + pocket money - 93 500 $
     5) Insuarance - 3 250 *7 = 22 750 $ + 3 % = 23 432 $
     6) Debt for Ecuador - 6630 $ - 1800 ( cash Libya) = 4 030 $
     7) Israel transfer : 20 000 $ + bank fee transfer 115 $ + bank service 60 $ =20 17 5 $
     8) Moscow cash payment: 18 000 $ + 3,25 % (cash service)= 18 585 $
     9) Tickets Ecuador - Istanbul (technicians)= 2* 1367 euro = 2 734 euro = 3 065 $ + 3% = 3 157 $
     10) Tickets Istanbul - Ecuador ( body technician)= 1115 euro = 1 249 $ + 3% = 1 287 $
     11) Sallary for 2 new technicians: 20 000 $+bank transfer fee 230 S + bank service 60 $ = 20 290 $
     12) Sallary Borys : 20 000 $+bank transfer fee 120 $+bank service 60 $ = 20 180 $
     13) Sallary L 39 + pocket money : 92 400 $
     14) Ticket Istanbul - Chisinau: 160 $
     15) Turkey 01.06 -05.06: 1490 $
     16) Sallary for 4 technicians Fl : 40 000 $+bank transfer fee 460 $+bank service 120 $ = 40 580 $
     17) Sallary for 5 techniciam Fl: 50 000 $+bank transfer fee 575 $+bank service 150 $ = 50 725 $
     18) Sallary for injured technician Fl : 10 000 $+bank transfer fee 115 $+bank service 30 $ = 10 145 $
     19) Sallary for Borys Fl : 16 180 $ + bank transfer fee 115 $ + bank service 50 $ = 16 345 $
     20) Tickets for Borys go-back: 3 350 euro = 3 765 $ + 3% = 3 878 $
     21) Transfer for China (Freddy): 930 $ + 3 % = 958 $
     22) Company+ accoun t + bank service ( Whitebrix LP): 10 500 euro = 11815 S + bank fee 115 $ = 11 930 $
     23) Visit to Riga ( hotel + tickets + food) = 1 325 $
     24) Last visit to Sofia ( fruits delivery + ammo company): hotel 875 $+oil 300 $+green card 60 $+other 175 $
         = 1 410 $ + 3% = 1 4 5 2 $
     25) Sallary L 39 + pocket money : 92 400 $
     26) Paid for lost tickets L 39 : 1 200 $ - 53 % = 564 $
     27) Tickets L 39 Istanbul- Kharkov (29.07.2015): 5* 270 euro = 1 350 euro = 1 518 $ +3 % = 1 565 $
     28) Visit to Istanbul and Budapest are not included because of No Result

 Total on the banking account for 30.07.2015: 208 873 $




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        Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 64 of 273 Page ID
                                          #:6510



Rami cash for 07.05.2015: 45 200 $

Incoming cash:

   1) Ml 24 : 26 200 $
   2) L39 : 18 500 $
   3) L39 : 18 500 $
   4)    L 39: 18 500 $

Paid:

   1) Simtravel : 200 $
   2)   David : 2 000 S
   3) Vladimir problem way: 250 $
   4) Vladimir problem guys : 1100 S ( p t time)+ 700 S (2"d time)= 1800 $
   5) Tickets Rome - Gabon - Uganda : 1 464 $
   6) Tickets Uganda - Istanbul : 744 $
   7) Tickets Moldova - Istanbul : 147 $
   8)   Omar Egypt : 10 500 $
   9)   Uganda hotel : 2 280 $
   10) Uganda ( meal + taxi ) : 350 $
   11) Simtravel : 200 $
   12) Omar problem guy ( 2 Bottles Hennessey) : 500 $
   13) Sister in law treatment Lebanon : 5 000 S
   14) Passport for special school guys : 1 000 $
   15) New passport Ukraine : 22 000 $
   16) Bulgary Ammo company: 19 500 $
   17) Docs for ammo company (translation+ OHL) : 136 S


        Total RG cash: 58 830 $




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 65 of 273 Page ID
                                  #:6511




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT         810

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                         Ghanem_Sentencing_00001091
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 66 of 273 Page ID
                                        #:6512

   From:           Alexei Alexei <office.hartford@gmail.com>
   Sent:           Friday, September 4, 2015 8:36 AM
   To:             Rami Ghanem < ramithe@gmail.com>
   Subject:        Fwd: report
   Attach:         report 04.09.2015.doc




     Gum! afternoon Dear Brother
   · Please see attached file with financial report on 04.09.2015

    Have a nice day




00075583.pdf                                                           Ghanem-00072443
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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 67 of 273 Page ID
                                        #:6513

     04.09.20l5

     Total on tile banking accotmt for 30.07.2015 : 208 873 $

     INCOMING TRANSFERS : 160 000 $ (02.09.2015)

     OUTGOING TRANSFERS:
       1) Sallary L-39 - 80 000 $
       2) Round - trip tickets Fl team - 18 584 $ + 3% = 19 140 $
       3) Fl te.'Ull hotel and shuttle =320 $ + 3% = 330 $
       4) Tickets L 39 team - 1380 $ + 3% = 1 421 $

     Total on the banking account for 04.09.2015 : 267 982 $


     Rami cash for 30.07.2015 : 58 830 $

     Incoming cash :
         1) l 39 : 19 000 $ ( no 3 % cash rate )


     Paid:
         1) Simtravel : 200 $
         2) Egypt ( Omar ) : 70 000 $
         3) Bulgary delivery trip: 425 $ ( way fee)+ 630 $ ( hotel) = 1 055 $
         4) Kiev trip: 160 $ ( way fee)+ 136 $ (hotel ) = 296 $


     Total RG cash for 04.09.2015 : 6 280 $




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 68 of 273 Page ID
                                  #:6514




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

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          Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 69 of 273 Page ID
                                            #:6515

   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Monday, November 30, 2015 12:46 AM
   To:                            mohammad almufleh <mdaboubi@ hotmail.com>
   Subject:                       New Invoices
   Attach:                        Fl new Invoice.pdf; L39 new Invoice.pdf




   B•w••IJ ~- JJ/Jl/1#· /B'TB/
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   lternational #: +37282432246
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe~gmajl.colJI_ or rami~cara~_ggm
   US Telephone: 772 675-4363 SL·y pe Address: caravaname

     The information contained .-i this message Is for the Intended addressee only and m;v coriiain confidenti.al anc/or prlvde,ied Information. If you are not the Intended acdressee, this tneS$3te wil self destruct so
    notify the sender; do not copy or distribute this message or disclose Its contents to anyone. Any views or cpl nlons expressed In this me~ge are chose of the author and do not necessarily represent ttose of CME or
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                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                              Before you speak »Listen
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 71 of 273 Page ID
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                                )D[
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                   ,'                       *RYRUGHU                   ,'                            
                                                                                                              
    ʋ  &RGH                'HVFULSWLRQRI                                           3ULFHLQ         9DOXH
                           VHUYLFHVGHOLYHU\          0HDVXUH     4XDQWLW\               86'              
                                                                                               
                                6HUYLFHDQG 3HUVRQ              [                       
                           2SHUDWLRQDOFUHZIRU                    GD\V               
                                  /DLUFUDIW
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    $02817                                                                                             
    9$7                                                                                                   
    727$/                                                                                            86'
      6D\ 6L[+XQGUHGV QLQHW\WKRXVDQG86'
                                                                                                          
                   7(5062)3$<0(17ZLUHWUDQVIHU                                          6HHEHORZWKH%DQNGHWDLOV

    3ODFHRILVVXH$PPDQ                                        ,VVXHUDQGUHVSRQVLEOHIRUWKHRSHUDWLRQ5DPL
                                                                                  6LJQDWXUH,GHQWLILFDWLRQFRGH



  5HFLSLHQW
   VLJQDWXUH 
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 LQIR#*DWHZD\PHQDFRP
 0RELOH



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    00073320                                                                                         Ghanem-00072443

                                                 Ghanem_Sentencing_00001097
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 72 of 273 Page ID
                                  #:6518




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT        812

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001098
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 73 of 273 Page ID
                                        #:6519

   From:       Alexei Alexei <office.hartford@gmail.com>
   Sent:       Thursday, December 3, 2015 8:21 AM
   To:         Rami Ghanem <ramithe@gmail.com>
   Subject:    Fwd: report
   Attach:     report november.doc




00073005.pdf                                                           Ghanem-00072443
                                   Ghanem_Sentencing_00001099
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 74 of 273 Page ID
                                        #:6520




      01.12.2015



      Total on the banking account for 01.12.2015: 121976 $




      INCOMING TRANSFERS: 0 $



       OUTGOING TRANSFERS:



           1) Salary L-39 : 80 000 $




      Total on the banking account for 01.12.2015: 41 976 $



               Rami cash for 15.11.2015: 55 700 S

       Incoming cash :

           1) L 39 : 19 000 $ - 3 % = 18 500   $
       Paid:
           1) G&B Defence ( October, November, December )- 1345 $
                 1.1 Accounting company ( G&B Defence - Bulgary) - 3    * 275$ = 825 $ ( Ghanem -   410   $; Banari -   425 $)
                 1.2 Salary for director (G&B Defence - Bulgary) - 3 * 450 $ = 1 350 $ (Ghanem - 675 $; Banari - 675 $)
                 1.3 Taxes {G&B Defence - Bulgary) - 3* 175 $ = 525 $ (Ghanem - 260 $; Banari - 265 $)


      Total RG cash for 01.12.2015: 72 855 S




00073006.pdf                                                                                                     Ghanem-00072443
                                                   Ghanem_Sentencing_00001100
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 75 of 273 Page ID
                                  #:6521




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT             813

                                            DATE                                  IDEN.

                                            DATE                                  EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001101
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 76 of 273 Page ID
                                  #:6522



From:               Rami Ghanem <ramithe@ gmail.com>
Sent:               Tuesday, November 18, 2014 6 :54 PM
To:                 Mohd <aldaboubim@gmail.com>
Subject:            Emailing: Doroob 9Invoice.pdf, Crew lnvoice.pdf
Attach :            Crew Invoice.pdf; Doroob 9Invoice.pdf


Boss.

Attached 2 invoices. one to use as a cover for the money transfer and the
2nd one the original invoice for the services.

Regards



Your message is ready to be sent with the following file or link
attachments:

Doroob 9Invoice.pdf
Crew Invoice.pelf


Note: To protect agaiJtSt computer virnses, e-mail programs may prevent
sending or receiving cenain types of file anaclunems. Check your e-mail
security settings to dctcnninc how attachments arc handJcd.


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   00095693                                                                 Ghanem_00000241

                                             Ghanem_Sentencing_00001102
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 77 of 273 Page ID
                                       #:6523




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                            COMI\i1ERCIAL INVOICE NO: 2014/ ASF/81                                                                                                 i
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               SOLO TO:                                                                                  DELIVERY/ CONSIGNEE:
               Libyan Air Academy                                                                        Libyan Air Academy
               Tripoli. Libya                                                                            Tripoli. Libya


                                 2014/11/19


                                                                                              Fees to be paid Salary
                                                                                                                                       Total Salary
                                                                                              once per               price per
                                        Functional                              QTY                                                   price per 3
                                                                                              contract               month in
                                                                                                                                      mont h in USO
                                                                                                                     USO
            Captain                                                                 2                X                 19,885                 119310
            Co Pilot                                                                2                X                 18,744                 112464
            Flight Engineer                                                         2                X                 18,744                 112464
           Had engineer for Engine and                                                               X
                                                                                    1                                  18,856                 56,568
           Arms
                                                                                                           ,
           Engine Technician                                                        1                X                 15,314                 45,941
           Radio and Avionic                             X
                                              1                                                                        15,314                 45,941
           Technician
           Arms Technician                    1          X                                                             15,314                 45,941
           Per Diem (daily for each
                                             10       45,000                                                                                  45,000
           function)
           Translation additional amount
                                              1         150                                                                X                   150
           per3 months
           Mobilization Fees                  1       50,000                                                               X                  50,000
           Other Expenses                     1       98,000                                                               X                  98,000
           Air Tickets & Hotel One night               1,150
                                             10                                                                            X                  11,500
           in Kiev
             Total amount for 3 months ( Seven Hundred & Forty
              Four Thousands & Two Hundred and twenty USO)
                                                                                                                                       $ 744,220.00




0009569                                                                                                                                           Ghanem_00000241
                                                                       Ghanem_Sentencing_00001103
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 78 of 273 Page ID
                                       #:6524



                               Gat

           Bank Details:
           Invest Bank, Shmessani Branch.
           43 Abdul Hamid Sharaf St.
           P.O. Box 950601
           Amman 11195 Jordan
           Telphone: +9626 5001500
           Fax+

           Company Name: Gateway to MENA for
           Logistics Services
           Account USD # 00133000021662220001
           IBAN Number:
           J019JIFB0010033000021662220001

           SWIFT: JIFBJOAM




0009569                                                              Ghanem_00000241
                              Ghanem_Sentencing_00001104
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 79 of 273 Page ID
                                       #:6525




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                  C01\1MERCIAL INVOICE NO: 2014/ ASF/83
                                                                                        \!o, 17th 20 1·1
                           -                      - -   - ---   -   -           .                    -           - --                    -   .

           SOLO TO:                                                                             DELIVERY/ CONSIGNEE:

           D oroob Vehicles Impor t Company                                                     KD01·oob Vehicles Import Compa ny

           1\-Usurata, Kirzaz. Libya                                                            Misurata, Kirzaz. Libya
           Item                Descriptions of Goods                                             Quantit Unit Price             Total Amount
                                                                                                             y

                1 2014 Toyota Hilux
                       Warranty: Warranty Available
                      Transmission: Automatic, Engine: 4.0L 30            $24,808.00             $744,240.00
                      V6 DOHC, Exlerior Color: bla1;k, Fuel
                      Type: Diesel Features & Options Ext
                      / Int Color Luxury Featu res Air
                      Conditioning, Clock, Cruise Control
                      Tachometer, Telescoping Steering
                      Wheel Tilt Steering Wheel Power
                      Equipment, Power Locks, Power           Total ....... .......... .. .. .. $ 744,240.00
                      M irrors, Power Steering, Power
                      Windows Safety Features Anti-Lock
                      Brakes, Intermittent Wipers I0tel"io1·, ( Seven Hundred & Forty Four Thousands&. Two Hundred                                nd
                      Cloth Seats Audio / Video, Factory      h•enty USO)
                      System, AM/FM, CD P layer
                      Additional Features, Cup Holders,
                      Night Vision Sliding Rear Window,
                      Bedliner, Child Proof Door L ocks,
                      Vanity Minors, Front Reading Lights,
                      Front Wheel Independent Suspension,
                      5 Passenger Seating, Bucket Seats,
                      Lumbar Support, Multiple Airbags,
                      Ventilated Front Disc Brakes




                               info@Gatewaymena.com
                               Mobile: +20 1127999552




00095696                                                                                                                                Ghanem_00000241
                                                  Ghanem_Sentencing_00001105
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 80 of 273 Page ID
                                       #:6526




           Bank Details:
           Invest Bank, Shmessani Branch.
           43 Abdul Hamid Sharaf St.
           P.O. Box 950601
           Amman 11195 Jordan
           Telphone: +9626 5001500
           Fax+

           Company Name: Gateway to MENA for
           Logistics Services
           Account USD # 00133000021662220001
           IBAN Number:
           J019JIFB0010033000021662220001

           SWIFT: JIFBJOAM




00095697                                                              Ghanem_00000241
                              Ghanem_Sentencing_00001106
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 81 of 273 Page ID
                                  #:6527




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT             814

                                            DATE                                  IDEN.

                                            DATE                                  EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001107
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 82 of 273 Page ID
                                        #:6528
From:                     Ahmad Qardan
To:                       'Rami Ghanem'; aldaboubim@gmail.com
Sent:                     11/25/201410:39:39 PM
Subject:                  RE: Invoice for Transfer




Dear Rami,

All noted well, kindly note that you just received another transfer of 344,194 USO , kindly provide us with the invoice
related.

Regards

Ahmad

From: Rami Ghanem [mailto:ramithe@gmail. com]
Sent: Tuesday, November 25, 2014 6:24 PM
To: Ahmad Qardan; aldaboubim@gmail.com
Subject: RE: Invoice for Transfer


Sorry Ahmad I was traveling and did not have the chance to send you a copy of
the Invoice, as for the customer we are starting our work with them in
December, I am trying to have the trainers ready for the deploying by Sunday to
Misurata, we will be invoicing our customer once each month for our work.

The bank is asking to have a copy of our invoice (please see a copy but you
have to promise me that our documents will not be distributed to anybody ales,
Gen. Mohammad can explain to you his concern.

Thanking you in advance for your great support.

Best Regards



Rami G/zanem

Gateway to MENA. (GTM)
Egypt Office
Complex 122, Building 16, Apartment 42
Al Rehab City, Cairo Egypt
Telephone# 00201127999552
Jordan Office

Tel 962 6 568562-l
F<1x: 962 6 5685625
ramithe@gmail.com or rami ocarm ;inamc.com
                      Sk. ·pe Ad<h-ess: c;u,n·anante
US Telepho1e: 772 675--l363




                                                                                         Ghanem_00068027_01884524
                                           Ghanem_Sentencing_00001108
          Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 83 of 273 Page ID
                                            #:6529
 Tli e mformat,on contained ,n tj,is message ,s fo r the intended addres;eeonly and mayco ntaon confidenoal and/or privileged 1ntoi mabon. If ;ou are not ttle intended acl'.11essee. n11s message will set
 desb'uctso notify the "t.tmd er: d o notcop yo 1dishlbuta 1hi5. n1e5-&39e or d ie;.::los..e ibi. cont.a nts to ~n:,0ne. Any views or opinion s. e,q:. ret.~ed in this- mess.39a 3ra lh ose of the .1uth c:r and do not ne::ess::u ily
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                    Life is short .. So love your life .. Be happy .. And Keep smi ling .. and


                                                                               Before you speak »Listen
                                                                                Before you write >) Think
                                                                               Before you spend »Earn
                                                                               Before you pray >) Forgive
                                                                                 Before you hurt »Feel
                                                                                Before you hate »Love
                                                                                  Before you qu it» Try
                                                                                 Before you die »Live

                                                                                                   That's Life...




From: A hmad Qardan [mailto :A hmad .0ardan@investbank.io1
Sent: Monday, November 24, 2014 9:13 AM
To: aldaboubim@gmail.com ; Rami Ghanem (ramithe@gmail.com) ; 'Rami N Ghanem'
Subject: Invoice for Transfer

Dear's

Compliance just called me notifying about the arrival of the transfer, kindly and its important to send the selling invoice
that will be delivered to your customer in Libya, as we have your buying invoice, contract, and now the selling invoice is
needed to close the deal circle kindly provide as soon as possible.

Best Regards

Ahmad




                                                                                                                                                                          Ghanem_00068027_01884525
                                                                                  Ghanem_Sentencing_00001109
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 84 of 273 Page ID
                                  #:6530




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT             815

                                            DATE                                  IDEN.

                                            DATE                                  EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001110
          Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 85 of 273 Page ID
                                            #:6531

   From:                          Rami Ghanem < ramithe@gmail.com>
   Sent:                          Wednesday, November 26, 2014 6:53 AM
   To:                            Ahmad Qardan <Ahmad.Qardan@i nvestbank.jo>
   Subject:                       Copy of the letters
   Attach:                        IMG-20141126-WA0031.jpg; IMG-20141126-WA0030.jpg



   Dear Ahmad,


   You are kindly requested to see attached files which contain the 2 letters from
   Tebadot General Trading LLC, clarifying that the money transfer was in behalf of
   our customer MIS DOROB Co. in Libya.

   I hope this will end the situation and we all can carry on doing business without any
   extra thoughts about the transaction.

   Thanking you in advance for your continuous support.

   Best Regards




   Egypt Office
   Complex 122, Building 16, Apartment 42
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com or rami @caravaname.com
   US Telephone: 772 675-4363                         Skype Address: caravaname

    The Information <ontalned k'I this mess.age Is for the intended addressee only and m;y contain confidentbl and/or privileged lftformation. If you art not the Intended acdressee. this messate wll self destruct so
    notify the sender; do not copy or distribute this message or disclose its contents to anyone. Any views or cpinions expressed In this message are those of the iuthor and do not necessarily repreScent ttose of CME or
    of .anv cf its. auocbt-.d :omp.inies. No reli~ree miv b• pt~e•d on this. me«~&• withovt w ri:ten confirnation frem .io authorized rep·es..r'(~tlv. of the eornp.ir'ly,




                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and




00094546.pdf                                                                                                                                                                               Ghanem 00000241
                                                                              Ghanem_Sentencing_00001111
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 86 of 273 Page ID
                                  #:6532

                         Before you speak »Listen
                         Before you write »Think
                          Before you spend »Earn
                         Before you pray >>Forgive
                           Before you hurt >>Feel
                          Before you hate »Love
                           Before you quit »Try
                           Before you die »Live

                               That's Life ...




                                                                 Ghanem 00000241
                         Ghanem_Sentencing_00001112
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 87 of 273 Page ID
                                  #:6533




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          Tel · +971 "'229269... , Mob- +.cJ71 5S 665-4'109.~ +'171 "'2292695 l'OBc,c.381362., Deora.Dubli. U AE
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     00094548                                                                                                             Ghanem_00000241

                                               Ghanem_Sentencing_00001113
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 88 of 273 Page ID
                                  #:6534




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         Tel.. +'71 -4 129269-4. Mob +971 SS 66S4'i09,fu. +'171 4 2.29249S,P08o,t.l81 l6l. Den, Ou~,. UAE
                                               E-ma.,heba~ilcom




     00094549                                                                                                        Ghanem_00000241
                                          Ghanem_Sentencing_00001114
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 89 of 273 Page ID
                                  #:6535




                                            CASE NO.      CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                              VS.        GHANEM

                                            PLAINTIFF=S EXHIBIT         816

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                             DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00001115
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 90 of 273 Page ID
                                           #:6536

  From:                  Rami Ghanem S4 <ramithe@gmail.com>
  Sent:                  Tuesday, February 3, 2015 8:06 AM
  To:                    Rami Ghanem <ramithe@gmail.com>
  Subject:               WhatsApp Chat with ~Y..lll ~
  Attach:                WhatsApp Chat with ~ -L-!~1 ~ .txt



  Chat history is attached as "WhatsApp Chat with ...,.>Y.~, ~.txt" fi le to thi s email.



  Senl from Samsung Mobile.




00090438                                                                                    Ghanem-00000241
                                              Ghanem_Sentencing_00001116
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 91 of 273 Page ID
                                       #:6537




      Oct 18, 2014, 2:15 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Oct 18, 2014, 2:16 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Oct 18, 2014, 2:16 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Oct 18, 2014, 2:17 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Oct 21, 2014, 11:35 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Oct 21, 2014, 11:40 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Oct 21, 2014, 11:42 PM - Rami N GHANEM:

      Oct 22, 2014, 9:14 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Oct 22, 2014, 9:30 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: Where are you now

      Oct 22, 2014, 10:37 PM - Rami N GHANEM: αγΎΣ ϲϟΎΣ ϱί Ύϳϼη ϡϧϐϟ΍

      Oct 22, 2014, 10:38 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: έΑλϟ΍ ΡΎΗϔϣ Νέϔϟ΍

      Oct 22, 2014, 10:40 PM - Rami N GHANEM: Ύϳ ϝΎΟέ Εϧϛ ϝΧ΍Ω ϡέΗΣϣϭ ϝΧ΍Ω έΎρϣϟ΍ ϲϠϳϛΣΑ ϱέϛγόϟ΍ ϰϠϋ ϥΎϣϋ ϰϣϟ ϑΎη
      ϱί΍ϭΟ ϩΩΑϭ ϲϧϠΧΩϳ ϪϠΗϳϛΣ ΎϳΑϳϟ ϲϧόϠρ ϩέΑ ϊϣ ϲϗΎΑ Ύϳϼη ϡϧϐϟ΍

      Oct 22, 2014, 10:40 PM - Rami N GHANEM:

      Oct 22, 2014, 10:42 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: Ύϣ ΕϳϘϟ ΩΎϣϋ ϲϠϟ΍ ΏΗϛϣΑ ϪϳΑϳϠϟ΍

      Oct 22, 2014, 10:42 PM - Rami N GHANEM: εϣ έΩΎϗ ϪϠλ΍

      Oct 22, 2014, 10:42 PM - Rami N GHANEM: Ύϣϭ ΩέΑ ϰϠϋ ϥϭϔϠΗϟ΍

      Oct 22, 2014, 10:43 PM - Rami N GHANEM: <Media omitted>

      Oct 22, 2014, 10:44 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϪϠΗόΑ΍ Ξγϣ

      Oct 22, 2014, 10:44 PM - Rami N GHANEM: ϡΗ ϝΎγέϻ΍ Ύϣϭ ΩέΑ

      Oct 22, 2014, 10:45 PM - Rami N GHANEM: Ύϳ ΫΎΗγ΍ ΩΎϣϋ Ύϧ΍ έΎρϣϟΎΑ εϣϭ ϑέΎϋ ϙϠλϭ΍ ϭϟ ΕΣϣγ ΩέΗ ϲϠϋ ΍έϛηϭ

      Oct 22, 2014, 10:45 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: Ύϧ΍ ϝϭΎΣΑ ϲϛΣ΍ ϊϣ ϙϟΎϣϭΑ΍ ϪϠϛη ϡϳΎϧ

      Oct 22, 2014, 10:55 PM - Rami N GHANEM: εϣ ϪϠϛηϣ ϩέ΋Ύρϟ΍ ϊϠϘΗΑ ϪϋΎγϟ΍ 3 ΎΣΎΑλ

      Oct 22, 2014, 10:58 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ΎϧΗέΎϳρϭ ΕέΧ΄Η ϪϋΎγϠϟ ˿

      Oct 22, 2014, 10:59 PM - Rami N GHANEM: ϲϧόϳ ϊοϭ ϭΧ΍ ϪΗγ ϥϳΗγϭ ϪϠΑρϣ

      Oct 22, 2014, 11:00 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ௌ έΗγϳ ϥϣ ΎϬϳϟΎΗ

      Oct 22, 2014, 11:00 PM - Rami N GHANEM: ϪϣέΎΣϣϟ΍ Ρϭέ ϊϣ 7 Ε΍ϭηΎΑ ϡϭϳϟ΍

      Oct 22, 2014, 11:00 PM - Rami N GHANEM: ϥϳϣ΍




00090439                                                                                       Ghanem-00000241-0001
                                              Ghanem_Sentencing_00001117
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 92 of 273 Page ID
                                       #:6538




             Oct 22, 2014, 11:00 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϥϳϣ ϪϣέΎΣϣϟ΍

             Oct 22, 2014, 11:01 PM - Rami N GHANEM: ΩϋΎγϣ αϳ΋έ Δ΋ϳϫ ϥΎϛέϻ΍ Ε΍έΎΑΧΗγϼϟ ΏϭΟΣϣ

             Oct 22, 2014, 11:01 PM - Rami N GHANEM: ϰϠγΗΑ ϙόϣ ϥΎηϋ Εϗϭϟ΍

             Oct 22, 2014, 11:01 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϥϳϣϭ ϥΎϣϛ

             Oct 22, 2014, 11:02 PM - Rami N GHANEM: <Media omitted>

             Oct 22, 2014, 11:04 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϥγΣ΃ ϲη΍ ωϭοϭϣϟΎΑ ϝϭ΍ ϡγ΍

             Oct 22, 2014, 11:04 PM - Rami N GHANEM: ϥϳϣ ΍Ϋϫ

             Oct 22, 2014, 11:05 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϪϗϼΟ ϼΟgϩ

             Oct 22, 2014, 11:05 PM - Rami N GHANEM: 7 ΕΎΣϔλ ˯΍Ωϣϋ ˯΍ΩϘϋϭ

             Oct 22, 2014, 11:05 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ΙόΑ΍ ΎϧϳϠΧ ϰϠγΗϧ

             Oct 22, 2014, 11:05 PM - Rami N GHANEM: ϲγϛέηϟ΍ ϲϟ΍ ϥΎϛ ΍έΑϭϛϟΎΑ

             Oct 22, 2014, 11:06 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ίϭϛΎϫ

             Oct 22, 2014, 11:06 PM - Rami N GHANEM: Ύϣ ϱΩϧϋ ϡϫΎϳ΍ αΑ ϪΣϔλϟ΍ ϰϟϭϻ΍

             Oct 22, 2014, 11:15 PM - Rami N GHANEM: ϭϳΩϳϓ ϩΎΗϔϟ ΔϳϧΩέ΍ ΕϟίΎϧΗ

             ϥϋ έϬϣϟ΍ ϭ ΏϫΫϟ΍ ϭ ΔϟΎλϟ΍ ϑϳϟΎϛΗϟ΍ϭ



             ϥϣ ϝΟ΍ ϑϳϔΧΗϟ΍ ϰϠϋ ΎϬΟϭί!!




             http://



             ρΑ΍έϟ΍ ϰϔΗΧ΍ ϥϣ ϪΑΫϛϟ΍..

             Oct 22, 2014, 11:16 PM - Rami N GHANEM: ΩΣ΍ϭ ϡίΎϋ ϪΗΟϭί ϰϠϋ ϡόρϣ

             ΕέΎΗΧΎϓ ϰϠϏ΃ Ύϣ Δϣ΋ΎϘϟΎΑ



             Ώλϋ ΎϬϳϠϋ ΎϬΟϭί ϝΎϗϭ ΎϬϟ :

             ϭϟ ϲΗϧϛ ϊϣ ϲϛϭΑ΃ ϲΑϠρΗΣ ϝϛ ΍Ϋϫ ..!!ˮ




00090439                                                                              Ghanem-00000241-0002
                                          Ghanem_Sentencing_00001118
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 93 of 273 Page ID
                                       #:6539




       ΕϟΎϗ : ΎόΑρ ϵ



       ϝΎϗ : ˮϪϳϟ



       ΕϟΎϗ : ϥϷ ϱϭΑ΃ εϣ ΩϋΎϗ ρρΧϳ ϲϧϛϳϧϳ ΩόΑ ˯Ύηόϟ΍ ..

       Oct 22, 2014, 11:54 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϑϳϛ ϙόοϭ

       Oct 23, 2014, 12:26 AM - Rami N GHANEM: ϪϬϬϬϫ ϱί ΕϓΫϟ΍....     ΩϣΣϟ΍ϭ Ϳ ϱΫϟ΍ ϻ ΩϣΣϳ ϰϠϋ ϩϭέϛϣ ϩ΍ϭγ

       Oct 23, 2014, 12:27 AM - Rami N GHANEM:

       Oct 23, 2014, 12:28 AM - Rami N GHANEM: ΕϠΧΩ Εϳϟ΍ϭΗϟ΍ ωϭΑρΑ Ρϭέϟ΍ ΕϳΟ ΎϬϠϣϋ΍ ϰϠϋ ϲϟΎΣ     I feel nuch better



       Oct 23, 2014, 2:00 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϥϣρ

       Oct 23, 2014, 2:15 AM - Rami N GHANEM: Ύϧ΍ ϝΧ΍ΩΑ έΎρϣϟ΍

       Oct 23, 2014, 8:45 AM - Rami N GHANEM: <Media omitted>

       Oct 23, 2014, 8:45 AM - Rami N GHANEM: <Media omitted>

       Oct 23, 2014, 8:45 AM - Rami N GHANEM: <Media omitted>

       Oct 23, 2014, 8:45 AM - Rami N GHANEM: <Media omitted>

       Oct 24, 2014, 11:46 PM - Rami N GHANEM: <Media omitted>

       Oct 24, 2014, 11:57 PM - Rami N GHANEM: ϥϳΑ

       Oct 27, 2014, 4:46 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: n/



       AERO Vodochody AEROSPACE a.s.



       h>ĞƚŝƓƚĢϯϳϰ

       250 70 Odolena Voda

       Tel: +420 255 761 111

       E-mail: pr@aero.cz

       AERO Vodochody AEROSPACE a.s.

       Oct 27, 2014, 4:47 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: Billing address




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     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 94 of 273 Page ID
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               EXCALIBUR ARMY spol. s.r.o.

               <ŽĚĂŸƐŬĄƵů͘ϱϮϭ

               101 00 Praha 10



               http://www.excaliburarmy.com/en

               Oct 27, 2014, 4:48 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: http://www.aero.cz/en/

               Nov 3, 2014, 2:49 PM - Rami N GHANEM: <Media omitted>

               Nov 3, 2014, 2:49 PM - Rami N GHANEM: <Media omitted>

               Nov 3, 2014, 2:49 PM - Rami N GHANEM: <Media omitted>

               Nov 3, 2014, 2:49 PM - Rami N GHANEM: <Media omitted>

               Nov 3, 2014, 2:49 PM - Rami N GHANEM: <Media omitted>

               Nov 3, 2014, 2:49 PM - Rami N GHANEM: <Media omitted>

               Nov 3, 2014, 3:50 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

               Nov 4, 2014, 7:55 AM - Rami N GHANEM: ϓϲ ϣΤθζ ϩΗήϣ ΑϨΖ ϭΟΎΑΖ ϭϟΪΕ !

               ϓΰϋϞ ϭϋμΐ ϛΘϴή
               ϗΎϟΘϠϪ ϣήΗϪ ηϮ ΑΪϙ ˮΎϬϴϤδΗ
               ϗΎϝ ϭϫϮ ϣόμΐ : Ϫϳ΍ϣήλ !!!

               ΑόΪ ηϮϱ ΍ΟΖ ϭϫϲ ηΎϳϠϪ ϩΩϮϟϮϤϟ΍ ϩΪϳΪΠϟ΍ ϭϗΎϟΘϠϪ :

               ΑΘόήϑ ϳΎΣΒϴΒϲ ϩϧ΍ "ΑΘθΒϬϚ" λήϣΎϳΘϲ!!

               ϪϬϬϬϫ ˬ ϻϧϪ ΣϴϮ΍ϥ.. ΑϴδΘΎϫϞ .ზ

               ჂჂჂჂჂ

               ϩΩΣϭ ϪϣϳΎϧ ΏϧΟ ΎϫίϭΟ ϲϛέϛϟ΍ ϪϠΗϛΣ ϲΑϳΑΣ Ύϧ΍ Ϫϧ΍ΩέΑ
               ΎϬϟΎϛΣ ϲρΣ ϲϛϳϠϋ ϡ΍έΣ
               ϪϠΗϛΣ ϲϧΩόΑ Ϫϧ΍ΩέΑ
              ΎϬϟΎϛΣ ϲρϐΗ ϥΎϣϛΑ ϡ΍έΣ
              ϪϠΗϛΣ Ύϧ΍ ϝΑϗ ϙΟϭίΗ΍Ύϣ Εϧϛ Ύϣϟ ϲϛΣ΍ ΎϣΎϣϟ ϲϧ΍ Ϫϧ΍ΩέΑ ΕϧΎϛ ϲϧοΣΗ ϝϭρ ϝϳϠϟ΍

              ΎϬϟΎϛΣ ϥϭόϠϣΎϳ ϲϛϭΑ΍ ϲϛϣ΍ϭ ෉ Ύγϫ ΕϣϬϓ ϲϛΩλϗ ϭϟ ϲΗϭϣΗΑ ϲϛϳΩϭΑΎϣ Ωϧϋ ϲϛϣ΍ ϝϳϠϠϬΑ ᪌᪌

              Nov 5, 2014, 12:40 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: http://www.youtube.com/watch?v=OV3CK-
              zT7s0&feature=youtube_gdata_player




00090439                                                                                          Ghanem-00000241-0004
                                            Ghanem_Sentencing_00001120
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 95 of 273 Page ID
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       Nov 5, 2014, 12:49 AM - Rami N GHANEM: ϡϬϠϟ΍ ϲϠλ ϰϠϋ Ωϳγ ϖϠΧϟ΍ ΎϧΩϳγ ΎϧΑϳΑΣϭ ΩϣΣϣ ϪϳϠϋ ϝοϓ΍ Γϼλϟ΍ ϡϼγϟ΍ϭ

       Nov 8, 2014, 1:26 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 8, 2014, 1:28 AM - Rami N GHANEM: <Media omitted>

       Nov 13, 2014, 2:29 PM - Rami N GHANEM: Dear Rami,



       We do have the Engineering Team ready to go, whenever you are ready, and consisting of trusted
       people (3 people total), to inspect these 2 units of ‘24s.

       dŚĞŝŶƐƉĞĐƚŝŽŶĂƐƐƵĐŚǁŝůůƚĂŬĞϭϬĚĂǇƐ͘dŚĞŽǀĞƌĂůůƉƌŝĐĞŝƐh^ϰϵ͕ϲϬϬƉůƵƐǇŽƵƉƌŽǀŝĚĞƚŚĞĨŽůůŽǁŝŶŐ
       in the country at your expense:

       - Ground transport from the airport, all local ƚƌĂŶƐƉŽƌƚĂƐǁŝůůďĞƌĞƋƵŝƌĞĚ͕ĂŶĚďĂĐŬƚŽƚŚĞĂŝƌƉŽƌƚƵƉŽŶ
       completion of the inspection.

       - Security escort if they need to go anywhere, and during the transport

       - Accommodation in the Airbase instead of hotels

       - Catering: 3 full meals per day p/person of European standard

       - Arabic-Russian interpreter to be available all time

       WůĞĂƐĞŬŝŶĚůǇĂĚǀŝƐĞŝĨǇŽƵǁŝƐŚƚŽƉƌŽĐĞĞĚǁŝƚŚƚŚŝƐŽĨĨĞƌ͕ĂŶĚ͕ŝĨƐŽ͕ǁŚĞŶĂƌĞǁĞƚŽƉůĂŶƚŚĞƚƌŝƉ͘




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     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 96 of 273 Page ID
                                       #:6542




       As for the flight crew, this, as I mentioned, is less of a problem, and we have them. To quote you
       ŚŽǁĞǀĞƌ͕ǁĞŶĞĞĚƚŽŬŶŽǁ͗ϭͿĞǆĂĐƚƚǇƉĞƐŽĨŵŝƐƐŝŽŶƐĂŶĚƚĂƐŬƐ͖ϮͿǁŚŽǁŝůůďĞĐŽŵŵĂŶĚŝŶŐƚŚĞŵ͘dŚŝƐ
       can’t be any simpler, as the price of mission types vary significantly as I explained earlier.



       >ŽŽŬŝŶŐĨŽƌǁĂƌĚƚŽǇŽƵƌĐŽŵŵĞŶƚƐĂŶĚreply,



       Kevin Walls

       Nov 13, 2014, 2:44 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: The missions mainly is an air assault missions against light vehicles
       and troops that's for the gun ships for the utility helicopters its a classic transportation and medical
       evacuations for the IL76 it's pure cargo type operations

       L39 close air support missions

       MIG 23 close air support missions as well

       Finally the client point of view that the technicians team that's going to be contracting for one year it's
       there responsibilities to evaluate and maintain the fleet

       Nov 14, 2014, 5:11 PM - Rami N GHANEM: <Media omitted>

       Nov 15, 2014, 12:44 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 15, 2014, 10:50 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 15, 2014, 11:09 PM - Rami N GHANEM: ϪϬϬϬϬϬϬϬϫ ϩϭϬυΎϫ

       Nov 16, 2014, 2:25 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 16, 2014, 2:26 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 16, 2014, 2:32 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 17, 2014, 3:45 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: (( ϲϓ ϥΩϧϟ ))



       ΡΎΑλϟ΍ .. ϱΎη ϱίϳϠΟϧ΍



       ϲϓϭ ˯Ύγϣϟ΍ .. έϳλϋ ϝΎϘΗέΑ



       (( ϲϓ ϥΎΑΎϳϟ΍ ))



       ΡΎΑλϟ΍ .. ΏϳϠΣ ϥΧΎγ




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                                            Ghanem_Sentencing_00001122
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 97 of 273 Page ID
                                       #:6543




                                  ˯Ύγϣϟ΍ .. ϲϫΎη έοΧ΍ ϲΣλ



                                  (( ϲϓ Ύϳέϭϛ ))



                                  ΡΎΑλϟ΍ .. ΏϳϠΣ ϥΧΎγ



                                  ˯Ύγϣϟ΍ .. έϳλϋ Ϫϓ΍ϭΟ



                                  (( ϲϓ ϥΩέϻ΍))



                                  έΟϔϟ΍ .. ϩϭϬϗ



                                  ΢Αλϟ΍ ..... ϩϭϬϗ



                                  έϬυϟ΍ .... ϩϭϬϗ



                                  έλόϟ΍ ....... ϩϭϬϗ



                                  Ώέϐϣϟ΍ ...... ϩϭϬϗ



                                  ϲϓ ϝϳϠϟ΍ ........ ϩϭϬϗ



                                  ϲϟΎΗ ϝϳϠϟ΍ ...... ϩϭϬϗ



                                  ϲϓ έϔγϟ΍ ........... ϩϭϬϗ



                                  ϲϓ ϖϳέρϟ΍ .......... ϩϭϬϗ




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                              Ghanem_Sentencing_00001123
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 98 of 273 Page ID
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                       ϲϓ ϩέΎϳγϟ΍ .............. ϩϭϬϗ



                       ϩέΎϳί νϳέϣ ............. ϩϭϬϗ



                       ϩέΎϳί ϥϳΟγ ................ ϩϭϬϗ



                       ˯Ύηϋ .... ϩϭϬϗ



                       ˯΍ΩϏ ....... ϩϭϬϗ



                       αέϋ ......... ϩϭϬϗ



                       ˯΍ίϋ ............. ϩϭϬϗ



                       ϊϣ ϭϠΣϟ΍ .................. ϩϭϬϗ



                       έΧ΍ϭ ϡϭϳϟ΍ ϙϠϳϛΣΑ "ϪϗέέέέέέΣ" ϩΩόϣϟΎΑ



                       Εϧ΃ ϡίϻ ϙϳΟϳ ΔϗέΣ ϲϓ Φϣϟ΍


                       ΢ϳϧϣ ϲϠϟ· Ύϣ ϙϠόϠρϳ ϲϓ ϙϧρΑ ΓέΟη ϝϳϫ ϥΑϭ



                       ϥϋ ϡϛϧΫ· ϡίϻ Ρϭέ΍
                       ( Ώέη΍ ϲΗϭϬϗ




                       Nov 17, 2014, 3:45 PM - Rami N GHANEM: ϪϬϬϬϬϬϬϬϬϬϬϫ

                       Nov 17, 2014, 3:46 PM - Rami N GHANEM: Ύϧ΍ϭ ϩϭϬϗ




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                                     Ghanem_Sentencing_00001124
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 99 of 273 Page ID
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      Nov 17, 2014, 3:46 PM - Rami N GHANEM: Ύϧ΍ Ωϳϛ΍ ϲϧ΍ ϲϧΩέ΍

      Nov 17, 2014, 3:46 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ˺˹˹̃

      Nov 17, 2014, 8:23 PM - Rami N GHANEM: ϡϛΑ ϊϳΑΗ ϙΑϳΑΣ ˮ!!



      Εόϣγ Ε΍Ϋ Γέϣ ΩΣ΃ έΎΑϛ ϥγϟ΍ ϥϣ ˯ΎϣϛΣ ϝΎΟέϟ΍ ϱϭέϳ ϼΛϣ ϰϠϋ ϝϛη έ΍ϭΣ ϥϳΑ ϥϳλΧη ϝΎϗ ϝϭϷ΍ ..ϡϛΑ ΕόΑ ϙΑΣΎλ ˮ Ωέϓ ϪϳϠϋ έΧϻ΍
      ... ϪΗόΑ ϥϳόγΗΑ Δϟί (΄ρΧ ) ϝΎϘϓ ϝϭϻ΍ ( ϪΗλΧέ΃) ϱ΍ ϪΗόΑ ϥϣΛΑ Ωϳϫί . ΕϠϣ΄Η ΍Ϋϫ ϝΛϣϟ΍ ΍έϳΛϛ Εϔϗϭϭ Ωϧϋ ϪϳϧΎόϣ ΕϠϫΫϓ ϥϣ ϙϟΫ ϖϳΩλϟ΍
      ϱΫϟ΍ έϔϏ ϪϘϳΩλϟ ΔόγΗ ϥϳϧΎϣΛϭ Δϟί ϡΛ ΩόΑ ϪΗϟί ϥϳόγΗϟ΍ ϰϠΧΗ ϥϋ ϪΗϗ΍Ωλ ΕΑΟϋϭ έΛϛ΃ ϥϣ ιΧηϟ΍ έΧϵ΍ ϱΫϟ΍ Ϫϣϻ ϰϠϋ ϊϳΑ ϪΑΣΎλ
      ϥϳόγΗΑ Ϫϟί Ϫϧ΄ϛϭ ϝϭϘϳ ϝϣΣΗ έΛϛ΃. ϥϭόγΗϟ΍ Δϟί αϳϟ ΎϧϣΛ ΎΑγΎϧϣ ϙΑΣΎλϟˬ ΩϘϟ ΕλΧέ΃ ϪΗϣϳϗ ϪΗόΑϭ ρϘϓ ϥϳόγΗΑ Δϟί



      ϯέΗ ϡϛ ϱϭΎγϳ ϲΑΣΎλ ϭ΍ ϙΑΣΎλ ϥϣ Εϻίϟ΍ ϝΑ ϡϛ ϱϭΎγϳ ΍Ϋ΍ ϥΎϛ ΎΑϳέϗ ϭ΍ ΍έϬλ ϭ΍ ΎΧ΃ .ϡϛΑ Δϟί Ωϗ ϊϳΑϳ ΎϧΩΣ΃ Ϫϣ΃ ϭ΃ ϩΎΑ΃ ...ϡϛΑ ˮ

      ϥ· ϥϣ ϝϣΎΗϳ Ύϧόϗ΍ϭ ϡϭϳϟ΍ ϑέόϳϭ ϝϳϠϘϟ΍ ϥϣ ϝ΍ϭΣ΃ αΎϧϟ΍ ϲϓ ϊϣΗΟϣϟ΍ ΔόϳρϘϟ΍ϭ ϲΗϟ΍ ΕΑΩ ϲϓ ρΎγϭ΃ αΎϧϟ΍ ΩΟϳγ ϥϣ ωΎΑ ϪΑΣΎλ ϭ΍ ϪΑϳέϗ ϭ΍
      ϰΗΣ ΩΣ΃ ϪϳΩϟ΍ϭ ΔϟίΑ ΓΩΣ΍ϭ ϭ΃ ΎϬόΑέΑ ϭ΍ ϝϗ΃ ϝΑ ϙΎϧϫ ϥϣ ωΎΑ ϝϛ ϙϟΫ ϼΑ ΏΑγ ϻϭ ΏϧΫ ϯϭγ Ϫϧ΍ ωΎρ΃ ˱ ΎϣΎϣϧ ΎΑ΍Ϋϛ ϡϟϭ Ωϛ΄Ηϳ ϥϣ ϪϗΩλ ϭ΃
      Ϫϧ΃ ϲϓ ΔϘϳϘΣϟ΍ Ωϗ ωΎρ΃ Ύγϔϧ ΓέΎϣ΃ ˯ϭγϟΎΑ ΎϧΎρϳηϭ ΎΛϳΑΧ ϥϣ ϥϳρΎϳη αϧϹ΍ ϥΟϟ΍ϭ .



      ϯέΗ ϝϫ ϊΟ΍έϧγ ΎϧΗΎόϳΑϣ ΔϳοΎϣϟ΍ ϥϣ ˯ΎϗΩλϷ΍ ΏέΎϗϷ΍ϭ ϝϫϷ΍ϭ έυϧϧϭ ϡϛΑ ΎϫΎϧόΑ ϭϫΎϣϭ ΎϬϧϣΛ ϡΛ ϡϠόϧ Ύϧϧ΃ ϡϫΎϧγΧΑ ϡϬϧΎϣΛ΃ ΎϧόΑϭ ϥϳϣΛϟ΍
      ϼΑ ϥϣΛ .

      ϯέΗ ϝϫ ϊϓέϧγ ϑϘγ έΎόγ΃ ϥϣ ΍ϭϟ΍ίϻ ϥϳΑϳέϗ Ύϧϣ ϝϣΣΗϧϭ ϡϬΗϻί ϡϬ΋ΎρΧ΍ϭ ΎϣϬϣ ΕέΑϛ ϭ΍ ΕέέϛΗ .

      ϯέΗ ϝϫ Ωϳόϧγ ϭ΍ ϝϭΎΣϧ ΓΩΎόΗγ΍ Ωϭ ϥϳΫϟ΍ ϡϫΎϧέγΧ ΎϘΑΎγ .

      ϯέΗ ϝόϔϧγ ϙϟΫ ϡ΍ έϣΗγϧγ ϝϣόϧ αϛόΑ Ύϣ ϡϠόϧ ˮ
      ϥ· ΔϣϳϘϟ΍ ΔϳϘϳϘΣϟ΍ ϱϻ ιΧη ϙρΑέΗ ϪΑ Δϗϼϋ ϥϟ έϬυΗ ϻ΍ ϲϓ ΔϟΎΣ ϙϧ΍ΩϘϓ ϲ΋ΎϬϧϟ΍ Ϫϟ ΕϭϣϟΎΑ ... ϼϓ ϊΑΗ ϙΗΎϗϼϋ ϱΎΑ ΩΩϋ ϥϣ Εϻίϟ΍ ΎϣϬϣ
      ϡυϋ ϡϠϋ΍ϭ ϥ΍ ௌ ΏΣϳ ϥϳϓΎόϟ΍ ...ϥϛϓ ϡϫΩΣ΍ .




      Εϗ΍έ ϲϟ ΍ΩΟ ΍ΩΟ .

      Nov 17, 2014, 8:23 PM - Rami N GHANEM: <Media omitted>

      Nov 17, 2014, 8:23 PM - Rami N GHANEM: <Media omitted>

      Nov 17, 2014, 8:23 PM - Rami N GHANEM: <Media omitted>

      Nov 17, 2014, 8:50 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 17, 2014, 8:54 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 17, 2014, 8:55 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 17, 2014, 11:40 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>




00090439                                                                                                        Ghanem-00000241-0009
                                                 Ghanem_Sentencing_00001125
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 100 of 273 Page ID
                                        #:6546




       Nov 18, 2014, 1:09 AM - Rami N GHANEM: Ύϧ΍ϭ ϥΎϣϛ

       Nov 18, 2014, 2:57 AM - Rami N GHANEM: <Media omitted>

       Nov 18, 2014, 3:55 PM - Rami N GHANEM: ϡγϻ΍: ΩΎϣϋ ΩϭϣΣϣ ΩϣΣ΍ ϭΑ΍ ΔηϳΎϋ

       Nov 18, 2014, 3:55 PM - Rami N GHANEM: ϡϗέϟ΍ ϲϧρϭϟ΍: 9721024376

       Nov 18, 2014, 9:05 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 19, 2014, 11:48 AM - Rami N GHANEM: <Media omitted>

       Nov 19, 2014, 6:17 PM - Rami N GHANEM: ΔΑγϧϟΎΑ ϊρϘϣϟ ϑγϭϳϟ΍ ϱΩϧϓ΃ ΍Ϋϫ Ωέ έϭΗϛΩ ϲϓ ϰϔηΗγϣϟ΍ ϲλλΧΗϟ΍ ΩόΑ ϝΎγέ·
       ϊρϘϣϟ΍ Ϫϟ ௌϭ ϡϠϋ΍.....!ඨ



       έϳΫΣΗϟ΍ ϥϣ ϑγϭϳϟ΍ ϱΩϧϓ .. ϡϼϛ ϝϫΎΟ ϻϭ Εϣϳ ϊϗ΍ϭϠϟ .. ΔΑΣ ϑγϭϳϟ΍ ϲΗϟ΍ ϲϓ Γέϭλϟ΍ ΕϧϔόΗ ΕϧϭϛΗϭ ΎϬϳϓ ϥ΍ΩϳΩ .. ϲϓϭ ˯ϭγ΍ ϝ΍ϭΣϷ΍
       ϥϣ ΎϬϠϛ΍ ΄ρΧ ϥΈϓ ϩΩόϣϟ΍ ϱϭΣΗ νϣΎΣ ϩέΎλϋϭ ΔϠϳϔϛ ϝΗϘΑ ϥ΍ΩϳΩϟ΍ .. ϥϣϭ ΎϬϠϛ΍ ΄ρΧ έόηϳγ Ωϧϋ ώοϣϟ΍ έϳϐΗΑ ϡόρϟ΍ ϑϗϭΗϳγϭ ΎϣΑέϭ
       ϑΫϘϳ ϯϭΗΣϣϟ΍



       ϪϠ΋γϷ΍ϭ ϲΗϟ΍ ΏΟϳ ϪΣέρ ϝΛϣϟ ϩΫϫ ΕΎϘϓέϣϟ΍ ϲϫ ϲϟΎΗϟΎϛ :

       ˺) ϑϳϛ ϡϠϋ ΎϬϧ΍ ϥϣ έϳΑΩΗ ˯΍Ωϋ΃ ϪϛϠϣϣϟ΍ ϰϠϋ ΩΣ ΓέϳΑόΗ ˮ ϝϫ ϪϳΩϟ ϝϳϟΩ ˮ

       ˻) ϑϳϛ ϡϠϋ ϥ΍ ϩΫϫ ϥ΍ΩϳΩϟ΍ ΔϳϭΧέϟ΍ ϲΗϟ΍ ΕϭϣΗ ϥϣ ϝϗ΍ Ίη ΎϬϧ΍ ϝϛ΄Η ϩΩόϣϟ΍ ˮ ϝϫ ϡΎϗ ΏέΎΟΗΑ ϰϠϋ ϥ΍ΩϳΩϟ΍ ΕΑΛϳϟ ΎϬϧ΍ ϝϛ΄Η ϡΣϠϟ΍ ˮ

       ˼) ϑϳϛ ϡϠϋ ϥ΍ ιΧηϟ΍ Εϭϣϳ ΩόΑ ϥϳέϬη .. ϝϫ ϙΎϧϫ ΕϻΎΣ ϪϘΛϭϣ ϡ΍ ΩέΟϣ ϥϳϣΧΗ ˮ

       ˽) ΍ΫΎϣϟ ϡϟ ΢λϔϳ ϥϋ ϪΗϳϭϫ ΕΑΛϳϟ ϪΗϳϗ΍Ωλϣ ˮ ϝϫ ϭϫ έΟΎΗ Ϫϛ΍ϭϓ ϪϳΩϟϭ ΔϳϔλΗ ΕΎΑΎγΣ ϊϣ έΟΎΗ ϑγϭϳϟ΍ ϱΩϧϓ ˮ

       ˾) έηϧ ϝΛϣ ϩΫϫ ΕΎϘϓέϣϟ΍ ϭϫ ϥϭϋ ΄ρΧϠϟ ˮ ϝοϓϷΎϓ ϭϫ ΩΎόΗΑϹ΍ ϥϋ ΕΎϬΑηϟ΍ .. ௌϭ ϥΎόΗγϣϟ΍

       Nov 20, 2014, 11:11 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 20, 2014, 11:14 PM - Rami N GHANEM: ყყყ

       Nov 20, 2014, 11:45 PM - Rami N GHANEM: <Media omitted>

       Nov 20, 2014, 11:46 PM - Rami N GHANEM: <Media omitted>

       Nov 21, 2014, 12:00 AM - Rami N GHANEM: <Media omitted>

       Nov 21, 2014, 12:02 AM - Rami N GHANEM: <Media omitted>

       Nov 21, 2014, 12:02 AM - Rami N GHANEM: <Media omitted>

       Nov 21, 2014, 2:02 PM - Rami N GHANEM: <Media omitted>

       Nov 21, 2014, 7:44 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 21, 2014, 7:44 PM - Rami N GHANEM: ϭΑ΍ ΩϣΣϣ ϲ΋ΎΑέϬϛϟ΍ Ωϳϛ΍ ϡϼΣ΍

       Nov 21, 2014, 7:45 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϭη ϙϳ΃έ




00090439                                                                                                           Ghanem-00000241-0010
                                                  Ghanem_Sentencing_00001126
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 101 of 273 Page ID
                                        #:6547




           Nov 21, 2014, 7:46 PM - Rami N GHANEM: Ωϳϛ΍

           Nov 21, 2014, 7:51 PM - Rami N GHANEM: ϑϭη έΑϳϔϟ΍ ϭϟ ΕΣϣγ Ύϳ ϭΑ΍ Ωϋέ

           Nov 21, 2014, 7:51 PM - Rami N GHANEM: έΑϳΎϔϟ΍

           Nov 21, 2014, 7:52 PM - Rami N GHANEM: ϥϛϣϣϭ ϲϛΣΗ ϊϣ ΩΑϋ ϡϼγϟ΍

           Nov 23, 2014, 8:45 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Nov 23, 2014, 9:16 PM - Rami N GHANEM: <Media omitted>

           Nov 23, 2014, 9:17 PM - Rami N GHANEM: ϱΎϫ ϭϳΩϳϔϟ΍ ϲϠϟ΍ Ώϻ΍ ΏέοΑ ΎϬϳϓ ϪϟΎϐηϟ΍ ΎϬϠϘϟΎΣϭ Ύϫέόη

           Nov 23, 2014, 9:18 PM - Rami N GHANEM: έΎΑΧϻ΍ ϲΗϟ΍ ΕϠλϭ ϥϋ ΔϟΎϐηϟ΍ ϲΗϟ΍ ΕΑέο ΕϧΑϟ΍ Εγ΍Ωϭ ΎϬϳϠϋ



           ϲϫ ϥϵ΍ ϲϓ ΔϳΎϧόϟ΍ Γίϛέϣϟ΍ ϲϓ ΔΑϭΑϳϏ ΩόΑ ϥ΃ ΎϬΑέο Ωϟ΍ϭ ΕϧΑϟ΍ ϝϛηΑ ϱέϳΗγϫ ϻϭϟϭ ϝΧΩΗ αΎϧϟ΍ ϊϧϣϭ ΏϷ΍ ϥΎϛ ϱϭϧϳ ΎϬϠΗϗ
           ϙϟΫϛϭ ϡΎϗ ΏϷ΍ ϊϓέΑ Δϳοϗ ΔϟϭΎΣϣ ϝΗϗ Ωο ΔϟΎϐηϟ΍
           ϲϧόϳ ϥϣ ΔΑϭΑϳϐϟ΍ ϥΟγϠϟ
           ϩΫϫϭ ΔλϘϟ΍ ΕϠλΣ ϲϓ ΍ΩϧϏϭ΃
           ϱΫϫ ϪϟΎϐη ϲϓ ΍ΩϧΎϏϭ΍
           ΕΑέο ϪϠϔρΎϫ ϥϳϟ΍ ΕϓϭΗ
           ϭΑ΃ϭ ΕϧΑϟ΍ ΎϬΑέο Ώέο ϥϳΣϟ΍ϭ ϪϟΎϐηϟ΍ ϪρϭρΣϣ εΎόϧϻ΍
           ΏέΎϳ ΕϭϣΗ ϪΑϠϛ

           ϥϳΣϟ΍ϭ ΎϫΩϧϋ Ϫϳοϗ ΔϣϳέΟΑ ϝΗϗට

           Nov 23, 2014, 10:49 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Nov 23, 2014, 10:53 PM - Rami N GHANEM: <Media omitted>

           Nov 24, 2014, 5:07 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Nov 24, 2014, 5:22 PM - Rami N GHANEM: ϪϬϬϬϬϬϬϬϫ

           Nov 24, 2014, 6:03 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϥϳϧ΍ϭϗ ΔΑϳέϏ .....



           ಴ ϻ ϊϳρΗγΗ ϝΗϗ έ΄ϔϟ΍ ϻ΍ ΩόΑ ΏϠρ ϥΫϻ΍ ϥϣ ΔϣϭϛΣϟ΍.

           ΔϟϭΩϟ΍ : ΩϧϬϟ΍.



           ಴ ωϭϧϣϣ ϡ΍ΩΧΗγ΍ Εϧϟ΍ ϻ΍ ΩόΑ ΫΧ΍ ϥΫϹ΍ ϥϣ ϊϳϣΟ Ε΍έ΍ίϭϟ΍ .

           ΔϟϭΩϟ΍ : Ύϳέϭϛ ΔϳϟΎϣηϟ΍.




00090439                                                                                                   Ghanem-00000241-0011
                                              Ghanem_Sentencing_00001127
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 102 of 273 Page ID
                                        #:6548




           ಴ ωϭϧϣϣ ΓΩϫΎηϣ ίΎϔϠΗϟ΍ ΩόΑ ΔϋΎγϟ΍ 12 ˱ ΎΣΎΑλ .

           ΔϟϭΩϟ΍ : ϥϭέϳϣΎϛ.



           ಴ ωϭϧϣϣ ϥ΍ ϲϣγΗ ϙϧΑ΍ " ΩϣΣϣ ˬ ௌΩΑϋ ˬ ΩϣΣ΍ " .

           ΔϟϭΩϟ΍ : ΎϣέϭΑ.



           ಴ ϖΣϳ ϙϟ ϥ΍ ΝϭίΗΗ ϥϣ ϱ΃ ϥ΍ϭϳΣ ρέηΑ ϥ΍ ϥϭϛϳ ϰΛϧ΍ .

           ΔϟϭΩϟ΍ : Ύϳϟϭϐϧϣ.



           ಴ ΢Ηϓ Γ΃έϣϟ΍ ϝ΍ϭΟϟ ΎϬΟϭί ΔϣϳέΟ ΏϗΎόΗ ΎϬϳϠϋ.

           ΔϟϭΩϟ΍ : ΎϧΎΗϧϭϣ.



           ಴ ϻ ΏΟϳ ϙϳϠϋ ϊϓΩ ΓέϭΗΎϔϟ΍ ΍Ϋ· ϡϟ ϊΑηΗˬ ϥΈϓ ΕϳϬΗϧ΍ ϥϣ ϙΗΑΟϭ ϡϟϭ ϥϛΗ Ύ˱ϧΎόΑη ϙϧϛϣϳ ΏΎϫΫϟ΍ ϥϭΩ ϊϓΩϟ΍.

           ϡϋΎρϣ ϙέΎϣϧϳΩϟ΍.



           ಴ ϊϧϣϳ Ώέη ϱ΍ ϲη ϥϣ ϝ΋΍ϭγϟ΍ ˯ΎϧΛ΍ ΓΩΎϳϘϟ΍ ϰΗΣ ϭϟ ϥΎϛ ˯Ύϣ.

           ΔϟϭΩϟ΍ : ϥΎϧϭϳϟ΍.



           ಴ ϊϓΩΗ ϑλϧ έόγ ΓέΎϳγϟ΍ ΍Ϋ΍ ϥΎϛ ωϭϧ ΓέΎϳγϟ΍ ϲϧΎϣϟ΍ Εϧ΍ϭ ϙϳΩϟ ΔϳγϧΟϟ΍ ΔϳϧΎϣϟϻ΍ ˬ " ΔϣϭϛΣϟ΍ ϊϓΩΗ ϑλϧϟ΍ έΧϵ΍ ".

           ΔϟϭΩϟ΍ : ΎϳϧΎϣϟ΍.



           ಴ ϊϳρΗγΗ ϙΗΟϭί έϳϳϐΗ ϙϣγ΍ ϻϭ ϊϳρΗγΗ ν΍έΗϋϻ΍ ϰϠϋ ϙϟΫ.

           ΔϟϭΩϟ΍ : ΍Ωϧϟϭϫ.



           ಴ έΑΗόΗ ΓΩΎϳί ϙϧίϭ ΔϣϳέΟ ΏϗΎόϳ ΎϬϳϠϋ ϥϭϧΎϘϟ΍.




00090439                                                                                                    Ghanem-00000241-0012
                                             Ghanem_Sentencing_00001128
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 103 of 273 Page ID
                                        #:6549




       ΔϟϭΩϟ΍ : ϥΎΑΎϳϟ΍.



       ಴ ϊϳρΗγΗ ΔΟϭίϟ΍ ΏϠρϟ΍ ϥϣ ΔϣϛΣϣϟ΍ ϥ΄Α ϑέόΗ ϥΎϛϣ ΎϬΟϭί ϲϓ ϱ΍ Εϗϭ ϙϟΫϭ ϊοϭΑ " ίΎϬΟ ϊΑΗΗϠϟ ϰϠϋ ϪϠΟέ " .

       ΔϟϭΩϟ΍ : ΏϭϧΟ ΎϳϘϳέϓ΍.



       ಴ ϊϓΩΗ ΓέϭΗΎϓ ˯ΎΑέϬϛϟ΍ ϲΗΣ ϭϟ ϡϟ ΩΟϭΗ ˯ΎΑέϬϛ!

       ΔϟϭΩϟ΍ : ϥΩέϻ΍

       Nov 24, 2014, 6:05 PM - Rami N GHANEM: ϩΩϳΣϭϟ΍ ΢λϟ΍ Ϫϳϫ έΧ΍ ϥϭϧΎϗ

       Nov 26, 2014, 1:35 AM - Rami N GHANEM: ϥϣ ϝ΍ αΎόϧϟ΍ ΍Ϋ΍ εϣ ϥΎρϠϏ ϥΎϣϛ

       Nov 26, 2014, 1:38 AM - Rami N GHANEM: <Media omitted>

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: RAMI, THERE NO NEW TRANSFER

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: it's the same 744000 but came in 2 payments

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: Told u they stupid

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: So u have only on total transfer 744 came in two payments
       400 +344

       Nov 26, 2014, 10:18 AM - ZĂŵŝE',ED͗KŬďĞĐŝƵƐĞ/ǁĂƐůŽŽŬŝŶŐĨŽƌƚŚĞĐŽŶƚƌĂĐƚƐ/ŚĂǀĞƚŽƐĞĞǁŚŽ
       ŝƐƐĞŶĚŝŶŐĨƌŽŵƚŚĂƚĂĐĐŽƵŶƚ͘'ŽŽĚĞŶŽƵŐŚ͘dŚĂŶŬǇŽƵ

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: Now what the relationship between TEBADOT and the
       names on the invoice

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: The company name in Dubai (sender) and the sold to name

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: They r different, so they want the relationship

       Nov 26, 2014, 10:18 AM - Rami N GHANEM: We have contract, invoice, and transfer sender name

       Nov 26, 2014, 10:19 AM - Rami N GHANEM: <Media omitted>

       Nov 26, 2014, 10:19 AM - Rami N GHANEM: <Media omitted>

       Nov 26, 2014, 10:27 AM - Rami N GHANEM: In Libya the transfer of money is not so easy they have
       accounts outside Libya or use other accounts to transfer

       Nov 26, 2014, 1:59 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 26, 2014, 1:59 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 26, 2014, 2 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Nov 26, 2014, 2:00 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϝϭΩϫ ϡϫίϳϓ ϩίϫΎΟ




00090439                                                                                               Ghanem-00000241-0013
                                               Ghanem_Sentencing_00001129
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 104 of 273 Page ID
                                        #:6550



      Nov 26, 2014, 2:00 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 26, 2014, 2:00 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 26, 2014, 2:00 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: Please confirm

      Nov 26, 2014, 4:06 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 26, 2014, 4:07 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 8:47 PM - Rami N GHANEM: <Media omitted>

      Nov 26, 2014, 9:36 PM - Rami N GHANEM: <Media omitted>

      Nov 27, 2014, 12:45 PM - Rami N GHANEM: Ύϣ΍ ΕϳϛΣ ϊϣ ΩϣΣ΍ ϲϠϗϭ ϙϧ΍ ϪΗϣϠϛ ϪϋΎγϟ΍ϭ 1:30 Ρέ έϣΗ ϪϳϠϋ Εϧ΍ ϭΑ΍ϭ ϲϠϋ

      ΕΑϠρ Ϫϧϣ ίϬΟϳ ϲϗΎΑ Ϫϟ΍ϭΣϟ΍ ΎϬόϗϭΗϭ Εϧ΍ ΎϬϳϠΧϳϭ ϩΩϧϋ ϥϳΣϟ Ύϣ ϪϣϠϛ΍ ϡϭϳ ΩΣϻ΍ Ϫϟϭϗ΍ϭ ϝϭΣϳ ΩόΑ Ύϣ έϭϣϻ΍ ϥϭϛΗ έϳΧΑ ϊϣ ϥϳέΎϳρϟ΍
      ϪΑγϧϟΎΑ ϥϳέΎϳρϠϟ ϙΩΑ ϡϬϠΑΣγΗ per dim έϛ΍ΫΗϟ΍ϭ ϕΩϧϔϟ΍ϭ

      ϥΎϣϛϭ ϱΩΑ ϲϠΧ΍ ϥΎϣϛ 7 ϑϻ΍ ΏΎγΣΑ ΍ίϳϔϟ΍ ϲϧϳϳΎΟ έϔγ Εϧ΍ϭ ϥϛϣϣ ϥϭϛΗ ΝέΎΧ ΩϼΑϟ΍ ΕϳϛΣ ΩϣΣϻ ϡϫίϬΟϳ έ΍έϘϟ΍ϭ έϣϻ΍ϭ ϲ΋ΎϬϧϟ΍ ϙϟ΍
      Ύϳ ϡϠόϣ ΍έϛηϭ
      Nov 28, 2014, 7:11 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 28, 2014, 7:12 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Nov 28, 2014, 7:20 PM - Rami N GHANEM: ϡϠόϣ

      Nov 28, 2014, 7:22 PM - Rami N GHANEM: ϥΎηϣ ϝϛ ˯ΎϳΑϧϟ΍ ϲϠΧ ϡέΗΣϣϟ΍ ϥΎγΣ ιϠΧϳ έϛ΍ΫΗϟΎϫ

      Nov 28, 2014, 7:23 PM - Rami N GHANEM: ϲϟ΍ ϪϋΎγ ΩόϘϣ ϪϋΎϣΟϟ΍ ϲΑϭϠϟΎΑ ϱέΎυΗϧΎΑ εϣϭ ϑέΎϋ εϳ΍ ϝϣϋ΍ ϥϳέΎϳρϟ΍
      ΍ϭϛΣΑ ΍ϭϠ΋γΑϭ Ωϳϛ΍ ϡϬϟ΍ ίΟΣ ϥϳέϓΎγϣϭ
      Nov 28, 2014, 8:27 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Dec 3, 2014, 9:20 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Dec 3, 2014, 9:52 PM - Rami N GHANEM: ϪϬϬϬϬϬϬϫ

      Dec 3, 2014, 9:53 PM - Rami N GHANEM: Ύϳ ϲΑϳΑΣ Ύϳ ϭΑ΍ Ωϋέ ΍Ϋϫ εϣ ϰοέ ϥϳΩϟ΍ϭϟ΍ ΍Ϋϫ Ϫϣγ΍ ϝϛ΍ ΍ϭϫ

      Dec 3, 2014, 10:51 PM - Rami N GHANEM: <Media omitted>




00090439                                                                                                        Ghanem-00000241-0014
                                                Ghanem_Sentencing_00001130
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 105 of 273 Page ID
                                        #:6551




       Dec 5, 2014, 9:34 PM - Rami N GHANEM: <Media omitted>

       Dec 5, 2014, 9:40 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 5, 2014, 9:40 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 5, 2014, 10:05 PM - Rami N GHANEM: <Media omitted>

       Dec 6, 2014, 12:23 AM - Rami N GHANEM: <Media omitted>

       Dec 6, 2014, 12:24 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 6, 2014, 12:29 AM - Rami N GHANEM: <Media omitted>

       Dec 6, 2014, 12:45 AM - Rami N GHANEM: <Media omitted>

       Dec 6, 2014, 10:01 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 6, 2014, 2:57 PM - Rami N GHANEM: <Media omitted>

       Dec 6, 2014, 4:45 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 6, 2014, 4:46 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 6, 2014, 4:47 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 6, 2014, 4:47 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 8, 2014, 2:33 AM - Rami N GHANEM: <Media omitted>

       Dec 8, 2014, 9:50 AM - Rami N GHANEM: <Media omitted>

       Dec 8, 2014, 3:13 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 8, 2014, 7:18 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 8, 2014, 10:37 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 11, 2014, 7:57 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϭη ϙΗλϗ

       Dec 11, 2014, 8:01 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 11, 2014, 11:45 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 15, 2014, 2:25 PM - Rami N GHANEM: <Media omitted>

       Dec 15, 2014, 9:19 PM - Rami N GHANEM: <Media omitted>

       Dec 18, 2014, 1:39 AM - Rami N GHANEM: ΡΎΑλ Ωέϭϟ΍ˬ ϡϟ ϝλϳ ϲη ϲϣ΍έ ϰΗΣ Ύϧ΍ ϡϟ ϡϠΗγ΍ˬ ϝγέ΍ Γέϣ ϯέΧ΍ ΍Ωϧϛϟ Ύοϳ΍ϭ
       ϝ ŵũĂĚ͘ƚƚŝǇĂƚΛŝŶǀĞƐƚďĂŶŬ͘ũŽ

       Dec 18, 2014, 1:39 AM - Rami N GHANEM: ϲϘϳΩλˬ ΡΎΑλ Ωέϭϟ΍ˬ ϝϫ ΕϠγέ΍ έϭλ ˮΔϟ΍ϭΣϟ΍ ϭΟέ΍ ΎϬϟΎγέ΍ ϰϟ΍
       Omar.ajam@investbanŬ͘ũŽĂŶĚŬŝŶĚĂ͘,ĂũĂƌΛŝŶǀĞƐƚďĂŶŬ͘ũŽ

       Dec 18, 2014, 2:02 PM - Rami N GHANEM: 079-688-8464 ΍Ϋϫ ϡϗέ ΍Ωϧϛ ϰΟέϳ ϝΎλΗϻ΍




00090439                                                                                          Ghanem-00000241-0015
                                           Ghanem_Sentencing_00001131
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 106 of 273 Page ID
                                        #:6552




       Dec 18, 2014, 2:03 PM - Rami N GHANEM: ϑϭηϭ εϳϟ ϝϳϣϳϻ΍ Ύϣ ϡϋ ϝλϭϳ

       Dec 19, 2014, 8:14 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: USED vs. LOVED



        While a man was poliƐŚŝŶŐŚŝƐŶĞǁĐĂƌ͕ŚŝƐϲǇƌŽůĚƐŽŶƉŝĐŬĞĚƵƉĂƐƚŽŶĞĂŶĚƐĐƌĂƚĐŚĞĚůŝŶĞƐŽŶƚŚĞƐŝĚĞ
       ŽĨƚŚĞĐĂƌ͘/ŶĂŶŐĞƌ͕ƚŚĞŵĂŶƚŽŽŬƚŚĞĐŚŝůĚΖƐŚĂŶĚĂŶĚŚŝƚŝƚŵĂŶǇƚŝŵĞƐ͖ŶŽƚƌĞĂůŝǌŝŶŐŚĞǁĂƐƵƐŝŶŐĂ
       wrench. At the hospital, the child lost all his fingers due to multiple fractures. When the child saw his
       ĨĂƚŚĞƌ͘͘͘͘͘ǁŝƚŚƉĂŝŶĨƵůĞǇĞƐŚĞĂƐŬĞĚ͕ΖĂĚǁŚĞŶǁŝůůŵǇĨŝŶŐĞƌƐŐƌŽǁďĂĐŬ͍ΖdŚĞŵĂŶǁĂƐƐŽŚƵƌƚĂŶĚ
       ƐƉĞĞĐŚůĞƐƐ͖ŚĞǁĞŶƚďĂĐŬƚŽŚŝƐĐĂƌĂŶĚŬŝĐŬĞĚŝƚĂůŽƚŽĨƚŝŵĞƐ͘ĞǀĂƐƚĂƚĞĚďǇŚŝƐŽǁŶĂĐƚŝŽŶƐ͘͘͘͘͘͘͘ƐŝƚƚŝŶŐ
       in frŽŶƚŽĨƚŚĂƚĐĂƌŚĞůŽŽŬĞĚĂƚƚŚĞƐĐƌĂƚĐŚĞƐ͖ƚŚĞĐŚŝůĚŚĂĚǁƌŝƚƚĞŶΖ>KszKhΖ͘dŚĞŶĞǆƚĚĂǇƚŚĂƚ
       ŵĂŶĐŽŵŵŝƚƚĞĚƐƵŝĐŝĚĞ͘͘͘ŶŐĞƌĂŶĚ>ŽǀĞŚĂǀĞŶŽůŝŵŝƚƐ͖ĐŚŽŽƐĞƚŚĞůĂƚƚĞƌƚŽŚĂǀĞĂďĞĂƵƚŝĨƵů͕ůŽǀĞůǇ
       life..... Things are to be used and people are to be loved. But the problem in today's world is that, People
       ĂƌĞƵƐĞĚĂŶĚƚŚŝŶŐƐĂƌĞůŽǀĞĚ͘͘͘͘/ŶƚŚŝƐǇĞĂƌ͕ůĞƚΖƐďĞĐĂƌĞĨƵůƚŽŬĞĞƉƚŚŝƐƚŚŽƵŐŚƚŝŶŵŝŶĚ͗dŚŝŶŐƐĂƌĞƚŽ
       ďĞƵƐĞĚ͕ďƵƚWĞŽƉůĞĂƌĞƚŽďĞůŽǀĞĚ͘tĂƚĐŚǇŽƵƌƚŚŽƵŐŚƚƐ͖ƚŚĞǇďĞĐŽŵĞǁŽƌĚƐ͘tĂƚĐŚǇŽƵƌǁŽƌĚƐ͖ƚŚĞǇ
       ďĞĐŽŵĞĂĐƚŝŽŶƐ͘tĂƚĐŚǇŽƵƌĂĐƚŝŽŶƐ͖ƚŚĞǇďĞĐŽŵĞŚĂďŝƚƐ͘tĂƚĐŚǇŽƵƌŚĂďŝƚƐƚŚĞǇďĞĐŽŵĞ
       ĐŚĂƌĂĐƚĞƌ͖tĂƚĐŚǇŽƵƌĐŚĂƌĂĐƚĞƌ͖ŝƚďĞĐŽŵĞƐǇŽƵƌĚĞƐƚŝŶǇ͘/ΖŵŐůĂĚĂĨƌŝĞŶĚĨŽƌǁĂƌĚĞĚƚŚŝƐƚŽŵĞĂƐĂ
       reminder. God bless you. If you don't pass this on nothing baĚǁŝůůŚĂƉƉĞŶ͖ŝĨǇŽƵĚŽ͕ǇŽƵŵŝŐŚƚĐŚĂŶŐĞ
       ƐŽŵĞŽŶĞƐůŝĨĞ͘ŽƵŬŶŽǁƚŚĞƌĞůĂƚŝŽŶƐŚŝƉďĞƚǁĞĞŶǇŽƵƌƚǁŽĞǇĞƐ͍dŚĞǇďůŝŶŬ
       together, move together, cry together, see things together & sleep together. Even though they never
       see eaĐŚŽƚŚĞƌ͘&ƌŝĞŶĚƐŚŝƉƐŚŽƵůĚďĞũƵƐƚůŝŬĞƚŚĂƚ͊>ŝĨĞŝƐǀĂŶŝƚǇǁŝƚŚŽƵƚ&Z/E^͘/dΖ^ΗtKZ>^d
       FRIENDS WEEK". Who is your best friend? Send this to all your good friends. Even me, if I am one of
       ƚŚĞŵ͘^ĞĞŚŽǁŵĂŶǇƵŐĞƚďĂĐŬ͘/ĨƵŐĞƚŵŽƌĞƚŚĂŶϳ͕ƚŚĞŶƵare really a lovable person! ඡ

       Dec 21, 2014, 2:18 AM - Rami N GHANEM: Ⴡථ

       ΩΣ΍ϭ ϝϭϘϳ: Ωϟ΍ϭϟ΍ ϰϧΎΣλ Γϼλϟ έΟϔϟ΍

       Εϣϧϭ ΔϟΎλϟΎΑ Ύϣϟϭ Εόϣγ Εϭλ ϱϭΑ΍ ϝΧΩ Εϣϗ ΕγΑϟϭ ΔϳΎΑϋ ϲϣ΃ ϭ ΕΩΟγ ϲϠλ΃



       ΎΟ ϱϭΑ΍ ϖϔλϭ ϱίϳρ ϭ ϝΎϗ:

       ϭ ϲϠϳϟϭϘΗΑ ϙΗϳϳΎΟ ϩέϭΩϟ΍ ϪΑΎλϧϟΎϳ


           ϥϭϟϭϭϘϳ Ωϟϭϟ΍ ϰϓϭΗ ϥϣ ϙΣοϟ΍ ϭϫϭ ΩΟΎγ
       Dec 23, 2014, 2:30 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Dec 23, 2014, 11:34 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: έΎϳΗΧ Ρ΍έ έϭΗϛΩϠϟ ϱϭγϳ ϝϳϠΣΗ ΔΑϭλΧ ... έϭΗϛΩϟ΍ ΏϠρ Δϧϳϋ ϥϣ ΕΎϧ΍ϭϳΣϟ΍ Ϫϳϭϧϣϟ΍ ..
       ϩΎρϋϭ Δϧϳϧϗ ρΣϳ ΎϬϳϓ Δϧϳόϟ΍ ... ϲϧΎΛ ϡϭϳ ϊΟέ Ϫϟ έΎϳΗΧϟ΍ ϩέϭέΎϘϟ΍ϭ ϪϏέΎϓ

       ϝΎϗ Ϫϟ ΏϳΑρϟ΍ εϳϟ ϪϏέΎϓ
       ϝΎϗ: ϊϣγ΍ έϭΗϛΩΎϳ ΔΣέΎΑϟ΍ ϝϭ΍ ϲη ΕΑέΟ ϱΩϳΑ ϥϳϣϳϟ΍ Ύϣ ϰηϣ ϝΎΣϟ΍ ... ΕΑέΟ έΎγϳϟΎΑ ϲϓΎϣ ϩΩϳΎϓ ... ΕϳΩΎϧ ϡ΍ ϝΎϳόϟ΍ ϲϧΩϋΎγΗ ... ΕΑέΟ
       ΎϫΩϳΑ ϥϳϣϳϟ΍ ΕέΩϗΎϣ ..ϻϭ ϲη ... ΎϬϧϳΩϳ΄Α ϥϳΗϧΛϟ΍ ϲϓΎϣ ϩΩϳΎϓ ... ΕΑέΟ ΎϬϣΗΑ Ύϣ Εηϣ έϭϣϷ΍




00090439                                                                                                         Ghanem-00000241-0016
                                                  Ghanem_Sentencing_00001132
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 107 of 273 Page ID
                                        #:6553




       έΧ΁ ϲη ΎϧΑϠρ ΓΩϋΎγϣ ΎϧΗέΎΟ ... ΕϟϭΎΣ ΎϧΗέΎΟ ΎϬϧϳΩ΄Α Ύϣ Ϫϳϓ ϩΩϳΎϓ ... ΕΑέΟ ΎϬϣΗΑ ΏΎΟΎϣ ΔΟϳΗϧ ϰΗΣ ΎϬϧ΍ ϪΗρΣ ϥϳΑ ΎϫΫΎΧϓ ... ϪϠϛ Ύϣ Ϫϳϓ
       ϩΩϳΎϓ ..

       έϭΗϛΩϟ΍ ϝΑϬϧ΃ ϝ΄γϭ έΎϳΗΧϟ΍ ... ϡϛϠϛ ΍ϭΗΑέΟ ϻϭ ϊϔϧ ˮˮˮˮ



       έΎϳΗΧϟ΍ ΎϧϠϛ ϱ΍ ௌϭ Ύϳ έϭΗϛΩ .... ,ϻϭ ΩΣ΍ϭ Ύϧϳϓ έΩϗ ΢Ηϔϳ

       ΎρϏ ΔϧϳϧϘϟ΍ Εϧ· ΎϬϠϔϘϣ ϩϭϘΑ ϪϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϫ



       έϣΗγΗϭ ΔϠϣΣ ΍ϭϔλ Δϳϧϟ΍
       ϭϛϠΗϠϗ ΍ϭϔλ Ϫϳϧϟ΍
       Dec 23, 2014, 11:34 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ΓΩΣϭ ΔΑΗΎϛ .

       ϙϭϭϭϭϭϭϭέΑϣ ΡΎΟϧ ϱϭΧ΍ ϲϬϳΟϭΗϟΎΑ ϝΩόϣΑ 51 ϝΎΑϘϋϭ ϩ΍έϭΗϛΩϟ΍ !!!!!!!

       ϱ΍ ϩ΍έϭΗϛΩ ˮˮˮ
       ϙϟϭ ΓέΎϣΣΎϳ ϲϛϭΧ΍ ϪϟΩόϣΑ ϪϠΧΩϳΑΎϣ ϥΟγϟ΍

       ϙϟϭ ΔΟέΩ Γέ΍έΣϟ΍ ΔϳΩϭόγϟΎΑ ϰϠϋ΍ ϥϣ ϝΩόϣ ϲϛϭΧ΍ Ⴢ

       [ ჍϲϧΩέ΍ ϝΎϗ ϪΗέϣϟ....ϱΩΑ αϋΩ΍ ιϧΑ ϙϬΟϭ...ϪϠΗϟΎϗ εϳϟ Ύϳ έΣηϣ...

       ϝΎϗ ϥΎηϋ ϥϭϛ΃ ϝϭ΃ ϲϧΩέ΃ ρΣϳ ϪϠΟέ ϰϠϋ έϣϘϟ΍..

       ΕϣγΗΑ΍..

       ΍ϭϟϭϘΑϭ ϲϧΩέϷ΍ ϭϣ ϲγϧΎϣϭέ


       ϪϬϬϬϬϬϬϬϬϬϬϬϬϬϫ
       ϩέϣ εηΣϣ ϝϛηϣΗ΍ ϊϣ ϭΗέϣ ΎϬϟΎϛΣ ͖

       ϲϠϳη ΝΎϳϛϣϟ΍ ΂ϧϳϠΧ ϪΟ΍ϭΗϧ Ϫϣϟί Ϫϣϟίϟ ჁჁ

       ϪϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϬϫ
       ϡϭΟϫ ϰϠϋ ϥ΍ϭγϧϟ΍
       ΩΣ΍ϭ ϝ΄γ ϭϘϳϓέ .. ϙΗέϣ ϥϣ ωϭϧϟ΍ Ωϛϧϟ΍ ˮ ϭΑϭΎΟ ϭϘϳϓέ Ώ΍έϐΗγΎΑ ... εϳϟ ϲϓ ωϭϧ ϲϧΎΗ

       .........

       έϳϓϭη ϲγϛΗ ϡϋ ϝϐΗηϳ ϥϳλϟΎϳ ϝϛ Ύϣ ϭϟέη΄ϳ ΩΣ΍ϭ
       ϊϠρϳ Ϫϳϓ ϭϠϘϳϭ
       ϕέΣϳ ϙηϳέΣ εϣ ϸϫ ϙΗϠλϭ ˮ




00090439                                                                                                            Ghanem-00000241-0017
                                                   Ghanem_Sentencing_00001133
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 108 of 273 Page ID
                                        #:6554




           .........

           ϲϧϳλ ϝΧΩ ϰϠϋ ϑϬϛϟ΍ ΏΣϭ ϊϣγϳ ϯΩλ ϪΗϭλ ϝΎϗ: Ξϧϫ Ξϧη ϭϓ ϭϟΎΗ ΎϏ ϥρ ϥϭ

           ϝΎϗ ϯΩλϟ΍ : ௌ ϙΫΧΎϳ ΎϫΩϳϋ έϣ ΔϳϧΎΛ Ύϣ ΎϬΗυϔΣ

           .........

           ΩΣ΍ϭ ϥϳέϭγϛϣ ϭόΑΎλ΍ ϥϳέΑΟϣϭ ϡϬϠϛ ˬ ϝ΄γ έϭΗϛΩϟ΍ αΑ ΞϟΎόΗ΍ ϙϓ΍ϭ αΑΟϟ΍ έΩϘΑ ϑίϋ΍ ϭϧΎϳΑϟΎϋ ˮˮˮ
           ϝΎϗ έϭΗϛΩϟ΍ : ˱ ΎόΑρ .. Ωϳϛ΍ ϝΎϗ νϳέϣϟ΍ : ΔΑϳέϏ .. ϊϣ ϲϧ΍ Ύϣ Εϧϛ ϑίϋ΍ ϝΑϗ

           .........

           ϲΗίϳίϋ ΓΎΗϔϟ΍ ΍Ϋ΍ ϲΗϠΑΎϗ ϙΑϳΑΣ ϲϓ ϖϳέρϟ΍ ϙϘϧΎϋϭ ΓΩηΑ ϡΎϣ΍ αΎϧϟ΍ ϭϫϭ ϲϛΑϳ ϥϣ ΓΩη ϪϗΎϳΗη΍ ϙϳϟ΍ ϲϛΗηϳϭ ϥϣ ϡϟ΍ ϕ΍έϔϟ΍ ΩόΑϟ΍ϭ
           ϰϧΣϧ΍ϭ ϝϳΑϘΗϟ ϙΩϳ ϊϛέϭ ϡΎϣ΍ ϸϣϟ΍ ϡϳΩϘΗϟ ϡΗΎΧ Ν΍ϭίϟ΍
           ϲϣϠϋΎϓ ϙϧ΍ ΔϣϳΎϧ εϣϭ ΔϳρϐΗϣ ΢ϳϧϣ
           ௌ ϥόϠϳ ϭΑ΍ ΕϼγϠγϣϟ΍ ΔϳϛέΗϟ΍ ϲϟ΍ ΕϠϛ΍ ϙϏΎϣΩ
           .........

           ΔϣϛΣ ϡϭϳϟ΍
           Ύϣ ΕόϣΗΟ΍ ϥΎΗ΃έϣ΍ ϻ΍ ..Εϛγϭ ϥΎρϳηϟ΍ ΓΩΎϔΗγϼϟ ϥϣ ΎϣϬΗέΑΧ .

           .........

           ϭϟϭϘϳΑ ΏϳϠΣϟ΍ ϙϳρόϳΑ Γϭϗ
           Ώέη΍ ΙϼΛ ΕΎϳΎΑϛ ϝϭΎΣϭ ϙέΣΗ ρϳΣϟ΍ εϣ Ρέ ϙέΣΗϳ αΑ ϭϟ ΕΑέη ϥϳΗέΎΟϳγ εϳηΣ ϲϗϼΗΣ ρϳΣϟ΍ ϙέΣΗΑ ϭϟΎΣϟ
           .........

           ϝϫ ϡϠόΗ ϥ΍ ΔΑϭϘϋ ΩΩόΗ Ε΍ΎΟϭίϟ΍ ϲϫ
           ΩΩόΗ Ε΍ϭΎϣΣϟ΍
           .........

           ΍Ϋ΍ ΕΑοϏ ϙϧϣ Γ΃έϣ΍ ΕϳϘΑϭ ΔΗϣΎλ αϳϠϓ ϙϟΫ ϼϳϟΩ ϰϠϠϋ ΎϬϔόο
           ϝΑ ϲϫ εϗΎϧΗΗ ϊϣ αϳϠΑ΍ ϰϠϋ ΔρΧ ˯ΎοϘϠϟ ϙϳϠϋ αϳϠΑ΍ϭ ϝϭΎΣϳ ΎϬΗ΋ΩϬΗ
           .........

           έϬη΍ ϥϳΗΑΫϛ ϝΟέϠϟ Γ΃έϣϠϟϭ ..

           Γ΃έϣϟ΍ : 5 ϖϳΎϗΩ ϥϭϛ΍ϭ ΓίϫΎΟ

           ϝΟέϟ΍ : 5 ϖϳΎϗΩ ϥϭϛ΍ϭ ϲϓ ΕϳΑϟ΍

           .........

           ΓΩΣϭ ΕϠϋί ϥϣ ΎϬΟϭί Εέέϗϭ ϡϘΗϧΗ ΕΣ΍έϓ Ωϧϋ αϳϠΑ΍ ϩέϳηΗγΗ ˬ ΎϫΎρϋ΍ ΔρΧ Ύϣ ΎϬΗΑΟϋ ΕϣΎϗ Ϫϳϫ ΕΣέΗϗ΍ ϪϳϠϋ ΔρΧ




00090439                                                                                                          Ghanem-00000241-0018
                                                  Ghanem_Sentencing_00001134
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 109 of 273 Page ID
                                        #:6555




                       Υέλ αϳϠΑ΍ : ϱΩΣϭ ௌ ϝοΑ ϙίϭΟ ϭΑ΍ϭ ϙΩϻϭ

                       .........

                       εηΣϣ ϕΩ ϰϠϋ Δρέηϟ΍ =)]

                       ϡϬϟϭϘϳ : ϭϘΣϟ΍ ϲϓ ϡΩ ϥϳϛΎϛγϭ ϪΣϠγ΍ϭ ϝΑΎϧϗϭ ϭ16 ΩΣ΍ϭ Εϳϣ

                       ϲρέηϟ΍ ϝΑϬϧ΍ ϝΎϗϭ : ϥϳϭ ϥϳϭ :o :/

                      ϝΎϗ :ρΣ ϰϠϋ ϡϟ ϲΑ ϲγ ϥηϛ΍ ΔϋέγΑ

                      ϪϬϬϬϬϬϬϬϬϬϬϫ
                      .........

                      ΓΩΣϭ Ϫϧϼϋί ϩΩϋΎϗ ΏϧΟ ΎϬΟϭί ϝϛΎΗΑ ϙϳϛ ϡΎϗ ϭΩΑ ΎϬόϟΩϳ ΎϬϳο΍έϳϭ ΎϬϟΎϗϭ :

                      Ύϣϟ ϙϳϛϟ΍ ϝϛΎϳΑ ϙϳϛ ΎϧΣϧ ϭη ϝϛΎϧ ˮ
                      ϪϠΗϟΎϗ :

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                      . ... ...

                      ϝϛΎΗΑ ΍ϭϫ ΕϛγΗΑϭ
                      .........

                      ˯ΎϋΩ εΎηΣ
                      ------

                      εηΣϣ ϡϋ ϲϋΩϳ ϭΑέϟ
                      ϝΎϗ : ΏέΎϳ ϲϧΗϳρϋ Δϟϭϔρϟ΍ ΎϬΗΩΧ΍ϭ ϲϧϣ

                      ϲϧΗϳρϋ΍ϭ ΏΎΑηϟ΍ ϪΗΩΧ΍ϭ ϲϧϣ
                      ϲϧΗϳρϋ΍ϭ ϲΗέϣ ϲϧϳϫϭ ΩϋΎϗ έυΗϧ΍ ϙΗΩ΍έ΍ Ύϳ Ώέ
                      .........

                      ϭϟ΄γ εηΣϣ ........ ϰϧϣΗΗΑ ϙΗΎϣΣ ΕϭϣΗ ˮ

                      εηΣϣϟ΍ Ωϳϛ΍ Ϸ !!!!!!

                      ϩϭϟ΄γ εϳϟ : ϝΎϗ ϥΎηϣ Ύϣ Εϭϣ Ύϫ΍έϭ ϥϣ ΔΣέϔϟ΍ ..

                      ϪϬϬϬϬϬϬϬϫ

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                      Dec 23, 2014, 11:35 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϝΎϘϳ ϥ΃ ϼΟέ ϥϣ αέΎϓ

                           ΩϳΟϳ ΔϐϠϟ΍ ΔϳΑέόϟ΍ ΔϗϼρΑ




00090439                                                                                      Ghanem-00000241-0019
                                     Ghanem_Sentencing_00001135
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 110 of 273 Page ID
                                        #:6556




                                ϰΗΣ ϥ΃ Ώέόϟ΍ ΎϣΩϧϋ ϡϬϣϠϛϳ
                                Ϫϧϭϟ΄γϳ ϥϣ ϱ΃ ϝ΋ΎΑϗ Ώέόϟ΍ Εϧ΃ ˮ



                                ϙΣοϳϓ ˬˬˬˬ
                                        ϝϭϘϳϭ : Ύϧ΃ ϲγέΎϓ

                                       ΩϳΟ΃ϭ ΔϳΑέόϟ΍ έΛϛ΃ ϥϣ Ώέόϟ΍ !



                                Ε΍Ϋϓ ϡϭϳ ϪΗΩΎόϛϭ ....

                                ΩΟϭ αϠΟϣ ϡϭϗ ϥϣ Ώέόϟ΍...

                                     αϠΟϓ ϡϫΩϧϋ ϡϠϛΗϭ ϡϬόϣ : -



                                ϩϭϟ΄γϭ : ϥϣ ϱ΃ ϝ΋ΎΑϗ Ώέόϟ΍ Εϧ΃ ˮ!



                                ϙΣοϓ ....

                                      ϭ ϝΎϗ : Ύϧ΃ ϥϣ αέΎϓ

                                            ΩϳΟ΃ϭ ΔϳΑέόϟ΍ ˱ ΍έϳΧ ϡϛϧϣ.



                                ϡΎϘϓ ΩΣ΃ αϭϠΟϟ΍ ϝΎϗϭ Ϫϟ : -



                                ΏϫΫ΍ ϰϟ΍ ϥϼϓ ϥΑ ϥϼϓ
                                     ϝΟέ ϥϣ Ώ΍έϋϷ΍
                                ϪϣϠϛϭ ... ϥΈϓ ϡϟ ϑέόϳ ϙϧ΃ ϥϣ ( ϡΟόϟ΍ )

                                          ΩϘϓ ΕΣΟϧ ΎϧΗΑϠϏϭ Ύϣϛ Εϣϋί !



                                ϥΎϛϭ ϙϟΫ ϲΑ΍έϋϷ΍ ΍Ϋ Δγ΍έϓ ΓΩϳΩη ..



                                ΏϫΫϓ ϲγέΎϔϟ΍ ϰϟ· ΕϳΑ ϲΑ΍έϋϷ΍
                                ϭ ϕέρ ΏΎΑϟ΍
                                ΍ΫΈϓ ΔϧΑΎΑ ϲΑ΍έϋϷ΍ ˯΍έϭ ΏΎΑϟ΍ ..




00090439                                                                  Ghanem-00000241-0020
                              Ghanem_Sentencing_00001136
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 111 of 273 Page ID
                                        #:6557




                               ϝϭϘΗ : ϥϣ ΏΎΑϟΎΑ ˮ!



                               Ωέϓ ϲγέΎϔϟ΍ : Ύϧ΃ ϝΟέ ϥϣ Ώέόϟ΍

                                                        Ωϳέ΃ϭ ϙΎΑ΃.



                               ΕϟΎϘϓ :

                                 ϲΑ΃ ˯Ύϓ ϰϟ΍ ϲϓΎϳϔϟ΍
                                    ΍ΫΈϓ ˯Ύϓ ϲϔϟ΍ Ύϓ΃ ..



                               (( ϭ ϲϫ ϲϧόΗ ϥ΃ ΎϫΎΑ΃ ΏϫΫ ϰϟ· ˯΍έΣλϟ΍

                                                 ΍ΫΈϓ ϝΣ ϡϼυϟ΍ ϰΗ΃ .. ))



                               ϝΎϘϓ ΎϬϟ : ϰϟ· ϥϳ΃ ΏϫΫ ˮ! .



                               ΕΩέϓ ϪϳϠϋ :

                                   ϲΑ΃ ˯Ύϓ ϰϟ΍ ϲϓΎϳϔϟ΍
                                         ΍ΫΈϓ ˯Ύϓ ϲϔϟ΍ Ύϓ΃



                               ΫΧ΄ϓ ϲγέΎϔϟ΍ ϊΟ΍έϳ ΔϠϔρϟ΍
                               ϝ΄γϳϭ ϭ ϲϫ ΏϳΟΗ ϥϣ ˯΍έϭ ΏΎΑϟ΍



                               ϰΗΣ ΎϬΗϟ΄γ ΎϬϣ΃ :

                                           ΂ϳ ϲΗϧΑ΍ ϥϣ ΏΎΑϟΎΑ



                               ΕΩέϓ : -

                               - [ ϲϣΟϋ΃ ϰϠϋ ΏΎΑϟ΍ Ύϳ ϲϣ΃ ] .



                                 (( ϑϳϛϓ ϭϟ ϝΑΎϗ ΂ϫ΂Α΃ ! ))




00090439                                                                   Ghanem-00000241-0021
                              Ghanem_Sentencing_00001137
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 112 of 273 Page ID
                                        #:6558




                    ϊϗϭΗ΃ {ΎϫΎΑ΃} ϭϟ εϳΎϋ ΂ϧΎόϣ ϥΎϛ




                       ϰϓ΃ ˯ϲϔϟ΍ ΎϧΣϭ Ύϣ Ύϧϳϓ΃



                    ΔϣΟέΗϟ΍ .....

                         (ϯέγ ϝϳϠϟ΍ ΎϧΣϭ Ύϣ Ύϧϳέγ )

                    ჁჁ

                    Dec 23, 2014, 11:49 PM - Rami N GHANEM: ϪϬϬϬϬϬϬϬϬϫ

                    Dec 24, 2014, 11:49 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

                    Dec 24, 2014, 11:56 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

                    Dec 24, 2014, 11:57 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

                    Dec 24, 2014, 11:57 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

                    Dec 24, 2014, 11:57 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

                    Dec 26, 2014, 8:37 AM - Rami N GHANEM: <Media omitted>

                    Dec 26, 2014, 8:54 AM - Rami N GHANEM: ΍Ϋϫ ˯ΎϋΩϟ΍ ϙϟ ϥϣ ϝϛ ϲΑϠϗ

                    ϡϬϠϟ΍ Ϫϧ΍ ϲΧ΃
                    Εϧ΍ϭ ϪΑέ έΩΎϗϭ ϰϠϋ ϩΩΎόγ· ϩΩόγΎϓ Ώέ΂ϳ ϖϘΣϭ Ϫϟ ϩΎϧϣΗϳΎϣ



                    * ϡϬϠϟ΍ ϥ· ΕέϔϏ ϲϟ ΂ΑϧΫ . . έϔϏΎϓ Ϫϟ ϑϵ΁ ΏϭϧΫϟ΁



                    * ϡϬϠϟ΍ ϲϧέϛΫ ϪΑ ϡϭϳ ΔϣΎϳϘϟ΍ . . ϩέϛΫϭ ϲΑ ϡϭϳ ΔϣΎϳϘϟ΍



                    * ϡϬϠϟ΃ ΏΗϛ΍ ϲϣγ· ϲϓ Δϣ΋΂ϗ ˯΂ϘΗόϟ΍ . .

                    ϭ ϝόΟ΍ Ϫϣγ· ϰϠϋ α΍έ Δϣ΋΂Ϙϟ΍
                    * ϡϬϠϟ΍ Εϧ΍ ϡϠϋ΍ Ϫϧϣ ϲϟΎΣΑ . . ϭ ϡϠϋ΍ ϲϧϣ ϪϟΎΣΑ ΢ϠλΎϓ ΂ϧϟ΍ϭΣ΍ Ύϳ ϡϳέϛ

                    * ϡϬϠϟ΍ ϻ ϥΑΗ
                              ˶ ϲϟ ΁έλϗ ϲϓ ΔϧΟϟ΍ ϻ· .




00090439                                                                                    Ghanem-00000241-0022
                                       Ghanem_Sentencing_00001138
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 113 of 273 Page ID
                                        #:6559



                      ϭ Ωϗ ΕϳϧΑ Ϫϟ ΁έλϗ ϱέ΁ϭΟΑ



                      * ϡϬϠϟ΍ ϲϧόϣΟ΍ ϥϣΑ ΏΣ΍ . . ϪόϣΟ΍ϭ ϥϣΑ ΏΣϳ

                       ΎϧόϣΟ΍ϭ ΕΣΗ ΔΣϧΟ΁ ΔϣΣέϟ΍ Ύϳ έϳΩϗ



                      * ϡϬϠϟ΁ ϻ ϲϧϠϣΣΗ ϕϭϓ ϲΗϗ΂ρ . .

                      ϪϠϣΣΗϻϭ ΂ϣϫ
                      ϭϟϭ ϥΎϛ ϥίϭΑ
                              ˶   Δηϳέ



                      {{΁Ϋϫ ϭϫ ωϭΑγ΃ ϝοϓ΃ Υ΃ }}

                      Dec 26, 2014, 11:47 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϡϬϠϟ΍ ϥϳϣ΍

                      Dec 28, 2014, 12:12 AM - Rami N GHANEM: ϥϣ ϡΩλ΃ Ε΃έϗΎϣ:

                      ϰΛϧ΃ έϳλ΍έλϟ΍ ΎϬϳϔϛϳ ΓέηΎόϣ έϛΫϟ΍ Γέϣ ΓΩΣ΍ϭ ,,,ϝυΗϟ ΏΟϧΗ ϝϭρ ΎϬΗΎϳΣ

                      Ύϧ΍ϭ ϝϭϘΑ εϳϟ ϭλϠΧϳΑΎϣ έϳλ΍έλϟ΍ქ

                      ΎϬϳέΎΗ΃ ϝϣΎΣ ΩΑ΅ϣქქქქ

                      ௌϭ ϊϠρϭ ϭϟϭόϔϣ ϱϭϗ ϭΑ΃ Ώέ΍ϭηൿ

                      ϡϭϠΑΎϣ ΕΎϧΑϟ΍ Ύϣϟ ϭϭϭϭϓΎΧϳ ϭϭϧϣ

                      ඁΩ΋΍ϭϓ έϭλέλϟ΍ :



                      ˺-ϱΩΎλΗϗ΍ :E:E:E:E:E:E:E

                      ΊΟΎϔϳ ιΧηϟ΍ ϡΎϣΣϟΎΑ ϪϠόΟϳϟ ϲϬϧϳ
                       ϪϣΎϣΣΗγ΍ Ύόϳέγ ϻΩΑ ϥϣ έΩϫ ˯Ύϣϟ΍ ϼΑ
                       ϩΩ΋Ύϓ



                      ˻-ϝϳΎΗγ ::D:D:D:D:D:D:D:D

                      ϊΗϣΗϳ ϥ΍ϭϟΎΑ Ϫ΋ΩΎϫ / ϲΑΎϧϋ- έϣΣ΍- ϲϧΑ

                       ϭ ϰΗΣ ΎϧΎϳΣ΍ ϊϘΑϣ



                      ˼-ϲοΎϳέ :ჃჃჃჃჃჃ




00090439                                                                                    Ghanem-00000241-0023
                                    Ghanem_Sentencing_00001139
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 114 of 273 Page ID
                                        #:6560




              έΑΟϳ νόΑϟ΍ ϰϠϋ νϛέϟ΍ ϭ ρϧϟ΍



             ˽-ϲ΋ΎλΧ΍ ϲϋΎϣΗΟ΍ : :p:p:p:p:p:p

             ΩϋΎγϳ ϰϠϋ ρΑ΍έΗϟ΍ ϱέγϻ΍ ΙϳΣ ϥ΍
             ϪΟϭίϟ΍ ϖλΗϠΗ ΎϬΟϭίΑ ϝΎΣ ϪΗϳ΅έ
             ϭ ωέϬϳ ϝΎϔρϻ΍ ϰϟ΍ ϥΎοΣ΍ ϡϬ΋ΎΑ΍



             5- ϝϣΎϋ ΔϓΎυϧ ϲϧΎΟϣ . ΙϳΣ ϥ΍ ΔΟϭίϟ΍ ΍Ϋ΍ ΕϣϠϋ ϩΩϭΟϭΑ ΕϣΎϗ ϑϳυϧΗΑ

             ΕϳΑϟ΍ ϭ ΔλΎΧ ΦΑρϣϟ΍ .

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             ΍έϛη έΗγϣ έϭλέλ ჁჁჁჁჁჁჁჁჁჁჁ

             ΔϠϣΣ ϙέΎλέλ ϖϳϓέ ϙέ΍Ω...ൾൾൾൾൿൿൿ



             ϝϳΣΗγϣ. Ύϫ΃έϘΗ. ϥϭΩΑ Ύϣ ΎϬϠγέΗ



             ΩΣ΍ϭ ΎϬηϧρ ϊϠρ Ϫϟ έϭλέλ ϲϓ ϪϧϭϠρϧΑ
             Dec 28, 2014, 12:22 AM - Rami N GHANEM: <Media omitted>

             Dec 28, 2014, 9:59 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

             Dec 28, 2014, 10:01 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

             Dec 29, 2014, 10:07 PM - Rami N GHANEM: <Media omitted>

             Dec 31, 2014, 3:01 PM - Rami N GHANEM: <Media omitted>

             Dec 31, 2014, 5:49 PM - Rami N GHANEM: έϭΗϛΩϟ΍ αϳέΩ΍ ϲϠϋ ΩϭϣΣϣ ΡΎϔϠρ Ϫϣϗέ ϱέϛγόϟ΍ 5862

             Dec 31, 2014, 5:55 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: εϳ΍

             Dec 31, 2014, 5:55 PM - Rami N GHANEM: εϳ΍ εϳ΍

             Jan 1, 12:36 AM - Rami N GHANEM: <Media omitted>

             Jan 1, 10:30 PM - Rami N GHANEM: <Media omitted>

             Jan 2, 1:01 AM - Rami N GHANEM: <Media omitted>

             Jan 2, 1:02 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>




00090439                                                                                  Ghanem-00000241-0024
                                         Ghanem_Sentencing_00001140
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 115 of 273 Page ID
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                          Jan 2, 8:19 AM - Rami N GHANEM: ϰϠϋ ίϣΎϥ ΃ϳΎϡ



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00090439                                                                  Ghanem-00000241-0025
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00090439                                                                            Ghanem-00000241-0026
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               ίϣΎϥ ΍ϟήΣϠΔ ϧϘόΪ ΍γΒϮω ϧΤπή ϟϬΎ



               ϭ΍ϟϜϴϮϱ ϣϠϤϊ ΔϳΫΣ΃ ϓΎϛϬΔ ϣζ



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               ϛϨΎ ϧθΘήϱ ΍ϟΒτϴΦ Α΄ϋΪ΍Ω ϛΒϴήΓ ϧπόϬϢ ΗΤΖ ΍ϟΘΨΖ...



               ϛΎϥ ΍ϟΘϠϔΰϳϮϥ ๚ϳϔΘ΢ ΍ϟδΎϋΔ 6 ϭϳϐϠϖ 12...



               ϛΎϧΖ ϣΠϠΔ ΍ϟόήΑϲ ΑθϠϦ ϣϊ ϣϠΤϖ



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               ίϣΎϥ ϛΎϧΖ ΍ϟόΎΑϨΎ ΍ϟϤϔπϠΔ γΒϊ έΎΠΣˬ ΔϨϔϟ΍ˬ γϴΎέ΍Ε ϙϼγ΍ˬ σϴΎέ΍Ε ϕέϭˬ Ϫϳϣρϟ΍ˬ ΔϳόΑέϟ΍ˬ Δοϳϣϐϟ΍...



               ίϣΎϥ ϛΎϧΖ ΍ϟϤδϠδϼΕ ΍ϟϤϔπϠΔ ϋΎίϑ ΍ϟϠϴϞ ϭλΎϟ΢ ΍ϟϤϬϮϝ ϭλ΢ ΍ϟϨϮϡ ϭηΠήΓ ΍ϟϠΒϼΏ ϭέ΍α ϏϠϴκ

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00090439                                                                                              Ghanem-00000241-0027
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                    ϭϟϤΎ ϳδΎϓή ΍ϟϜϞ ϳάϫΐ ϟϠϤτΎέ ϟϠΘϮΩϳϊ ΑΤϴΚ ϳϜϮϥ ϋΪΩ ΍ϟϤϮΩϋϴϦ ΍ϛΜή ϣϦ ΍ϟϤδΎϓήϳϦ

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                    ϛΎϧΖ ΣϴΎϩ ΟϤϴϠϪ. --




00090439                                                                                           Ghanem-00000241-0028
                                     Ghanem_Sentencing_00001144
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           ΫϛήϳΎΕ ΣϠϮϭϭϭΓ:჆



           * ϛϞ ϣΎϧθϮϑ σϴΎέϩ ϧϘόΪ ϧμήΥ ϭϧδϮϱ ϟϬϢ ΑΎϱ ΑΎϱ..ໄ



           * ϛϨΎ ϧϨΘψή γϨΔ έ΍ΑόΔ ΍ΑΘΪ΍΋ϲ ϋθΎϥ ϧϜΘΐ ΑΎϟΤΒή໹



           * Ηδ΄ϟϚ ΍ϣϚ ΍ϟδΎϋΔ ˮˮˮϢϛ γΘΔ ϋϠϰ ϭ΍ϟμϐϴή ΍έΑόΔ ϋϠϰ ΍ϟϜΒϴή ϟϬΎ ΗϘϮϝ...ສ



           ... ... * ϧΤβ ΑΈϧΠΎί ϭϓήΡ ϭηϲ ϋψϴϢ ·Ϋ΍ σϠόΖ ΍ϟθϤβ ϭ΍ΣϨΎ ·ϟϰ ΍ϵϥ ϣΎ ϧϤϨΎ...೅



           * ϧϨΘτή ΍ϻϣΘΤΎϧΎΕ ϋθΎϥ ϣΎ ϧΎΧά ηϨτΔ...ฝ



           ϭ ϧϨΘτή ϭϗΖ ΍ϟθϬΎΩΓ ϋθΎϥ ϧϠΒβ ϟΒβ ΣϠϮ ϭϧϜθΦ..ඵ



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           1- ϳϮϡ ϛϨΖ λϐϴή έγϤΖ ΍ϟθϤβ ϓϲ ί΍ϭϳΔ ΍ϟϮέϗΔ...ೄ

           2- ϳϮϡ ϛϨΖ λϐϴή ϛϨΖ ΗϔϜή ΍ϥ ηϜϞ ΍ϟϘϠΐ ΍ϟΤϘϴϘϲ Οάέϱ‫پ‬

           3- ΗδϜή ΑΎΏ ΍ϟΜϼΟΔ ηϮϱ ηϮϱ Αβ ϋθΎϥ Ηόήϑ ϣΘϰ ΗϨτϔϲ ΍ϟϠϤΒϪ ΫϛΎ΀...ข

           4- ΣΎϭϟΖ ΗϮ΍ίϥ ϣϔΎΗϴ΢ ΍ϟϜϬήΑΎ΀ ΑϴϦ ON ϭ OFF.໩

           5- ϟϤΎ ΃ΣΪ ϣϦ ΍ϫϠϚ ϳτϠΐ ϣϨϚ ϛ΄α ϣΎ΀ ϻίϡ ΗθήΏ ηϮϳΔ ϭϗΒϞ ϣΎ ΗΪΧϞ ΗϤδ΢ ΣϠϘϚ ϋϠθΎϥ ϣΤΪ ϳόήϑ ΍ϧϚ ηήΑΖ....എ



           ΍ϛϴΪ ΍ϧΖ ΗΒΘδϢ ΍ϵϥ. ϋϠϰ ΗϠϚ ΍ϻϳΎϡ ΍ϟΤϠϮΓ...Ⴢ



           ΣΎϭϝ ΗήγϠϬΎ ϷλΤΎΑϚ...෭



           έ΍Ρ ΗθϮϑ ϧϔδϚ ΗήγϢ ΑδϤΔ ϋϠϰ ϭΟϮϩ ϧΎα ϛΜϴϴϴϴϴϴή...᪃

           Jan 2, 1:18 PM - Rami N GHANEM: ٦ϲϓ ϝϭ΃ ΔόϣΟ ΍ΫϬϟ ϡΎόϟ΍




00090439                                                                                          Ghanem-00000241-0029
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       Jan 2, 1:45 PM - Rami N GHANEM: <Media omitted>

       Jan 3, 6:05 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Jan 3, 8:05 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

       Jan 3, 11:38 PM - Rami N GHANEM: <Media omitted>

       Jan 3, 11:38 PM - Rami N GHANEM: ϲϣΎΣϟ΍ ϩΎϣΣϳ

       Jan 3, 11:45 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϩϭΩ΍ΩϠϟ΍ ϡϬϟϭλ΍ ϊΟέΗ ϪϠϳΎϔρϠϟ

       Jan 3, 11:45 PM - Rami N GHANEM: ϪϬϬϬϬϬϬϫ

       Jan 4, 7:16 AM - Rami N GHANEM: <Media omitted>

       Jan 4, 9:40 PM - Rami N GHANEM: <Media omitted>

       Jan 6, 6:43 PM - Rami N GHANEM: ϥϣ ϡϠόϳ ϥ΍ ΍ΩΣ΍ ϙϠΗϣϳϻ ϥϣΛ ϪΑϭλ ϥ΍ έΑΧΑ ΍Ϋϫ ΝΎΗΣϣϟ΍ ϪΟϭΗϟΎΑ ϰϟ΍ Δϛέη ϪϋΎϧλϟ΍
       ϪϠϣΎϛΗϣϟ΍ ΓέΎΟΗϠϟ έΎϣΛΗγϻ΍ϭ... ϡϼΗγϻ ϪΑϭλ..... ..ΎϫϭΛόΑ΍ ϰΗ΍ϭΧ΍ ϡϛϓέΎόϣϟ ϰΗΣ ΩϳϔΗγϳ ϝϛ ΝΎΗΣϣ έΎγϔΗγϻϝ :

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       ϊϗϭϣϟ΍ ϥΎϣϋ ϲϟΩΑόϟΎΑ
       Jan 7, 2:08 AM - Rami N GHANEM: ΗΤάϳή ϋΎΟϞ ΟΪ΍

       ϣϦ ΃ϣϦ ΍ϟτήϕ ΑΎϟϤϤϠϜΔ ϪϳϧΩέϷ΍΍ ϪϳϣηΎϬϟ΍
       ΍Ϋ΍ έ΃ϳΖ ϣϘόΪ έοϴϊ ϟϠδϴΎέΓ ϋϠϰ ΟΎϧΐ ϖϳήτϟ΍ˬ
       ϻΗΘϮϗϒ ϭ΍ΗμϞ Α΄ϣϦ ΍ϟτήϕ ϚϴϠϋϭˬ΍έϮϓ 911 ΗϮΧϲ

       ΍ϟΤάέ O: ..ϓϬϨΎϙ ϋμΎΑΎΕ ϭϟμϮι ϳΨττϮϥ ΍ϵϥ ϋϠϰ

       σήϕ ϣΨΘϠϔΔ ϟϠΤμϮϝ ϋϠϰ ΃ηΨΎι ϹϳϘΎϑ γϴΎέΗϬϢ
       ϭ΍ϟΨήϭΝ ϣϦ ΓέΎϴδϟ΍ˬ ΍ϟθήσΔ ΫϛήΗϬΎ ϋμΎΑΔ ϓϬϨΎϙ
       ΍ϟϤΤϠϴΔ Α΄ϧϬϢ ϳπόϮϥ ϣϘόΪ γϴΎέΓ ϋϠϰ ΟΎϧΐ ΍ϟτήϳϖ ϣϊ
       ΩϣϴΔ ΗϮϫϢ ΍ϟϤΎέΓ Α΄ϧϪ σϔϞ ϟϘϴς ΗΨϠϰ ϋϨϪ ΃ϫϠϪ !




00090439                                                                                                                                                                                  Ghanem-00000241-0030
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     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 121 of 273 Page ID
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                        ϭΗμΒ΢ οΤϴΔ ϟϬΆϻ΀ ΍ϟϤΠήϣϴϦ .

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                        ΍ϟϤμΪέ λΤϴϔΔ ΍ϟϤΪϳϨΔ ΍ϟϴϮϡ )

                        ·έγϠϮϫΎ ϵΑΎ΋ϜϢ ϭ΃ΧϮ΍ϧϜϢ ϭϛϞ ϗήϳΐ ϟϜϢ ΃ϛήέ ϣήΓ
                        ΃Χήϯ ΍ϟήΟΎ΀ ΍ϟϨθή ϭ ϟϜϢ ΟΰϳϞ ΍ϷΟή ϭ ΍ϟθϜή
                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

                        Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>




00090439                                                                     Ghanem-00000241-0031
                                   Ghanem_Sentencing_00001147
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 122 of 273 Page ID
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            Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

            Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

            Jan 7, 10:50 PM - Rami N GHANEM:




            ϱέϘΑόϟ΍ ϱέϘΑϋ ϥϣ ϩέϐλ..



            ϝΧΩ ϝϔρ ϲϠϳϠΧ ϲϛΫ ( ΓΩΎόϛ ΔϠϳϼΧϟ΍ Ύϣ΋΍Ω ) ϊϣ ϩΩϟ΍ϭ ϰϟ΍ ΩΣ΍ έΟΎΗϣ ΕΎϳϭϠΣϟ΍ Ε΍έγϛϣϟ΍ϭ ˬˬˬˬˬˬˬ




            ϪϔρϠΗγΎϓ ϊ΋ΎΑϟ΍ ΏΑγΑ ϪΗΎϓέλΗ Δϳϟϭϔρϟ΍ ϭ ϩέϬυϣ ΉέΑϟ΍ ϝϳϣΟϟ΍ ( ΔϳϣϭϠόϣϠϟ ϱΫϫ ΕΎϔλ ΔϠϳϼΧϟ΍ ϥϣ ϡϭϳ ϡϫ έΎϐλ )

            ΏϠρϭ Ϫϧϣ ϥ΃ ΫΧ΄ϳ Ύ΋ϳη ϥϣ Ε΍έγϛϣϟ΍ ΔϳΩϬϛ Ϫϟ νϓέϓ ϝϛΑ ˯ΎΑ΍ ϭ ϡϣη ˬ
            ΫΧ΄ϓ ϊ΋ΎΑϟ΍ Ε΍έγϛϣϟ΍ ΎϬόοϭϭ ϲϓ ϪΑϳΟ ΓϭϘϟΎΑ ˬ
            ϥϳΣϭ ΝέΧ Ϫϟ΄γ ϩΩϟ΍ϭ :



            ϡϟ
             ˴ ϡϟ ΫΧ΄Η ϙγϔϧΑ Ύϳ ˮϲϧΑ!


            ϝΎϘϓ ϝϔρϟ΍ έϳϐλϟ΍ ϝϛΑ ϩ˯΍έΑ : ΕΑΑΣ΃ ϥ΃ ϲϧϳρόϳ ϭϫ

              ϥϷ ϩΩϳ έΑϛ΃ ϥϣ ϱΩϳ

            ϪΑϭγΣϣ ΢ϳϧϣ Ύϳ ϲϠϳϠΧ

            ΍ϭϓ΍έΑ ϙϳϠϋ

            Jan 7, 10:50 PM - Rami N GHANEM: <Media omitted>

            Jan 7, 10:50 PM - Rami N GHANEM: ϪυϭΑ ϪϠϳϼΧϟ΍ ΞϠΗ ϑΎοϣ Ϫϳϟ΍ Ϫϳϭη αΑΩ

            Jan 7, 11:31 PM - Rami N GHANEM: <Media omitted>

            Jan 7, 11:31 PM - Rami N GHANEM: <Media omitted>

            Jan 7, 11:31 PM - Rami N GHANEM: <Media omitted>

            Jan 7, 11:31 PM - Rami N GHANEM: <Media omitted>

            Jan 9, 12:02 PM - Rami N GHANEM: ͽ ༡ ͼ




00090439                                                                                                  Ghanem-00000241-0032
                                            Ghanem_Sentencing_00001148
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 123 of 273 Page ID
                                        #:6569




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                                                                         ͉ Ω˸ ˴ϗϭ˴ ˴Εέ˴˸ ϔϏ                                                                                        ˶ ί˸ έϟ΍
                                                                                                                                                                                            ˷ ˶ Γ˶Ω˴ Ύό˴ γ
                                                                                                                                                                                                          ͉ ϟ΍ϭ˴ ϥϣ ΏϠϗ ϲϋΩϳ ϡϛϟ.



           ΔόϣΟ ΔΑϳρ ΔϛέΎΑϣ
           Jan 9, 6:01 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Jan 9, 9:52 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Jan 14, 4:05 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Jan 17, 10:30 PM - Rami N GHANEM: <Media omitted>

           Jan 20, 9:09 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Jan 20, 9:10 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ΍Ϋϫ ΏϭϠρϣ Ϫϧϣ ˻˹ Ϫόρϗ

           Jan 21, 4:42 AM - Rami N GHANEM: ϭΑ΍ Ωϋέ εϳ΍ ϙϳ΍έ ϝίϧΗ ϲόϣ ΍ΩΎϣέΑ

           Jan 23, 12:57 AM - Rami N GHANEM: <Media omitted>

           Jan 23, 1:06 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

           Jan 23, 1:09 AM - Rami N GHANEM: ϙϔϳϛ Ύϳ ϡϠόϣ

           Jan 23, 1:10 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϥΎΑόΗ ˱ ΍ΩΟ Εϧ΍ ϙϔϳϛ

           Jan 23, 1:11 AM - Rami N GHANEM: Δϣϼγ ϙΑϠϗ

           Jan 23, 1:12 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ௌ ϙϣϠγϳ

           Jan 23, 1:21 AM - Rami N GHANEM: ϑϳϛ ωΎοϭϻ΍ ϙΩϧϋ

           Jan 23, 1:22 AM - Rami N GHANEM: Ύϧ΍ ϱί΍ϭΟ ϲϛϳέϣϻ΍ ΍ϭέΧ΍ 5 ϖ΋ΎϗΩ ϲϧϭϟΎγϭ ϲϧ΍ Ύϧ΍ ϲϠλ΍ ϲϧΩέ΍

           Jan 23, 1:23 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: Ύϣ ΎϧϳϛΣ ϊϳο΍ϭϣϟΎΑ Ύϧ΍ ΩΑ˴ ϋ
                                                                      ˴ ϭ˴ ϡϼγϟ΍ Ϫϧϻ ΎϧϠϐηϧ΍ ΏϳΗέΗΑ έϭϣ΃ ΏΎΑηϟ΍

           Jan 23, 1:24 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϲϟΎϛΣ ΩΑϋ ϡϼγϟ΍ ϥϋ ϙί΍ϭΟ ϥΎϛϭ ϥΎϘϠϗ ϙϳϠϋ ϪϠΗϳϛΣϭ ϱΎϫ ΕΎϛέΑ ϝϐηϟ΍ ϡϛόϣ




00090439                                                                                                                                                                                         Ghanem-00000241-0033
                                                                                    Ghanem_Sentencing_00001149
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 124 of 273 Page ID
                                        #:6570




      Jan 23, 1:29 AM - Rami N GHANEM: ϡϬϠΗϳϛΣ Ύϧ΍ ϥρ΍ϭϣϛ ϲϛϳέϣ΍ εϳϓ ΩΣ Ϫϟ ϖΣϟ΍ ϝΎγϳ ϥϋ ΍Ϋ΍ Ύϧ΍ ϲϧΩέ΍ ϭ΍ ϱέϭγ ΍Ϋϫϭ ϲϛΣϟ΍
      ΩϳΩΟ ϲϠϋ ΎΟ΍ ρΑΎοϟ΍ ΫΧ΍ϭ ϱί΍ϭΟ ϰϠϋ ΏΗϛϣϟ΍ ΩόΑϭ 5 ϖ΋ΎϗΩ ϊΟέ ϲϧϣϠγϭ ί΍ϭΟϟ΍ .....ΎόΑρ ϻ ϪΗϟΎγ εϳϟ ϻϭ ΕϳϛΣ ϪϣϠϛ ..ΔϠϗ ϡϼϛϟ΍
      ϥγΣ΍. Ύϧ΍ εϣ ϝ΋Ύγ ϡϬϳϓ Ϫϧϻ έΛϛ΍ ϲη΍ ϡϬϟ΍ ϱΩϧϋ ϲϟϭϛΣϳ έϳϏ ΏΣέϣ ϲϓ ΍έϛηϭზ

      Jan 23, 1:30 AM - Rami N GHANEM: <Media omitted>

      Jan 23, 1:30 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϙϠϣ ΔϳΩϭόγϟ΍ ΕΎϣ

      Jan 23, 1:31 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ථ

      Jan 23, 1:32 AM - Rami N GHANEM: ௌ ϡΣέϳ Ε΍ϭϣ΍ ϥϳϣϠγϣϟ΍ ΎόϳϣΟ

      Jan 23, 1:32 AM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϥϳϣ΁

      Jan 23, 8:28 AM - Rami N GHANEM: <Media omitted>

      Jan 23, 8:28 AM - Rami N GHANEM: ϡϬϠϟ΍ ϲϧ· ΏγΗΣ΍ ϲϣϭϳ ΍Ϋϫ ϙϬΟϭϟ ϡϳέϛϟ΍ ϩέγϳϓ ϲϟ ϙέΎΑϭ ϲϟ Ϫϳϓ ϪϠΑϘΗϭ ϲϧϣ ϲϧϘρϧ΍ϭ Ύϣ
      ϙϳοέϳ ϲϧόϣγ΍ϭ Ύϣ ϙϳοέϳ ϭ ϲϧέ΃ Ύϣ ϙϳοέϳ ... ϲϧϠϣόΗγ΍ϭ ϲϓ ϙΗϋΎρ ΢Ηϓ΍ϭ ϲϟ Ώ΍ϭΑ΃ ϙΗϣΣέ ϲϧϗίέ΍ϭ ϥϣ ΙϳΣ ϻ ΏγΗΣ΍ Ύϗίέ
      ϻϼΣ ΍έϳϓϭ ΎΑϳρ ϲϧϳοέϳ Ύϳ Ώέ ϥϳϣϟΎόϟ΍ Γϼλϟ΍ϭ ϡϼγϟ΍ϭ ϰϠϋ ΎϧΩϳγ ΩϣΣϣ ϰϠϋϭ Ϫϟ΁ ϪΑΣλϭ ϥϳόϣΟ΃. ..

      ΔόϣΟ ΔϛέΎΑϣ
      Jan 27, 7:23 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 27, 7:27 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 27, 7:27 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 27, 7:27 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 27, 7:27 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 29, 8:25 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 29, 8:25 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 29, 8:25 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 29, 8:26 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>

      Jan 29, 8:26 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: Corn flex

      Biscuit

      Macaroni not spaghetti

      Jan 29, 8:26 PM - Rami N GHANEM: εϳ΍ ΍Ϋϫ Ύϳ ϲϘϳΩλϳ

      Jan 29, 8:28 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ΍Ωϫ ϲϓ ϝΛϣ ϲϛΣΑ ϻ ϲϣόρΗ ϱϭΩΑϟ΍ ΏΎΑϛ ϝϛ ϡϭϳ ϙϠ΋ΩΑ ϰϠϋ ΏΎΑϟ΍

      ϱΎϫ ˯Ύϳη΃ ϥϭΩΑ ϥΗϭϠϏ ϥ΍ϭέϟ
      Jan 29, 8:29 PM - Rami N GHANEM: Εϧ΍ ϱϭΩΑ ϥ΍ϭέ Ύϣ Ε΃ΩΑ.....Ύϳ ϝΎΟέ ϥ΍ϭέ ϱί Ϫϳϗέ

      Jan 29, 8:30 PM - Rami N GHANEM: ϝϗ΍ Ύϣ ΎϬΑϓ Ύϳ ϲϘϳΩλ




00090439                                                                                                 Ghanem-00000241-0034
                                              Ghanem_Sentencing_00001150
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 125 of 273 Page ID
                                        #:6571




       Jan 29, 8:41 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ϲΑέ ϙϣϠγϳ ϝϭρϳϭ ϙέϣόΑ

       Jan 29, 9:59 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: ΕϠΧΩ ΕΎΑΎλϋ #ϲΛϭΣϟ΍ ϡϭϳϟ΍ ϊϣ΍ϭΟ ˯Ύόϧλˬ Εϟίϧ΃ϭ ˯ΎΑρΧϟ΍ ϥϣ έΑΎϧϣϟ΍ˬ ΕϟϭΗγ΃ϭ ΎϬϳϠϋ.

       ϥΎϛ Δρϣ΍έϘϟ΍..Ω΍ΩΟ΃ ϲϟϼϣ ϥ΍έϬρ ϥϭϠόϔϳ ˯ϲηϟ΍ Ϫγϔϧ.

       ϲϔΧΗϣϟ΍ϭΩόϟ΍.



       อ ϲϓ Δϧγ 317 ˰ϫ ϥΎϛ ϥϭϣϠγϣϟ΍ ϥϭϓϭρϳ ϝϭΣ ΔΑόϛϟ΍ ΢γΗϛΎϓ ΔΑόϛϟ΍ εϳΟ ϥϣ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ΍ϭΣΑΫϭ ϲϓ ϡϭϳ ΩΣ΍ϭ (30,000) ϥϳΛϼΛ
       ϑϟ΃ ΝΎΣ ϥϣ ϝΎΟέϟ΍ ˯Ύγϧϟ΍ϭ ϝΎϔρϷ΍ϭ...



       อ ϑϗϭ Ω΋Ύϗ Δόϳηϟ΍ ϭΑ΃ έϫΎρ ϲρϣέϘϟ΍ ϰϠϋ ΏΎΑ ΔΑόϛϟ΍ ϯΩΎϧϭ ϲϓ ΞϳΟΣϟ΍ ϥϣϟ ϙϠϣϟ΍ ˮϡϭϳϟ΍!. ϡϠϓ ϪΑΟϳ ΩΣ΃ ϝΎϘϓ :



       Ύϧ΃ ͿΎΑ ͿΎΑϭ Ύϧ΃
       ϖϠΧϳ ϖϠΧϟ΍ ϡϬϳϧϓ΃ϭ Ύϧ΃



       อ ϡΩϫ Δόϳηϟ΍ έ΋Α ϡίϣί ΍ϭϣέϭ ΎϬϳϓ ΕΎ΋ϣ ΙΛΟϟ΍ ϥϣ ϥϳΫϟ΍ ϡϫϭϠΗϗ ϥϣ ΞϳΟΣϟ΍ ϰΗΣ ΕϸΗϣ΍ έ΋Αϟ΍ ΙΛΟϟΎΑ ΍ϭόϣΟϭ ΎϬϗϭϓ ΔϳϘΑ ΙΛΟϟ΍ ϰΗΣ
       ΕέΎλ ΙΛΟϟ΍ ϼΑΟ" ΎϣΧο"...



       อ έϣ΃ Ω΋Ύϗ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϪηϳΟ ϊϠΧΑ ΏΎΑ ΔΑόϛϟ΍ ϕίϣϭ Γϭγϛ ΔΑόϛϟ΍ ΎΑέ·" ΎΑέ·" ϯΩΎϧϭ ϲϓ αΎϧϟ΍ ϥϳ΃ έϳρϟ΍ ϝϳΑΎΑϷ΍ ϥϳ΃ ΓέΎΟΣϟ΍ ϥϣ
       ϝϳΟγ ϡϟϭ ϪΑΟϳ ΩΣ΃!.



       อ Ώέϫ ΞϳΟΣϟ΍ ϥϣ εϳΟ Δόϳηϟ΍ ϖϠόΗϭ έΎΗγΎΑ ΔΑόϛϟ΍ (1700) ϝΟέ Γ΍έϣ΍ϭ ϝόϟ έΎΗγ΃ ΔΑόϛϟ΍ ϊϔηΗ ϡϬϟ Ωϧϋ Δόϳηϟ΍ ϯΩΎϧϓ Ω΋Ύϗ Δόϳηϟ΍
       ΍ϭ΃ΩΑ΍ ϡϬΑ ϡϫϭΣΑΫΎϓ...



       อ ϊϣΟ Ω΋Ύϗ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ΕΎΟΎΣ ΕϳΑ ௌ ϥϣ ˯Ύγϧϟ΍ ϝϭΣ ΔΑόϛϟ΍ ϲϓϭ έΟΣ ϝϳϋΎϣγ· έϣ΃ϭ ϩΩϭϧΟ ϥϬΑΎλΗϏΎΑ
                                                                                              ˷        ΎϧϠϋ ϡΛ ϥϫϭΣΑΫ ΍ϭϣέϭ
       ˷
       ϥϬΛΛΟ ϲϓ έ΋Α ϡίϣί...



       อ έϣ΃ Ω΋Ύϗ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϊϠΧΑ Ώ΍ίϳϣ ΔΑόϛϟ΍ Ωόλϓ ϝΟέ ϥϣ Δόϳηϟ΍ Ύϣϟϭ ϝλϭ Ώ΍ίϳϣϟ΍ ρϘγ ϝΟέϟ΍ ϰϠϋ Ϫγ΃έ ΕέγϛϧΎϓ ϪΗΑϗέ ϝΎϘϓ
       ϡϫΩ΋Ύϗ ϻ Ωόλϳ Ϫϟ ΍ΩΣ΃...



       อ ϙΗϫ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ΏΎΑ ΔΑόϛϟ΍ ΎϫϭγϧΩϭ ΍ϭΑϬϧϭ ΎϬϧϣ ΍ίϭϧϛ" Δϣϳυϋ ϥΎϛ ϙϭϠϣϟ΍ ΎϬϧϭΩϬϳ ΔΑόϛϠϟ Δϓέηϣϟ΍ ΎϫϭϗΎγϭ ϡϬόϣ ϰϟ· ϑϳρϘϟ΍...




00090439                                                                                                          Ghanem-00000241-0035
                                                Ghanem_Sentencing_00001151
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 126 of 273 Page ID
                                        #:6572




      อ ϝϭΑΗ
          ˷ Ω΋Ύϗ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϭΑ΃ έϫΎρ ϲΑΎϧΟϟ΍ ϰϠϋ ΔΑόϛϟ΍ Δϓέηϣϟ΍ ϯΩΎϧϭ ϲϓ ΔηϳΟ ϥϳ΃ ΔϫέΑ΃ ϝϳϔϟ΍ϭ έϳρϟ΍ϭ ϝϳΑΎΑϷ΍ ϡϫϭ ϥϭϬϘϬϘΗϳ
      ϥϭϛΣοϳϭ ϯέΎϛγϟΎϛ.



      อ έϣ΃ ϡϳϋί Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϥ΃ ϡΩϬ˵ϳ ϥΎϛϣ έΟΣϟ΍ ΩϭγϷ΍ Ώέοϭ ϪγΎϔΑ έΟΣϟ΍ ΩϭγϷ΍ έγϛϧΎϓ ϥϳϘη ϡΛ ϩϭϠϣΣ ϡϬόϣ ϰϟ· ϑϳρϘϟ΍ ϝ
                                                                                                                       ˷ υϭ
      έΟΣϟ΍ ΩϭγϷ΍ ϡϬόϣ (22) Δϧγ...



      อ Ω΍έ΃ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϥ΃ ΍ϭϗέγϳ ϡΎϘϣ ϡϳϫ΍έΑ· ϪγΩϓ ϝϫ΃ Δϛϣ ϲϓ ϥΎϛϣ ϥϣ΁ ϡϫΩΩϬϓ ϡϫΩϋϭΗϭ Ω΋Ύϗ Δόϳηϟ΍ Ύϣϟϭ ΍ϭοϓέ ϪϣϳϠγΗ ϡΎϗ ΓέίΟϣΑ
      ϯέΑϛ ϲϓ ΏΎόη Δϛϣ...



      อ έϣ΃ Ω΋Ύϗ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ΢ΑΫΑ ϊϳϣΟ ΞϳΟΣϟ΍ ϰΗΣ ΕϟΎγ έΎϬϧ΃ ϡΩϟ΍ ϝϭΣ ΔΑόϛϟ΍ ϝϳγϟΎϛ ϝΗϗϭ ϥϣ ΡΎΑλϟ΍ ϰϟ· έλόϟ΍ (30ˬ000) ϑϟ΃
      ΝΎΣ ΔΟΎΣϭ ϡϟϭ ϙέΗϳ ΍ΩΣ΃"...

      อ ϰϧΑ Δόϳηϟ΍ ΔΑόϛ ϡϬϟ ϻΩΑ" ϥϋ ΔΑόϛϟ΍ ϲϓ ϑϳρϘϟ΍ ΍ϭόοϭϭ ΎϬϳϠϋ έΟΣϟ΍ ΩϭγϷ΍ έϣ΃ϭ ϪηϭϳΟ ϥ΃ νέΗόΗ ΝΎΟΣϟ΍ ϥϣϓ ΞΣ ϰϟ· ϡϬΗΑόϛ
      ϩϭϛέΗ ϥϣϭ νϓέ ϩϭΑϠγ ϩϭϠΗϗϭ...



      อ ϝϐΗγ΍ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϑόο ΔϟϭΩϟ΍ ΔϳγΎΑόϟ΍ ΎϬϛϛϔΗϭ ΕϼϳϭΩϟ ΎϬϟΎϐηϧ΍ϭ ΏέΣΑ ϊϣ ΓέϭΛ Νϭϧίϟ΍ ΍ϭΛΎόϓ ϲϓ νέϷ΍ ΍ΩΎγϓ" ΍ϭϋϭέϭ
      ϥϳϧϣϵ΍ ΍ϭϛΗϫϭ ν΍έϋϷ΍...

      อ Ύϣϟ νϓέ Ώέόϟ΍ ϥϭϣϠγϣϟ΍ϭ ΞΣϟ΍ ϰϟ· ΔΑόϛ Δόϳηϟ΍ ϲϓ ϑϳρϘϟ΍ ωΎΑ Δόϳηϟ΍ έΟΣϟ΍ ΩϭγϷ΍ ΔϔϳϠΧϠϟ ϲγΎΑόϟ΍ ˰Α (50ˬ000) ϑϟ΃ έΎϧϳΩ
      ΎϳΑϫΫ" ΕΩΎϋϭ ΩόΑ (22) ΎϣΎϋ".



      อ έρϳγ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϰϠϋ ΓέϳίΟϟ΍ ΔϳΑέόϟ΍ ΍ϭΑϛΗέ΍ϭ έίΎΟϣ ϯέΑϛ ΔλΎΧ ϲϓ ϖϳέρ ΝΎΟΣϟ΍ ϰϐϟ΄ϓ ϝϫ΃ ϡΎηϟ΍ ϕ΍έόϟ΍ϭ ΞΣϟ΍ ΓΩηϟ
      Ώϋέϟ΍ ϥϣ Δόϳη ϑϳρϘϟ΍...



      อέϣ΃ ϡϳϋί Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϊϳϣΟ αΎϧϟ΍ ϥ΃ ΍ϭϬΟϭΗϳ ϡϬΗϼλΑ ϰϟ· ΔΑόϛ ϑϳρϘϟ΍ ϻΩΑ" ϥϣ Δϛϣ ΍ϭέΑΟ΃ϭ αΎϧϟ΍ ϰϠϋ ϝϳϭΣΗ ΔϠΑϘϟ΍ ϰϟ·
      ϑϳρϘϟ΍ ϥϣϭ νϓέ ϩϭΣΑΫ...



      อ έρϳγ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϰϠϋ έϳΛϛ ϥϣ ϖρΎϧϣ ΓέϳίΟϟ΍ ΔϳΑέόϟ΍ ΍ϭϣΎϗϭ έίΎΟϣΑ ΔϳϋΎϣΟ ϻ ϝϳΛϣ ΎϬϟ ϲϓ ΦϳέΎΗϟ΍ ΍ϭϧΎϛϭ ϥϭΑλΗϐϳ ˯Ύγϧϟ΍
      ϕϭϓ ΙΛΟ ϰϠΗϘϟ΍...

      อ ϡΟΎϫ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϡϬηϭϳΟΑ ΔϧϳΩϣ ΓέλΑϟ΍ ΍ϭϣΎϗϭ ΓέίΟϣΑ ϯέΑϛ ΕέϣΗγ΍ (17) Ύϣϭϳ" ΍ϭΣΎΑΗγ΍ϭ ϝ΍ϭϣϷ΍ ΍ϭΑλΗϏ΍ϭ ˯Ύγϧ ϥϳϣϠγϣϟ΍
      ΍ϭϛΗϫϭ ϡϬο΍έϋ΃ ϡϫϭϟΫ΃ϭ.



      อ΍ίϏ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϑ΍έρ΃ ϡΎηϟ΍ ΍ϭϧΎϛϭ ΎϣϠϛ ΍ϭέϣ ΔϳέϘΑ ΍ϭΑϠγ ϝ΍ϭϣϷ΍ ΍ϭϠΗϗϭ ϝΎΟέϟ΍ ΍ϭΑλΗϏ΍ϭ ˯Ύγϧϟ΍ ϡΛ ϥϭϗέΣϳ ΔϳέϘϟ΍ ΎϣΑ ΎϬϳϓ ϥϣ
      ϝΎϔρ΃ ί΋ΎΟϋϭ.




00090439                                                                                                        Ghanem-00000241-0036
                                                Ghanem_Sentencing_00001152
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 127 of 273 Page ID
                                        #:6573




       อ ϑϗϭ Ω΋Ύϗ Δόϳηϟ΍ ϝϭΣ ΙΛΟ ΞϳΟΣϟ΍ ϡϫΩΩϋϭ (30ˬ000) ϑϟ΃ ϭϫϭ ϰϠϋ Ϫγέϓ ϙΣοϳ ϭϠΗϳϭ: (ϑϼϳϹ εϳέϗ) ϰΗΣ ϝλϭ (ϡϬϧϣ΁ϭ ϥϣ
       ϑϭΧ).ϪϘϬϘϓ ϝΎϗϭ: Ύϣ ϡϬϧϣ΁ ϥϣ ΎϧϓϭΧ...



       อ ϰϧΑ Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ΔΑόϛ ϲϓ ϑϳρϘϟ΍ ΍ϭϧΑϭ ΎϬϟϭΣ Ύόοϭϣ" ϩϭϣγ έόηϣϟ΍ ϡ΍έΣϟ΍ Ύόοϭϣϭ" ϩϭϣγ ΕΎϓέϋ έΧ΁ϭ ϩϭϣγ ϰϧ ˶ϣ ΍ϭέΑΟ΃ϭ
       ϡ΍ϭόϟ΍ ϰϠϋ ΞΣϟ΍ ϰϟ· ϡϬΗΑόϛ...



       อ ΡΎΑ΃ ˯Ύϣϋί Δόϳηϟ΍ Δρϣ΍έϘϟ΍ ϡϬϋΎΑΗϷ ϝόϓ ΔηΣΎϔϟ΍ ϡϬΗΎϬϣ΄Α ϡϬΗΎϧΑϭ ϝΎϘϓ ϡϬόΟέϣ ϲϓ Ϫλϭλϧ : "ϝ˷ Σ΃ ΕΎϧΑϟ΍ ϊϣ ΕΎϬϣϷ΍ ϥϣϭ ϪϠοϓ
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       http://www.alharamain.gov.sa/index.cfm?do=cms.conarticle&contentid=5940&categoryid=1022

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       Feb 3, 12:33 PM - ΩϣΣϣ ϲΑϭΑΩϟ΍: <Media omitted>




00090439                                                                                                     Ghanem-00000241-0037
                                               Ghanem_Sentencing_00001153
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 128 of 273 Page ID
                                   #:6574




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            817

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001154
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 129 of 273 Page ID
                                          #:6575

   From:               Rami Ghanem < ramithe@gmail.com>
   Sent:               Tuesday, February 10, 2015 11 :01 AM
   To:                 F akroun <fakrun l @gmail.com>
   Subject:            Emailing: Tebadot Inv.pdf
   Attach:             Tebadot Inv.pdf



   Your message is ready to be sent with the following file or link
   attachments:

   Tebadol hw.pdf


   Note: To protect against computer viruses, e-mail programs may prevent
   sending or receiving certain types of file attachments. Check your e-mail
   security settings to determine how attachments are handled.


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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 130 of 273 Page ID
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   SOLDTO:                                           DELIVERY/CONSIGNEE:
   Tebadot      General Trading LLC                    Tebadot General Trading LLC
                                                        .                          
  /LE\D                                                 /LE\D
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               7DFKRPHWHU7HOHVFRSLQJ6WHHULQJ                                               
               :KHHO7LOW6WHHULQJ:KHHO3RZHU
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               $GGLWLRQDO)HDWXUHV&XS+ROGHUV
               1LJKW9LVLRQ6OLGLQJ5HDU:LQGRZ
               %HGOLQHU&KLOG3URRI'RRU/RFNV
               9DQLW\0LUURUV)URQW5HDGLQJ/LJKWV
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 131 of 273 Page ID
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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 132 of 273 Page ID
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                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            818

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001158
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 133 of 273 Page ID
                                          #:6579

   From:                Ahmad Qardan <Ahmad.Qardan@investbank.jo>
   Sent:                Tuesday, November 25, 20 14 10:40 PM
   To:                  Rami Ghanem < ramithe@gmail.com>; aldaboubim@gmail.com
   Subject:             RE: Invoice for Transfer



   Dear Rami,

   All noted well, kindly note that you just received another transfer of 344, 194 USO, kindly provide us with the invoice
   related .

   Regards

   Ahmad


   From: Rami Ghanem [mailto:ramithe@gmail.com]
   Sent: Tuesday, November 25, 2014 6:24 PM
   To: Ahmad Qardan; aldaboubim@gmail.com
   Subject: RE: Invoice for Transfer

   Sorry Ahmad I was traveling and did not have the chance to send you a copy of the
   Invoice, as for the customer we are starting our work with them in December, I am
   trying to have the trainers ready tor the deploying by Sunday to Misurata~we will
   be invoicing our customer once each month for our work.

   The bank is asking to have a copy of our invoice (please see a copy but you have to
   promise me that our documents will not be distributed to anybody ales, Gen.
   Mohammad can expl ain to you his concern .

   Thanking you in advance tor your great support.

   Best Regards




   &iwWIIIJ ,e• ~NA                     /ti'Tl!IJ
   ;g_y~t Office
   Complex 122, Building 16, Apartment 42
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 568562~
   Fax: 962 6 5685625




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                                              Ghanem_Sentencing_00001159
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 134 of 273 Page ID
                                         #:6580
ram ithe@gmail.com or rami@caravaname.com
US Telephone: 772 675-4363 Skype Address: caravan ame

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 notify tfte sender; do not copy or distribute this message or disclose Its contents to anyone. Any views or cpinions expressed In this messdge are thos.e of the wthor and do not necessarily represtnt ttose of CME or
 of any d Its associat~ :ompanles. No re1iarce may be placed on this mesSlge v:lthout wrtten conflrmaUon ftcm an auth,rl?ed represertatlve of the company.




                       Life is short .. So love your life .. Be happy .. And Keep smiling.. and


                                                                           Before you speak »List en
                                                                            Before you write »Think
                                                                            Bef ore you spend »Earn
                                                                           Bef ore you pray »Forgive
                                                                             Before you hurt »Fee l
                                                                             Before you hate »Love
                                                                              Before you quit »Try
                                                                              Befo re you die »Live

                                                                                             That's Life...




From: Ahmad Qardan [mailto:Ahmad.Qardan@investbank. jo]
Sent: Monday, November 24, 2014 9:13 AM
To: aldaboubim @gmail.com; Rami Ghanem (ramithe@gmail.com); 'Rami N Ghanem '
Subject: Invoice for Transfer

Dear' s

Com pliance just called me notifying about the arrival of the t ransfer, kindly and its important to send the selling invoice
that will be delivered t o your customer in Libya, as we have your buying invoice, contract, and now the selling invoice is
needed to close the deal circle kindly provide as soon as possible.

Best Regards

Ahmad




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 135 of 273 Page ID
                                   #:6581




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            819

                                             DATE                                 IDEN.

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                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001161
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 136 of 273 Page ID
                                            #:6582

   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Sunday, January 25, 2015 12:40 PM
   To:                            Mohd <aldaboubim@gmail.com>
   Cc:                            Fakroun <fakrun l@gmail.com>
   Subject:                       New Invoices
   Attach:                        Doroob Invoice 08.pdf; Doroob Invoice 11.pdf




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   Behind ABC Bank. AI-Shmeisani
   Abdul Al-Rahim Al- Waked St. - Shmeisani. Bldg. No. 42
   P.O. Box 830589
   Amman-11183 Jordan
   Tel: 962 6 5685624 Ext.104
   Fax: 962 6 5685625 Mobile: lternational #: +37282432246
   ramithe@gmail.com or rami@caravana!1le.com
   US Telephone: 772 675-4363 Skype Address: caravaname
    The information contained ii this message is for the intended addressee only and miv coritain confident~! and/or priV1leged i1tformation. If you are not the ifttended acdressee, this messate wll self destruct so
    notify the sender; do not copy or distribute this me$$a,e or disclose Its contents to anyone. Any views or epinions expressed in this mess.cc are those of the author and do not necessarily represent t~ose of CME or
    of any cf its .-ssoc.Gted :omp~nhn. No reliar« mJy bE placed or. this mesuge without wrr':ten confirmation frcm an authorized representativ• of the company,




                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                              Before you speak »Listen
                                                                               Before yo u write »Think
                                                                               Before you spend >> Earn
                                                                              Before you pray »Forgive
                                                                                Before you hurt »Fee l
                                                                                Before you hate »Love
                                                                                 Before you quit »Try
                                                                                 Before you die >> Live

                                                                                                That's Life ...




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   0LVXUDWD/LE\D                                   0LVXUDWD /LE\D
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        Cab DLX                                                                     
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            %OXHWRRWK.LW 
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           6LQJOH$LUEDJ 'ULYHU2QO\                                                
               )ORRU0DWV                                                              
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               0DQXDO$LU&RQGLWLRQLQJ                                                 
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               5HDU'LIIHUHQWLDO/RFN
               :LUHOHVV'RRU/RFN
               'D\WLPH5XQQLQJ/LJKWV 
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               )URQW)RJ/DPSV
               6LGH6WULSHV 
               &KURPH3ODWHG$LU9HQWV 
               5HDU%XPSHU&KURPH3ODWHG
               6SDUH:KHHO&DUULHUZLWK/RFN
               5HDU*ODVV6OLGH
               7RZLQJ+RRN)URQW&ORVHG 5HDU3LQWOH
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 138 of 273 Page ID
                                   #:6584


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00091001                                                              Ghanem_00000241

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 139 of 273 Page ID
                                   #:6585

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                   6SDUH:KHHO&DUULHUZLWK/RFN
                   5HDU*ODVV6OLGH
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 140 of 273 Page ID
                                   #:6586


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00091003                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001166
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 141 of 273 Page ID
                                   #:6587




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            820

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001167
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 142 of 273 Page ID
                                          #:6588

   From:               Rami Ghanem < ramithe@gmail.com>
   Sent:               Monday, January 26, 2015 10:21 AM
   To:                 Mohd <aldaboubim@gmail.com>
   Subject:            Emailing: Invoice for MOD. pdf
   Attach:             Invoice for MOD.pdf



   Your message is ready to be sent with the following file or link
   attachments:

   Invoice for MOD.pelf


   Note: To protect against computer viruses, e-mail programs may preve nt
   sending or receiving certain types of file attachments. Check your e-mail
   security settings to determine how attachments are handled.


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00090971.pdf                                                                   Ghanem 00000241
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 143 of 273 Page ID
                                   #:6589

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 144 of 273 Page ID
                                   #:6590


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 145 of 273 Page ID
                                   #:6591




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            821

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001171
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 146 of 273 Page ID
                                         #:6592

   From:       Gerton Business <gerton.businessllp@gmail.com>
   Sent:       Tuesday, February 3, 2015 3:22 AM
   To:         Rami Ghanem < ramithe@gmail.com>
   Subject:    Sal 24
   Attach:     draft invoice sora MI24-1.doc




00090493.pdf                                                            Ghanem 00000241
                                   Ghanem_Sentencing_00001172
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 147 of 273 Page ID
                                   #:6593




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 148 of 273 Page ID
                                   #:6594




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        822

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001174
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 149 of 273 Page ID
  From:                                           #:6595
              Gerton Business <gerton.business1lp@gmail.com>
  Sent:         Thursday, February 5, 2015 9:37 A..\tf
  To:           Rwni Ghanem <ramithe@gmail.com.'>
  Subject:      23 sponsor fee
  Attach:       23-1.jpg; 23-2.jpg



 P: 24500 *3=73500
 T: 8500 *3=25500
 Ins: 400*3=1200
     4500*1,=4500
 P.M: 900*4=3600
 Cash 2,7%= 2924

 T: 111224




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      00090319                                                    Ghanem_00000241



                                     Ghanem_Sentencing_00001175
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 150 of 273 Page ID
                                   #:6596




                                                           TO:         Company: Gateway to MENA for logistic
                                                                                      Services
                                                                         Address: 43 Abdul Hamid Sharaf St.
                                                                                  P.O. Box 950601
                                                                               Amman 11195 Jordan
                                                                            Telephone: +9626 5001500




                                  COMMERCIAL INVOICE No 05/1-02/15
                                                   dated 05.02.2015

          Full description of goods or      Quantity    Unit Value, Currency    Total value. Currency
                    services

          1.   Building Construction        140 pcs            451.25 USO          63175.00 USO
               Materials


          2.   Logistic fees                   -                   .                2924 .00 USO



      TOTAL TO BE PAID: 66 099 $ USD

       Bank Details:
      Account of: DORA IMPEX LLP
      Acco.No:LV27PRTT0265021252900
      AS"PRIVATBANK", Muitas street 1, Riga, LV-1134, Latvia
      SWIFT: PRTILV22
      Registration Nr. : 50003086271




  00090320                                                                                Ghanem_00000241

                                         Ghanem_Sentencing_00001176
   Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 151 of 273 Page ID
                                      #:6597



                                                       TO:         Company: Gateway to MENA for logistic
                                                                                  Services
                                                                     Address: 43 Abdul Hamid Sharaf St.
                                                                              P.O. Box 950601
                                                                           Amman 11195 Jordan
                                                                         Telephone: +9626 5001500




                                 COMMERCIAL INVOICE No 05/2-02/15
                                                dated 05.02.2015


  Full description of goods or       Quantity     Unit Value, Currency    Total value, Currency
           services

   1.    Building Construction        100 pcs         451.25 USO             45125.00 USO
         Materials



TOTAL TO BE PAID: 45125 $ USO




  Bank Details:
 Account of: DORA IM PEX LLP
 Acco. No:LV27PRTT0265021252900
 AS"PRIVATBANK", Muitas st reet 1, Riga, LV-1134, Latvia
 SWIFT: PRTTLV22
 Registration Nr. : 50003086271

 DEUTSCHE BANK TRUST COM PANY AMERICAS, NEW YORK, USA
 SWIFT CODE: BKTRUS33 N!! 04-411-712




        00090321                                                                Ghanem_00000241

                                      Ghanem_Sentencing_00001177
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 152 of 273 Page ID
                                   #:6598




                                             CASE NO.   CR 15-0704 (A)-SJO
                                                   UNITED STATES OF AMERICA
                                              VS.     GHANEM

                                             PLAINTIFF=S EXHIBIT         823

                                             DATE                               IDEN.

                                             DATE                               EVID.

                                             BY
                                                          DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001178
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 153 of 273 Page ID
                                         #:6599

   From:                         Gerton Business <gerton.businessllp@gmail.com>
   Sent:                         Tuesday, February 10, 2015 8:47 AM
   To:                           Rami Ghanem < ramithe@gmail.com>
   Subject:                      Re: mi 24 sail
   Attach:                       fee 24.jpg




   On Tue, Feb 10, 2015 at 6:45 PM, Rami Ghanem <r.l!-m.iJh~.@gmfl:iJ&9.m.> wrote:

     No invoice we attached




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     Behind ABC Bank. AI-Shmeisani
     Abdul Al-Rahim Al- Waked St. - Shmeisani. Bldg. No. 42
     P.O. Box 830589
     Arnrnan -11183 Jordan
     Tel: 962 6 5685624 Ext.104
     Fax: 962 6 5685625   .MQ~.i.1.~.)ternational #: :t~?.~~?4.~.??:1.~
     ramithe@gmail.com . or rami@caravaname.com
     US I elephone: 772 6/5-4363 Skype Address: caravaname

      The Information contained In this mes~ce i$ for the intended addre$$'ee only and may contain confic'ential and/or privile&ed irformation. If vcu are not the intended addressee, this messaae wlllself destruct so
      notify the eender; do nc-t COPf o r di!.trlbute thie mee!..:>ce or ~iecl~e ft! contente to on•1one.Any \/iewt or op,lnlone expree~d In thl~ me~ote .,,e thote of the .luthor .:r.nd :to not nec~~.:r.,ily repre~ent th~e of CM:
      or of any of its associated companies. No reliance may be placed on th s message without written coriirmation trom an authori?ed representative ol t he company.




                          Life is short.. So love your life .. Be happy.. And Keep smiling .. and



                                                                                  Before you speak »Listen
                                                                                   Before you write >>Think
                                                                                   Before you spend »Earn
                                                                                  Before you pray »Forgive
                                                                                    Before you hurt »Feel
                                                                                    Before you hate »Love
                                                                                     Before you quit »Try
                                                                                     Before you die »Live




00090113.pdf                                                                                                                                                                                      Ghanem 00000241
                                                                               Ghanem_Sentencing_00001179
  Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 154 of 273 Page ID
                                     #:6600


                                                                  That's Life ...



From: Gerton Business [mailto:g_~.'12.r:!:.!?.t:i.~!E"!.~~~.!!P..@8!I'.~.it~2!I'.l
Sent: Tuesday, February 10, 2015 5:59 PM
To: Rami Ghanem
Subject: mi 24 sail




Dear brother

This is a new invoice for sallary for MI 24

Pleasetell the general when he will make transfer to indicate in detailes of payment:

PAYMENT FOR BUILDING MATERCALS

T hank   you




                                                                                        Ghanem 00000241
                                                   Ghanem_Sentencing_00001180
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 155 of 273 Page ID
                                   #:6601



                                        INVOICE N!! 2

      Date: 09.21.2015

      SELLER: "SOLARA TRADING INC"

      Address: 50TH STREET, GLOBAL PLAZA TOWER,19TH FLOOR, SUITE H, PANAMA CITY, PANAMA


      Beneficiary   bank:

      Bank: AS PrivatBank, Address: Riga, Latvia,LV-1134,1,Muitas str.

      5\NIFT:PRTTLV22XXX       AccountLV18PRTT0265020365900




      Buyer: "Gateway to MENA for logistic Services" , Reg. No: 35019 P.O. Box 830589, Amman -11183, Jordan


      Bank: Invest Bank, Shmessani Branch.

      Bank's address: 43 Abdul Hamid sharaf St. P.O. box 950601, Amman 11195, Jordan


      SWIFT: JIFBJOAM       IBAN: J019JIFB00110033000021662220001




      GOODS: Building materials

      Prise: 326 800 USO

      Amount: 326 800 (three hundred twenty-six thousand eight hundred) USO




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           Attorney: Jorjiany Leon~                                 r-
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  00090115                                                                     Ghanem_00000241

                                   Ghanem_Sentencing_00001181
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 156 of 273 Page ID
                                   #:6602




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            824

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001182
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 157 of 273 Page ID
                                          #:6603

   From:               Rami Ghanem <ramithe@gmail.com>
   Sent:               Wednesday, July 29, 2015 3:53 AM
   To:                 mdaboubi@hotrnail.com
   Subject:            Emailing: RV GT Invoice 0125-1.pdf
   Attach:             RV GT Invoice 0125-1.pdf



   Your message is ready to be sent with the following file or link
   attachments:

   RV GT Invoice 0125-1.pdf


   Note: To protect against computer viruses, e-mail programs may prevent
   sending or receiving certain types of file attachments. Check your e-mail
   security settings to determine how attachments are handled.


   No virus found in this message.
   Checked by A VG - www.avg.com
   Version: 2015.0.6086 / Vims Database: 4392/ 10330 - Release Date: 07/29/15


   <<... >>




00077211.pdf                                                                    Ghanem-00072443
                                                  Ghanem_Sentencing_00001183
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 158 of 273 Page ID
                                   #:6604

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   SOLDTO:                                         DELIVERY/CONSIGNEE:
    5R\DO9DOOH\*HQHUDO7UDGLQJ//&
                                                     5R\DO9DOOH\*HQHUDO7UDGLQJ//&
    0LVXUDWD/LE\D                                   0LVXUDWD/LE\D            
    'DWH-XO\WK
   ,WHP               'HVFULSWLRQVRI*RRGV         4XDQWLW\ 8QLW3ULFH       7RWDO$PRXQW

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                =SDFNDJH                                                             
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                5HDUYLHZPLUURU
                                                      (LJKW+XQGUHG 6HYHQW\)LYH
                                                       7KRXVDQGV 7KUHH+XQGUHGV 6L[W\
                                                       7KUHH86'

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 159 of 273 Page ID
                                   #:6605


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      32%R[
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                            ([SUHVV/DQH6XLWH/6DUDVRWD)ORULGD
                                             P.0 Box 830589 Amman 11183 Email: aldaboubim@gmail.com
        Mob.: +962 777 100 577 - +962 777 333 390

                                                                                            
  00077212                                                                        Ghanem-00072443

                                       Ghanem_Sentencing_00001185
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 160 of 273 Page ID
                                   #:6606




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        825

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001186
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 161 of 273 Page ID
                                         #:6607

   From:            Mohammad <aldaboubim@gmait.com>
   Sent:            Wednesday, July 29, 2015 3:28 PM
   To:              Rami Ghanem < ramithe@gmail.com>
   Subject:         Fwd: ZG000248-$475,363.pdf
   Attach:          ZG000248-$475,363 .pdf; Message Text




   Sent from my iPhone    fi:i
   Begin forwarded message :

        From: Salam <fakrun L@gmail.com>
        Date: July 29, 2015 at 19: I l :29 GMT+3
        To: .x:. .JY.1 <£1).Q~!?.QJJP.im@gu:rn.i L.~Qm>
        Subject: ZG000248-$475,363.pdf




00077113.pdf                                                              Ghanem-00072443
                                             Ghanem_Sentencing_00001187
       Case 2:15-cr-00704-SJO
       ADIB:                        Document
             International WireTraisfa- Print 431-12 Filed 05/13/19 Page 162 of 273 Pcge1
                                                                                      PageofID
                                                                                             1
                                                              #:6608



          Internat ional Wire Transfer Confirmation
          ROYAL VALLEY GENERAL TRADING L.L.C                      Tracking ID:      23143816650303900
          29/07/2015 14:41                                        Application ID:   000000000004162725


           > :i1:ai;t lt:!lic1: Ig
            >Beneficiary Info                                      > Beneficiary Bank Info
            Beneficiary      GATEWAY TO MENA FOR LOGISTICS                            JORDAN INVESTMENT AND
            Name                                                   Bank Name
                             SERVI                                                    FINANCE BANK
           Nickname                                                Address 1          JSSAM AJLOUNI STREET
           Address 1         JORDAN
                                                                   Address 2          SHMEISANI
           Address 2
           City                                                    City               AMMAN
           Country           Jordan                                Country            Jordan
           Contact Person                                          FEDABA
           Beneficiary       Business                              SWIFT              JIFBJOAMXXX
           scope
           Account                                                 CHIPS
           Number/IBAN       J019JIFB0010033000021662220001        National

           > Q~bit IDfQ
                                           16914931-Current        Debit Currency     USO
            Debit Account
                                           Account - USD           Contract Number
           Amount                          475363.00               Charge Type        SHA
            Requ ested Processing Date 29/07/2015                  Charge Account     16914931 - 1
           Settlement Date                 29/07/2015
            Expected Processing Date       29/07/2015

           :i!: ea¥meat lafQ

            Payment Currency USO


            > Sender's Reference
            FREIGHT CHARGES
            > Originator to Beneficiarlt'. Info rm ation
            PURPOSE CODE 0403


          Confidential




      https://eooi bcorp.a::li b.ae'cb/sa-vlet/cbonl i ne/j sp/paymeits'indpri nt_wi raraisf ersa,d.j sp   7/29/2015
00077114.pdf                                                                                             Ghanem-00072443
                                               Ghanem_Sentencing_00001188
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 163 of 273 Page ID
                                         #:6609




        Sent from my iPhone




00077115.pdf                                                            Ghanem-00072443
                               Ghanem_Sentencing_00001189
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 164 of 273 Page ID
                                   #:6610




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        826

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001190
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 165 of 273 Page ID
                                         #:6611

   From:            Mohammad <aldaboubim@gmait.com>
   Sent:            Friday, July 3 1, 2015 I :27 AM
   To:              Rami Ghanem <ramithe@gmail.com>
   Subject:         Fwd: ADVICE 400,000.pdf
   Attach:          ADVICE 400,000.pdf; Message Text




   Sent from my iPhone     fi:i
   Begin forwarded message :

        From: Salam <fakrun L@gmail.com>
        Date: July 31, 2015 at07:48 :36 GMT+3
        To: .x:. .)J-!1 <£1).Q~!?.QJJP.im@gu:rn.iL.~Qm>, rn.m.i@~!.l&b.~n.Y.mgg.m
        Subject: ADVICE 400,000.pdf




00077036.pdf                                                                        Ghanem-00072443
                                              Ghanem_Sentencing_00001191
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 166 of 273 Page ID
                                         #:6612




               OUTWARD REMITIANCE CUSTOMER ADVICE
               ROYAi. VAU.F.Y CiF:NF.RAL T RAOINCi LL<'
               39634
               DUBAI

               TRANCACTJON DATE                      : 30-JULY-2015
               OUR REF                               : FCSF L0071406982
               YOUR REF

               Dear Customer,

               We advise of having made an Outward Fund Transfer from your account, details of which are as
               F'ollows:

               Beneficjary Bank                      : INVEST BAlsK
                                                     : JIFBJOAM



               Our Correspondent Bank
               Beneficiary Bank's correspondent
               Beneficiary Name                      : GATEWAY TO MENA FOR LOGIS'l'ICS SERVTCES
                                                     : JORDAN


               Beneficiary Account No                : J019JIFB001003300002166222000L
               Remittance Amount                     : USO 400,000.00
               Exchange Rate                         :1
               Total Debit Amount                    : USO 400,000.00
               Correspondent Bank Charges            : SHA
               Payment Value Date                    : 31-JULY-2015

               Debit Account Number                  : 16914931

               We thank you for banking with Abu Dhabi Islamic Bank and are pleased to be serve you.

               This is a computer generated advice, no signature will be required




00077037.pdf                                                                                                  Ghanem-00072443
                                               Ghanem_Sentencing_00001192
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 167 of 273 Page ID
                                         #:6613




        Sent from my iPhone




00077038.pdf                                                            Ghanem-00072443
                               Ghanem_Sentencing_00001193
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 168 of 273 Page ID
                                   #:6614




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            827

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001194
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 169 of 273 Page ID
                                          #:6615

   From:               Rami Ghanem < ramithe@gmail.com>
   Sent:               Thursday, July 30, 2015 5:28 AM
   To:                 mdaboubi@hotrnail.com
   Subject:            Emailing: RVGT Invoice 127.pdf
   Attach:             RVGTinvoice 127.pdf



   Your message is ready to be sent with the following file or link
   attachments:

   RVGT Invoice 127.pdf


   Note: To protect against computer viruses, e-mail programs may prevent
   sending or receiving certain types of file attachments. Check your e-mail
   security settings to determine how attachments are handled.


   <<. .. >>




00077048.pdf                                                                   Ghanem-00072443
                                                  Ghanem_Sentencing_00001195
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 170 of 273 Page ID
                                   #:6616

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               5DPL*KDQHP       

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   SOLD TO:                                          DELIVERY / CONSIGNEE:
    5R\DO9DOOH\*HQHUDO7UDGLQJ//&                 5R\DO9DOOH\*HQHUDO7UDGLQJ//&
    'XEDL8$(                                      'XEDL8$(
    'DWH-XO\WK
   ,WHP              'HVFULSWLRQVRI*RRGV         4XDQWLW\ 8QLW3ULFH       7RWDO$PRXQW

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             $LUEDJVVSOLWEHQFKFORWKVHDW                     
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             FUXLVHFRQWURO%OXHWRRWKIRUSKRQH                                     
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              $0)0VWHUHR86%$8;6'FDUG                                      
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                                                    1LQH+XQGUHG 6HYHQW\7ZR
                                                     7KRXVDQGV 6L[+XQGUHGV 7KLUW\
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  00077049                                                                    Ghanem-00072443

                                  Ghanem_Sentencing_00001196
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 171 of 273 Page ID
                                   #:6617


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        Mob.: +962 777100 577 - +962 777 333 390
                                             P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

                                                                                            
  00077049                                                                        Ghanem-00072443

                                      Ghanem_Sentencing_00001197
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 172 of 273 Page ID
                                   #:6618




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT       828

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001198
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 173 of 273 Page ID
                                          #:6619

   From:               Mohammad <aldaboubim@gmait.com>
   Sent:               Friday, July 3 1, 2015 I :27 AM
   To:                 Rami Ghanem <ramithe@gmail.com>
   Subject:            Fwd: USD 972 630.pdf
   Attach:             USD 972 630.pdf; Message Text



   This transaction for spare parts


   Sent from my iPhone        fi:i
   Begin forwarded message:

         From: Salam <fakrun L@gmail.com>
         Date: July 31, 2015 at07:47:35 GMT+3
         To: r..<MD.i.@.~JJ.gh!:!:n~m.,Y.Qffi., .).c JY-1<!\!.4~.9..@.!?.i.m.@gm!:\i.LY.9m.>
         Subject: USD 972 630.pdf




00077033.pdf                                                                                   Ghanem-00072443
                                                     Ghanem_Sentencing_00001199
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 174 of 273 Page ID
                                         #:6620




               Expanded Swift Message

               Sender              BOMLAEADXXX
                                   MASHREQB.A.NK PSC .
                                   .AJ... GHURAIR CITY ,339-C, AGC
                                   .AL RIQQA STREET.DUBAI
                                   /lE.
               Receiver            MSHQGB2LXXX
                                   MASHREQ BANK PSC
                                   TRITON COURT ,FLOOR 4 NEPTUNE HOUSE
                                   14-16 FINSBURY SQUARE.LONDON
                                   GB
               20                  Sende~s Reference
                                   0:1813629053003
               23B                 Bank Operation code
                                   CRED
               26T                 Transaction Type code
                                   REM
               32A                 Value Date/Currency/Interbank Settled Amo ,nt
                                   Date : 31-July-2015
                                   Currency :USD
                                   Amount: 972,630.00
               SOK                 Ordering Customer--Name and Address
                                   l>E.280330000019100053826
                                   SEVENTY F IVE GENERAL TRADING LLC
                                   PO BOX N041870
                                   DUBAI
               57A                 Account With lnstitution--BIC
                                   J IFBJOAM
                                   INVEST BANK, SHIIIESSANI BRANCH


                                   Beneficiary Customer-Name and Address
                                   J019JIFB0010033000021662220001
               59
                                   GATEWAY TO MENA FOR LOG ISTICS SERVICES


                                   Remltance Information
               70
                                   SPARE PARTS
               71A                 Oetais of Charges
                                   SHA

               Di3claimers:
               1) Please be advised that, as per Central Bank guidelines, credit to accounts held in banks operating in UAE wil be affected solely
               based on the beneficiary IBAN. All other information provided such as the beneficiarf name and other detailS wi l not be used.
               2)=or Incoming Funds , cred~ into the account wil be subjected to the completion of banks internal standard procedures. The
               UAEFTS/Swift message does not constitute an advice for credit.




00077034.pdf                                                                                                                              Ghanem-00072443
                                                       Ghanem_Sentencing_00001200
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 175 of 273 Page ID
                                   #:6621




                             Sent from my iPhone




  00077035                                                Ghanem-00072443

                         Ghanem_Sentencing_00001201
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 176 of 273 Page ID
                                   #:6622




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            829

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001202
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 177 of 273 Page ID
                                         #:6623

   From:               Salam <fakrunl @ gmail.com>
   Sent:              Sunday, August 2, 2015 2: 17 AM
   To:                Rami Ghanem < ramithe@gmail.com>
   Subject:           Re:FW:




   Majorlond Ip company

   this is the company name
   Sent from my iPhone

   On Aug 2, 2015, at 2:19 AM, Rami Ghanem <ramithe@gmail.com> wrote:

        Check the website below and then let's discuss it

        Regards



        From : Samir Ghanem [mailto:samir@alghanem.com.jo]
        Sent: Wednesday, July 29, 2015 5:38 PM
        To: Rami Ghanem
        Subject:




        Samir Ghanem
         Managing Director




        Amman Commercial Complex,
        Ommaya Str., AI-Abdali
        P.O Box 7109, Amman 11118 - Jordan
        Tel: +962-6-5696500 ext 211
        Fax:+962-6-5656750
        samir@.alghanemcom.jo
        w1vw.alghane111group.com


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        by persons or entities other than the intended recipient are prohibited . If you received this in error, please contact the sender and delete
        the material from any comp.1ter




00077003.pdf                                                                                                                         Ghanem-00072443
                                                      Ghanem_Sentencing_00001203
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 178 of 273 Page ID
                                   #:6624


 No virus found in this message.
 Checked by AVG - www.avg.com
 Version: 2015.0.6086 / Virus Database: 4392/10330 - Release Date: 07/29/15




                                                                              Ghanem-00072443
                                Ghanem_Sentencing_00001204
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 179 of 273 Page ID
                                   #:6625




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        830

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001205
          Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 180 of 273 Page ID
                                             #:6626
   From:                            Rami Ghanem <ramithe@gmail.com>
   Sent:                            Monday, August 3, 2015 5:56 AM
   To:                              mdaboubi@hotma.il .com
   S ubject:                        Invoice
   Attach:                          Majorlond LB Company Invoice 00118.pdf~Majorlond lp company Invoice.pdf




   &!m•wq ~" .1!.LBNA.                                                  /Gn!I/
   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Pax: 962 6 5685625
   l'amithe@.gmail.com or 1:arni@cnrovonomc.com
   US Telephone: 772 675-4363                             Skype Address: caravaname

     The information contaired in this messaa:e is for the intended ad dresseeonlv and f!'laY contain confidential a n:1/or privil~ed il'.lformation. If vou a re not t'le intende::I add'e sse?. thi$ messa.1e will self destruct so notify the
    sender; ~o not cor,1 or distrlbJte ttis message or dlsdose its c,ntertt to anyone. Any views oroplni,ns expr~ed In this mes~ge are those of the author and co not necessarilv represent those of CME er of anv of ,ts
    as!odeted conpanies. No rethnce may be pla:ed on th'ii me"age without wrl:te n confirmatloo from an • uthcrlzedrepresentative cf the company.




                                Life is short .. So love your life .. Be happy .. And Keep smi ling .. and


                                                                                         Before you speak >>Listen
                                                                                          Before you write »Think
                                                                                          Before you spend »Earn
                                                                                        Before you pray >>Forgive
                                                                                             Before you hurt »Feel
                                                                                            Before you hate >>Love
                                                                                               Before you quit >>Try
                                                                                               Before you die »Live

                                                                                                           That's Life ...




00076990.pdf                                                                                                                                                                                                    Ghanem-00072443
                                                                                      Ghanem_Sentencing_00001206
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 181 of 273 Page ID
                                   #:6627

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     -XO\ 5DPL*KDQHP
             WK
             
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   SOLD TO:                                            DELIVERY / CONSIGNEE:
   0DMRUORQG/%&RPSDQ\                               0DMRUORQG/%&RPSDQ\
   'XEDL±8$(                                        'XEDL±8$(
   'DWH-XO\WK
   ,WHP                'HVFULSWLRQVRI*RRGV         4XDQWLW\ 8QLW3ULFH       7RWDO$PRXQW

                 6SDUH3DUWVIRUWKH$LU                                              
                $PEXODQFH0LDVSHUWRRXU                                      
                 DWWDFKHGOLVWRILWHPVDQG                                           
                                                 $VSHU          $VSHUWR      
       
                  4XDQWLWLHV                     WRRXU           RXUOLVW            
                                                      OLVW                              
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                                                       7RWDO«««««««

                                                       1LQH+XQGUHG 6HYHQW\7ZR
                                                       7KRXVDQGV 6L[+XQGUHGV86'



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  00076991                                                                      Ghanem-00072443

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 182 of 273 Page ID
                                   #:6628




  1R         3DUW'HVFULSWLRQ                                          QTY
   1.                         TV3-117V engine                              1
   2.                       NR-3V fuel regulator                           1
   3.                             APU AI-9V                                1
   4.                              ERD-3V                                  1
   5.                 Flexible oil pipe 242-6200-25                        2
   6.               Spare parts set for main rotor hub                     1
   7.                Spare parts set for tail rotor hub                    1
   8.                  Rubber brush for windscreen                         6
   9.             Device for lifting engine 246-9908-00                    1
   10.               Cart for transportation 140-9802                      1
   11.                transportable hydraulic plant                        1
   12.          Hydraulic ram 24-9907-00 and 8AT-9907                      2
   13.        Device for mounting wheel tire 60-9903-00                   1
   14.        Sling for lifting main rotor blade 24-9903-00               1
   15.                      Device 8AT-9937-00                             1
   16.                     Device 246-9900 3080                           15
   17.                  Device 776AT-24-9953 420                           1
   18.                    Flexible pipe 8AT-9918                           1
   19.                  Flexible pipe 246-9981-00                          1
   20.                    grease gun 246-9104-00                           1
   21.                       tools 8AT-9100-00                             4
   22.                       Tools 8AT-9105-00                             1
   23.                         Case 8AT-9101                               1
   24.                   Special tools 24-9102-00                          1
   25.                        Tool 8AT-9114-00                             1
   26.                       tool 242-9100-700                             1
   27.                       Tool 242-9101-700                             1
   28.                   Step ladder 242-9917-00                           1
   29.                        Cart 8AT-9803-00                             1
   30.                      Cover 242-9113-00-3                            3
   31.                     Cover 246-9113-3010                             3
   32.           Fire-extinguisher UBSH-1-4-4 (charged)                    2
   33.                 Exhaust pipe TV3-117 (right)                        2
   34.                    Radio altimeter RV-5 set                         1
   35.                  Radio altimeter RV-5M set                          1
  00076991                                                      Ghanem-00072443

                           Ghanem_Sentencing_00001208
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 183 of 273 Page ID
                                   #:6629


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      ,QYHVW%DQN6KPHVVDQL%UDQFK
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        Mob.: +962 777100 577 - +962 777 333 390
                                             P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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  00076991                                                                        Ghanem-00072443

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 184 of 273 Page ID
                                   #:6630

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               5DPL*KDQHP       

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   SOLD TO:                                          DELIVERY / CONSIGNEE:
   0DMRUORQG/3&RPSDQ\                             0DMRUORQG/3&RPSDQ\
   'XEDL8$(                                      'XEDL8$(
   'DWH-XO\WK
   ,WHP              'HVFULSWLRQVRI*RRGV         4XDQWLW\ 8QLW3ULFH       7RWDO$PRXQW

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             VSHHGDXWRPDWLFWUDQVPLVVLRQ                                      
             $LUEDJVVSOLWEHQFKFORWKVHDW                     
             6LQJOH±=RQHDXWRPDWLFFOLPDWH                                       
             FUXLVHFRQWURO%OXHWRRWKIRUSKRQH                                     
              ´DOXPLQXPZKHHOV ¶ZKHHOVIRU                                   
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              $0)0VWHUHR86%$8;6'FDUG                                      
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              3RZHUZLQGRZVDQGGRRUORFN          7RWDO«««««««
              5HDUYLHZPLUURU
                                                    1LQH+XQGUHG 6HYHQW\7ZR
                                                     7KRXVDQGV 6L[+XQGUHGV 7KLUW\
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  00076994                                                                    Ghanem-00072443

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 185 of 273 Page ID
                                   #:6631


                                        GataWMENA                                           


                                        WWWMAl1¥W'i41Ui4' ! Y



      %DQN'HWDLOV
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      ,QYHVW%DQN6KPHVVDQL%UDQFK
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      32%R[
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      &RPSDQ\1DPH*DWHZD\WR0(1$IRU
      /RJLVWLFV6HUYLFHV
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        Mob.: +962 777100 577 - +962 777 333 390
                                             P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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  00076994                                                                        Ghanem-00072443

                                      Ghanem_Sentencing_00001211
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 186 of 273 Page ID
                                   #:6632




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            831

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001212
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 187 of 273 Page ID
                                          #:6633
   From :         Salam <faknm l@gmail.com>
   Sent:          Monday , August 3, 2015 l:l l PM
   To:            = .;>11 <aldaboubim@gmail.com>; Rami Ghanem <ramithc@ gmail.com>
   Subject:       Fwd: 972,630 $




   Sent from my iPhone

   Begin forwarded message:

        From: Mohamed Zoghbia <mohamed.zoghbia@gmail.com>
        Date: August 3, 2015 at 6:30: 18 PY! GMT+2
        To: Maher fiture <nunf.fl l 7<algpiail.com>, Faknml(a)gmail.com
        Subject: 972,630 S




              ------------------- Instance Type and Transmission ------------
                  Notification (Transm ission) of Original sent to SWIFT (A CK)
                  Network Delivery Status : Network Ack
                 Priority/Delivery        : Nonna 1
                  Message Input Reference : 1541 J50803CBBRLV22AXXX0866805512
                ------------------------- Message Header ----------------------
                  Swift Input              : FIN J03.STP Single Customer Credt Transfer
                  Sender : CBBRL V22XX.X
                          BALTIKUMS BANK AS
                          R1GA LV
                  Receiver: BKTRUS33XXX
                          DEUTSCI-JE BANK TRUST COMPANY AMERICAS
                         NEW YOH.K,NY US
                ---·------·---·----·-·-·· Message Text-·--·-·-----·-···········-
                  20: Sender's Reference
                   201508032350095
                 23B: Bank Operation Code
                   CRED
                  32A: Val Dte/Curr/Interbnk Settld Amt
                    Date       : 05 A UGUST 2015
                    C urrency     : USO (US DOLLAR)
                    Amount                   #972630,#
                  338: Currency/Instructed A.mo1mt
                    Currency      • USO (US DOLLAR)
                    Amount                   #972630,#
                  50K: Ordering Customer-Na.me & Address
                     /LV72CBRR112332Cc000010
                     MAJORLOND LP
                     4 FULLARTON STREET - SUITE 6093
                    A Yll, SCOfLANL),U8
                  57A: Account WiLI , Institution· Fl BIC
                    JfFBJOAMXXX
                    I::,.JVEST BANK SHMESSANI BRANCH
                    JORDAN
                  59: Beneficial)' Customer-Name & Addr
                     /0013300002166222 000 1
                     GATEWAY TO MENA FOR LOGISTICS
                     SERVICES
                    AMMAN
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                    PAYMENT FOR BUILDING MATERIAL

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 188 of 273 Page ID
                                   #:6634




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT       832

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001214
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 189 of 273 Page ID
                                            #:6635
   From:                          Ra.mi Ghanem <ramithe@gmaiJ.com>
   Sent:                          Wednesday, August 5, 20 15 6:00 PM
   To:                            mdaboubi@hotmai I.com
   Subject:                       New Invoice #00 L18 for MAJORLOND LP company
   Attach:                        MAJORLOND LP Invoice 001 18.pdf



   Please see attached file the required invoice for                                                          MAJORLOND LP company.

   Regards




   6"611BRIH                    u        .lIENA- /GnI/
   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe(@gmail.com or ramj.@\:aravam1me.com
   US Telephone: 772 675-4363                         Skype Address: caravaname

    The informati:>n coiUiintd In thl!S mesH,e l:s fo·the htenced addressee on¥ and maycontiin corifidentiil ard/or >rlvilteed ilformetion. If you are tot the intended 1ddrt$$et, this ress1ie wilhetf Ce$tru:t so notrfythe sender. do
    not copy or dittribute this mesta~ ordlsc.ote Its content-s ~o an~one. ,\nyv1ews or opinions expressed I• this MH~S• art tho,e of the a u:hor tnd do not 11eeeaarlty ,epretent Uiose d CMEorof any of fie as:socbted companlH. No
    ,etiante T1ay be. placed or this 'MS$1lf' without written co1f1rmation from an autltorlztd ,ep,uentatlve.of the <ompany.




                                   Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                       Before you speak >>Listen
                                                                                        Before you write »Think
                                                                                        Before you spend »Earn
                                                                                       Before you pray »Forgive
                                                                                         Before you hurt »Feel
                                                                                        Before you hate >>Love
                                                                                         Before you quit >>Try
                                                                                         Before you die »Live

                                                                                                        That's Life .. .




00076953.pdf                                                                                                                                                                                            Ghanem-00072443
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 190 of 273 Page ID
                                   #:6636

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    SOLD TO:                                              DELIVERY / CONSIGNEE:
    0$-25/21'/3                                          0$-25/21'/3&RPSDQ\
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              6XSSO\RIFRQVWUXFWLRQPDWHULDOV                                          
             IRUDFRPSOHWH6FDIIROGLQJ                                               
              0DWHULDOV\VWHP                                                            
              3OHDVHVHHELOORITXDQWLWLHVDQGXQLW   $VSHU     $VSHUWR      
              SULFHVDVEHORZ                           WRRXU      RXUOLVW            
                                                        OLVW                              
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           Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 191 of 273 Page ID
                                              #:6637




INVOICE # 00118 :FOR                THE   SUPPLY OF SCAFFOLDING MATERIAL

item no.                            Description                        QTY         Unit Price              Total price
            Scaffold Pipes, welded, The outside diameter is 48.3 mm
            and the wall thickness is 4.0 mm, the pipes shall be hot
            dip galvanized and then marine epoxy coating for
            offshore applications with the following sizes:


  1         Scaffold Pipes 6 m (Length)                                6675    $          29.42    $         196,389.7
  2         5000mm (Length)                                            1800    $          24.25    $          43,655.4
  3         4000mm (Length)                                            3029    $          19.42    $          58,828.2
  4         3500mm (Length)                                            1135    $          16.99    $          19,281.3
  5         3000mm (Length)                                            3736    $          14.55    $          54,374.5
  6         2500mm (Length)                                            4201    $          12.13    $          50,968.7
  7         2000mm (Length)                                            2350    $           9.70    $          22,792.1
  8         1500mm (Length)                                            3748    $           7.27    $          27,229.4
  9         1200mm (Length)                                            1556    $           5.82    $           9,054.8
  10        1000mm (Length)                                            1475    $           4.86    $           7,161.7
  11        300mm (Length)                                             1045    $           1.45    $           1,510.8

            Scaffold Fireproof Boards with the following sizes:
  12        %RDUGP                                                 10137   $          18.82    $         190,771.0
  13        %RDUGP                                                 1648    $          14.37    $          23,687.5
  14        %RDUGP                                                 1480    $           9.88    $          14,621.6
  15        %RDUGP                                                 2360    $           7.69    $          18,140.7
  16        %RDUGP                                                800    $           5.48    $           4,385.5
            

            Scaffold Fittings
  17        'RXEOHFRXSOHUV                                           17790   $           2.43        $      43,296.1
  18        %HDPFODPSV                                               19362   $           3.86        $      74,648.6
  19        6ZLYHOFRXSOHU                                            5731    $           2.81        $      16,088.2
  20        3XWORJFRXSOHUV                                          17940   $           1.51        $      27,018.0
  21        %RDUGFODPSV                                              14220   $           1.51        $      21,415.6
  22        MRLQW6OHHYHV                                            3772    $           2.14        $       8,089.3
  23        %DVHSODWHV                                               1300    $           1.06        $       1,378.3
  24        $OOXPLQLXP/DGGHUP                                     150    $          43.25        $       6,487.9
  25        $OOXPLQLXPODGGHUP                                       150    $          58.53        $       8,779.5
  26        $OOXPLQLXPODGGHUP                                       150    $          87.98        $      13,197.0
  27        6WHHO/DGGHUEHDPP                                       60     $          41.30        $       2,478.0
            6WHHO/DGGHUEHDPP
  28                                                                    60     $         115.00        $       6,900.0
             00076954                                                                Ghanem-00072443

                                                Ghanem_Sentencing_00001217
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 192 of 273 Page ID
                                   #:6638


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        Mob.: +962 777100 577 - +962 777 333 390
                                             P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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  00076954                                                                        Ghanem-00072443

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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 193 of 273 Page ID
                                   #:6639




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            833

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001219
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 194 of 273 Page ID
                                            #:6640

   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Wednesday, October 29, 2014 6 :03 AM
   To:                            Abdul Salam <fakrun l @gmail. com>
   Cc:                            Mohd <aldaboubim@gmail.com>
   Subject:                       New Invoice
   Attach:                        Abdusalam Invoice.pdf



   Dear Sir,

   You are kindly requested to settle the amount as per to our attached invoice.

   We will have the shipment ready as soon as we receive the funds.

   Thanks & Regards


   lllllld ti.lNmeJII
   Gateway to MENA
   Behind ABC Bank AI-Shmeisani
   Abdul Al-Rahim Al- Waked St. - Sluneisani. Bldg. No. 42
   P.O. Box 830589
   Anunan-11183 Jordan
   Tel: 962 6 5685624 Ext.104
   Fax: 962 6 5685625 Mobile: 962 787 321 000
   ramithe~gmail.com or rami@.al1ghancm.corn
   US Tele phone: 772 675-4363                         S1.-ype Address: -~~.!'.l!.Y.~.mlm.~

    The i.nformatfon contained ii thi.s mesMge is for the intended addressee only and mey contain confident WII and/ or privileged iftformatlon. If you are not the Intended ac.dressee, this messate wll self destruct so
    notifv the sender. do not copy or distribute this messaie or disclose lh contents to anvone. Any views o r opinions exoressed In this meSSiee are those of the cuthor and do not necessarily represent t~ose of CME or
    of anv cf its associated :ompanies. No reliarce may be placed on this messige withoLit wri:ten confirmation from an auth,rized represertatlve of the company.




                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                              Before you speak »Listen
                                                                              Before you write »Think
                                                                               Before you spend »Earn
                                                                              Before you pray »Forgive
                                                                                Before you hurt »Feel
                                                                               Before you hate »Love
                                                                                Before you quit »Try
                                                                                Before you die »Live



00099238.pdf                                                                                                                                                                              Ghanem 00000241
                                                                              Ghanem_Sentencing_00001220
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 195 of 273 Page ID
                                   #:6641


                                That's Life...




                                                                  Ghanem 00000241
                         Ghanem_Sentencing_00001221
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 196 of 273 Page ID
                                   #:6642

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   SOLDTO:                                            DELIVERY/CONSIGNEE:
   .D\DQ,QWHUQDWLRQDO&RPSDQ\
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               &RQGLWLRQLQJ&ORFN&UXLVH&RQWURO                                        
               7DFKRPHWHU7HOHVFRSLQJ6WHHULQJ                                           
               :KHHO7LOW6WHHULQJ:KHHO3RZHU
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               :LQGRZV6DIHW\)HDWXUHV$QWL/RFN        )LYH+XQGUHGV7KRXVDQGV86'
               %UDNHV,QWHUPLWWHQW:LSHUV,QWHULRU
               &ORWK6HDWV$XGLR9LGHR)DFWRU\
               6\VWHP$0)0&'3OD\HU
               $GGLWLRQDO)HDWXUHV&XS+ROGHUV
               1LJKW9LVLRQ6OLGLQJ5HDU:LQGRZ
               %HGOLQHU&KLOG3URRI'RRU/RFNV
               9DQLW\0LUURUV)URQW5HDGLQJ/LJKWV
               )URQW:KHHO,QGHSHQGHQW6XVSHQVLRQ
               3DVVHQJHU6HDWLQJ%XFNHW6HDWV
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 197 of 273 Page ID
                                   #:6643


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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                                     Ghanem_Sentencing_00001223
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 198 of 273 Page ID
                                   #:6644




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            834

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001224
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 199 of 273 Page ID
                                            #:6645

   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Wednesday, October 29, 2014 10:39 AM
   To:                            Ahmad Qardan <Ahmad.Qardan@investbank.jo>
   Subject:                       FW: New Invoice
   Attach:                        Abdusalam [nvoice.pdf



   FY1

   The money will be transferred to the account within 2 days.

   Regards




   ramithe(a;gmail.com or                            rami@caravaname.com
   US Telephone: 772 675-4363                         S1.-ype Address: !;.~tl!Y.~~?.:fil~

    The information <ontalned In this mes.ice Is for the iotended addressee only and m;y <ontaln <onfident~l ano/or prlvile:ed Information. If you are not the Intended acdressee, this messa.e wll self destruct so
    nottfy tlle sender; do not copy o r dtstrlbute this messa,e ordlsclose It$ contents to anyone. Anyv!em o r c:plnlons expressed In this memge a1e these of the cuthor and do not necessarlly represent ttose of CME o r
    of any cf its tssociattd :ompanles. No rellarce m~v be plactd on this m~ce without wrr.ten confir'1'1ation frcm an authortzed rep·esetutlve of the company.




                          Life is short .. So love your life .. Be happy .. And Keep smiling.. and


                                                                              Before you speak >>Listen
                                                                              Before you write >>Think
                                                                               Before you spend »Earn
                                                                              Before you pray »Forgive
                                                                                Before you hurt »Feel
                                                                               Before you hate » Love
                                                                                Before you quit »Try
                                                                                Before you die »Live

                                                                                                That's Life ...




   From: Rami Ghanem [rna ilto:ramithe@gmail.com]




00099212.pdf                                                                                                                                                                               Ghanem 00000241
                                                                              Ghanem_Sentencing_00001225
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 200 of 273 Page ID
                                         #:6646
Se nt: Wednesday, October 29, 2014 3:03 PM
To: 'Abdul Salam'
Cc: Mohd
Subject: New Invoice

Dear Sir,

You are kindly requested to settle the amount as per to our attached invoice.

We will have the shipment ready as soon as we receive the funds.

Thanks & Regards


lllllld G.1Nm8111
Gateway to MENA
Be hi nd ABC Bank. AI-Shmeisani
Abdul Al-Rahim Al- Waked St. - SJ.uneisani. Bldg. No. 42
P.O. Box 830589
Amman-11183 Jordan
Tel: 962 6 5685624 Ex:t.104
Fax: 962 6 5685625 Mobile: 962 787 321 000
ramithe@gmail.com .. or rami(@aUghanem.com
US Telephone: 772 675-4363 Sl.')'pe Address: caravaname

 The Information <ontalned in this mess.ace is for the Intended addrusee only and miy contain confident tiI and/or prlvde,ied Information. If you are not the Intended aedresSf!e, this mes$ate wll self destruct so
 notify the sender; do not copy or distnt>ute this meS$a&,e ordl$Close 1h contents to anyone. Anyv1ew5 or cpm1ons expressed m th1s me5$i&e are those of the cuthor and do not neces.sanly represent ttose of CME or
 of any cf Its associated :ompanies. No reliarce mttv be placed on this mes~ge without wri':ten confirmation frcm an auth,rized represertative of the company.




                      life is short .. So love your life .. Be happy .. And Keep smiling.. and


                                                                          Before you speak »li sten
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                                                                             Before you die »live

                                                                                           That's life...




                                                                                                                                                                                     Ghanem 0000024 1
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 201 of 273 Page ID
                                   #:6647




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                         Ghanem_Sentencing_00001227
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 202 of 273 Page ID
                                   #:6648

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                                   Ghanem_Sentencing_00001228
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 203 of 273 Page ID
                                   #:6649


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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                                     Ghanem_Sentencing_00001229
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 204 of 273 Page ID
                                   #:6650




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            835

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001230
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 205 of 273 Page ID
                                            #:6651

   From:                          Ahmad Qardan <Ahmad. Qardan@investbank.jo>
   Sent:                          Thursday, October 30, 2014 4:22 AM
   To:                            Rami Ghanem < ramithe@gmail.com>
   Subject:                       RE: New Invoice



   Dear Rami,

   The transfer just arrived, 499,974.00 USO.

   Regards

   Ahmad


   From: Rami Ghanem [mailto:ramithe@gmail.com]
   Sent: Wednesday, October 29, 2014 8:39 PM
   To: Ahmad Qardan
   Subject: FW: New Invoice

   FYI

   The money will be transferred to the account within 2 days.

   Regards




   ramithe@gmail.com or rcuni@caravanarne.com
   US Telephone: 772 675-4363                          S1...ype Address: caraYaname

    The lriformallon contained In this meswce Is for the tntended a~dressee only and mcv coritafn contldentt.fl ant/or prlvUeied Information. rt you art not the Intended acdressee, chts messa,e wll self des-eruct so
    notify the sender; do not copy or distribute this messa:e or disclose Its contents to anyone. Any views or cptnlons el<pressed in this mess.age are those of the author and do not nece~sarlly repre:stnt ttose of CME or
    of any cf Its 9ssoeiattd :ompanies. No reliarce miy be pla,ed on chi$ m~ce without wrkt en ,onfirmation frc,m an auth:,rb:ed rep·e$erotlvt of the company,




                          Life is short .. So love your life .. Be happy .. And Keep smiling.. and


                                                                               Before you speak »List en
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                                                                                Bef ore you spend »Earn
                                                                               Before you pray »Forgive
                                                                                 Before you hurt »Feel
                                                                                 Before you hate »Love


00099165.pdf                                                                                                                                                                                 Ghanem 00000241
                                                                               Ghanem_Sentencing_00001231
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 206 of 273 Page ID
                                         #:6652

                                                                                   Before you quit »Try
                                                                                   Before you die »Live

                                                                                              That's Life ...




From: Rami Ghanem [mailto:ramithe@gmail.com]
Sent: Wednesday, October 29, 2014 3:03 PM
To: 'Abdul Salam'
Cc: Mohd
Subject: New Invoice

Dear Sir,

You are kindly requested to settle the amount as per to our attached invoice.

We will have the shipment ready as soon as we receive the funds.

Thanks & Regards


.lllllld tiMDMIII
Gateway to MENA
Behind ABC Bank. AI-Shmeisani
Abdul Al-Rahim AJ- Waked St. - Shmeisani. Bldg. No. ,12
P.O. Box 830589
Amman-11183 Jordan
Tel: 962 6 5685624 fa::t.104
Fax: 962 6 5685625 Mobile: 962 787 32 l 000
ramithe@gmail.com .. or rami@,,a1Jghanem.com
US Telephone: 772 675-4363                           Sl')'pe Address: caravaname

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 nocrry the sender; do not copy or distribute this message o r disclose 1t1, contents to anyone. Any views or cp1n1ons expressed In this mes.sage aie those: of the wthor and do not necessarily repre:~nt ttose or CME or
 of any cf Its associ.lt~ :ompantes. No reliarce may be placed on this mesuge without wrkten confirmation frcm an authorized rep·eserutlve of the company.




                       Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                            Before you speak »Listen
                                                                            Before you write »Think
                                                                             Before you spend >>Earn
                                                                            Before you pray »Forgive



                                                                                                                                                                                          Ghanem 00000241
                                                                            Ghanem_Sentencing_00001232
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 207 of 273 Page ID
                                   #:6653

                           Before you hurt »Feel
                           Before you hate »Love
                            Before you quit »Try
                            Before you die »Live

                                That's Life ...




                                                                  Ghanem_00000241
                         Ghanem_Sentencing_00001233
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 208 of 273 Page ID
                                   #:6654




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        836

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001234
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 209 of 273 Page ID
                                            #:6655
   From:                          Rami Ghanem <ramithe@gmai l. com>
   Sent:                          Sunday, April 5, 2015 8:01 AM
   To:                            Fakroun <fak runl @gmail.com>
   Cc:                            Mohd <aldaboubim@gmail com>
   Subject:                       lmoices
   Attach:                        Doroob lnvoice 51.pdf.pdf; Doroob lnvoice 55.pdf.pdf: Doroob lnvoice 58.pdf.pdf



   Please see the 3 requested invoices for the amount of 169,000.00

   Regards




   tioNNll/f ~- ~ . [OPE/
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   lternational #: +37282432246
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@2gmail.com or                             ram i (a)ca ravanam e com
   US Telephone: 772 675-4363                          Skype Add ress: caravaname

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    do not copy o· 01su1bvte um me$$1&e ord1sc1ose tts content$ to anyone. Any v1e.w, o· opuvons txpresseo 1n thts mess1ee are U10it Of 1he Hthor 1nd oo not ne,cusartt)' representtnose or CME: orot an, of i ts uscc11tet
    companies. No reliance may be plactd on this message: without written confirrnatfon from itn authoriztd re:prest,tatlve of the col'lpany.




                                 Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                     Before you speak »Listen
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                                                                                     Before you pray >>Forgive
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                                                                                       Before you hate »Love
                                                                                        Before you quit »Try
                                                                                        Before you die »Live

                                                                                                        That's Life ...




00084761.pdf                                                                                                                                                                                            Ghanem 00000241
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 210 of 273 Page ID
                                   #:6656

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                   5HDU*ODVV6OLGH
                   7RZLQJ+RRN)URQW&ORVHG 5HDU3LQWOH
                   +DORJHQ+HDGODPSV
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     00084762                                                                   Ghanem_00000241

                                    Ghanem_Sentencing_00001236
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 211 of 273 Page ID
                                   #:6657


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00084762                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001237
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 212 of 273 Page ID
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   SOLDTO:                                              DELIVERY/CONSIGNEE:
   $ONDZDIHO&RPSDQ\IRU&DU7UDGLQJ
                                                          $ONDZDIHO&RPSDQ\IRU&DU7UDGLQJ
   0LVXUDWD/LE\D                                         0LVXUDWD/LE\D           


   ,WHP                'HVFULSWLRQVRI*RRGV             4XDQWLW\ 8QLW3ULFH       7RWDO$PRXQW

         7R\RWD Land Cruiser Pickup S-                                              
        Cab DLX Top                                                                      
           3RZHU:LQGRZV                                                                  
           &HQWUDO/RFNLQJ%OXHWRRWK.LW                            
            +LJK*UDGH6SHHGRPHWHU
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                   :RRG*UDLQ,QVWUXPHQW3DQHO                                              
                   0DQXDO$LU&RQGLWLRQLQJ                                                  
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                   3RZHU6WHHULQJ
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                   5HDU'LIIHUHQWLDO/RFN)HQGHU)ODUHV  7KRXVDQGV 7ZR+XQGUHGV86'
                   :LUHOHVV'RRU/RFN
                   'D\WLPH5XQQLQJ/LJKWV 
                   'RRU0LUURUV&KURPH3ODWHG 3RZHUHG
                   %DFN2XWVLGH%X]]HU
                   )URQW)RJ/DPSV6LGH6WULSHV 
                   &KURPH3ODWHG$LU9HQWV 
                   5HDU%XPSHU&KURPH3ODWHG
                   6SDUH:KHHO&DUULHUZLWK/RFN
                   5HDU*ODVV6OLGH
                   7RZLQJ+RRN)URQW&ORVHG 5HDU3LQWOH
                   +DORJHQ+HDGODPSV
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 213 of 273 Page ID
                                   #:6659


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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00084764                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001239
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 214 of 273 Page ID
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   SOLDTO:                                              DELIVERY/CONSIGNEE:
   $ONDZDIHO&RPSDQ\IRU&DU7UDGLQJ
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   0LVXUDWD/LE\D                                         0LVXUDWD/LE\D           


   ,WHP                'HVFULSWLRQVRI*RRGV             4XDQWLW\ 8QLW3ULFH       7RWDO$PRXQW

         7R\RWD Land Cruiser Pickup S-                                              
        Cab DLX Top                                                                      
           3RZHU:LQGRZV                                                                  
           &HQWUDO/RFNLQJ%OXHWRRWK.LW                             
            +LJK*UDGH6SHHGRPHWHU
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                   :RRG*UDLQ,QVWUXPHQW3DQHO                                              
                   0DQXDO$LU&RQGLWLRQLQJ                                                  
                   $XGLR$0)0&'6SHDNHUV                                              
                   3RZHU6WHHULQJ
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                   5HDU'LIIHUHQWLDO/RFN)HQGHU)ODUHV  )RXU+XQGUHGV86'
                   :LUHOHVV'RRU/RFN
                   'D\WLPH5XQQLQJ/LJKWV 
                   'RRU0LUURUV&KURPH3ODWHG 3RZHUHG
                   %DFN2XWVLGH%X]]HU
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                   6SDUH:KHHO&DUULHUZLWK/RFN
                   5HDU*ODVV6OLGH
                   7RZLQJ+RRN)URQW&ORVHG 5HDU3LQWOH
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     00084766                                                                   Ghanem_00000241

                                    Ghanem_Sentencing_00001240
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 215 of 273 Page ID
                                   #:6661


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     /RJLVWLFV6HUYLFHV
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       Mob.: +962 777100 577 - +962 777 333 390
                                            P.O Box 830589 Amman 11183 Email: aldaboubim@gmail.com

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       00084766                                                              Ghanem_00000241

                                     Ghanem_Sentencing_00001241
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 216 of 273 Page ID
                                   #:6662




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            837

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001242
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 217 of 273 Page ID
                                         #:6663

   From:          Gerton Business <gerton.businessllp@gmail.com>
   Sent:          Thursday, March 26, 2015 6:44 AM
   To:            Rami Ghanem < ramithe@gmail.com>
   Subject:       Invoice 1
   Attach:        Invice 11.doc



   111900$ - salary t for MI-24




00085827.pdf                                                            Ghanem 00000241
                                      Ghanem_Sentencing_00001243
             Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 218 of 273 Page ID
                                                #:6664
         TASKO MANAGEMENT LTD

         Address: Suite 102, Ground Floor, Blake Building, Corner Eyre & Hu tson Streets, Belize City, Belize




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                                                                   INVOICE # 38
 Data: March 2s1h, 201s



 Gateway to MENA for logistic Services
 Address: 43 Abdul Hamid Sharaf St. P.O. Box 950601 Amman 11195 Jordan

Description                                                 Q-ty          Prise                       Amount
Payment for building materials and transport services   1           111900                  11 1900
ace cmtr11/15 dd 02.02.15




Total:                                                                                            111900 USO

   TASKO MANAGEMENT LTD

    Reg No: 114,298




    LV91LAPB0000056056 113

    Bank: AS LATVIJAS PASTA BANKA                              ~
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    Bank's address: : Brivibas str. 54, Riga, LV-1011, Latvia

    SWIFT: LAPBLV2X




 00085828.pdf                                                                                                                    Ghanem 00000241
                                                        Ghanem_Sentencing_00001244
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 219 of 273 Page ID
                                   #:6665




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            838

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001245
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 220 of 273 Page ID
                                         #:6666

   From:          Gerton Business <gerton.businessllp@gmail.com>
   Sent:          Thursday, March 26, 2015 6:45 AM
   To:            Rami Ghanem < ramithe@gmail.com>
   Subject:       Invoice 3
   Attach:        INVOICE 25.doc



   25000$ - pocket money mi-24 for 3 months




00085823.pdf                                                            Ghanem 00000241
                                      Ghanem_Sentencing_00001246
 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 221 of 273 Page ID
                                    #:6667




                                                            INVOICE # 40
       Data: March 26th, 2015



       Gateway to MENA for logistic Services
       Address: 43 Abdul Hamid Sharaf St. P.O. Box 950601 Amman 11195 Jordan

  Description                                             Q-ty         Prise            Amount
  Payment for building materials acc contr11/15 dd    1          25000          25000
  02.02.15




  Total:                                                                                25000 USD

           TASKO MANAGEMENT LTD

           Reg No: 114,298

           Address: Suite 102, Ground Floor, Blake Building, Corner Eyre &Hutson Streets,Belize City,Belize

           LV91LAPB0000056056113

           Bank: AS LATVIJAS PASTA BANKA

           Bank's address: : Brivibas str. 54, Riga, LV-1011, Latvia

           SWIFT: LAPBLV2X




00085824                                                                                             Ghanem_00000241
                                                Ghanem_Sentencing_00001247
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 222 of 273 Page ID
                                   #:6668




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            839

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001248
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 223 of 273 Page ID
                                         #:6669

   From:          Gerton Business <gerton.businessllp@gmail.com>
   Sent:          Thursday, Aptil 9, 2015 2:10 AM
   To:            Rami Ghanem < ramithe@gmail.com>
   Subject:       Invoice
   Attach:        Invoice 25 25.03 .pdf; lnvoicel 1 08.04.pdf; invoice 11 25.03 .pdf



   1. invoice pocket money for 3 month
   2.salary for 111-24 - april
   3. salary for MI-24 - may




00084605.pdf                                                                           Ghanem 00000241
                                         Ghanem_Sentencing_00001249
 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 224 of 273 Page ID
                                    #:6670




             TASKOMANAGEMENTLTD

             Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize

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                                                                         INVOICE#37
     Data:March25th,2015

                     

     GatewaytoMENAforlogisticServices
     Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan

    Description                                                   Q-ty           Prise           Amount
    Concretemixer                                            1           1225           1225
    Constructionmixer                                        2           12146          24292




    Total:     Payment for building materials/equipment acc contr11/15 dd 02.02.15               25517 USD


        TASKOMANAGEMENTLTD

        RegNo:114,298

        Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize

        LV91LAPB0000056056113

        Bank:ASLATVIJASPASTABANKA

        Bank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia

        SWIFT:LAPBLV2X                      




00084606                                                                                                     Ghanem_00000241
                                                Ghanem_Sentencing_00001250
 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 225 of 273 Page ID
                                    #:6671




             TASKOMANAGEMENTLTD

             Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize

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                                                                         INVOICE#41
     Data:April08th,2015

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     GatewaytoMENAforlogisticServices
     Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan

    Description                                                   Q-ty           Prise           Amount
    Bulldozer                                                 1           90500          90500
    Constructionmixer                                        1           12146          12146
    Concretemixer                                            3           1225           3675
    Scaffolding                                               1           5500           5500




    Total:     Payment for building materials/equipment acc contr11/15 dd 02.02.15              111821 USD


        TASKOMANAGEMENTLTD

        RegNo:114,298

        Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize

        LV91LAPB0000056056113

        Bank:ASLATVIJASPASTABANKA

        Bank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia

        SWIFT:LAPBLV2X                      




00084607                                                                                                     Ghanem_00000241
                                                Ghanem_Sentencing_00001251
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 226 of 273 Page ID
                                            #:6672



         TASKOMANAGEMENTLTD

         Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize

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                                                                     INVOICE#38
 Data:March25th,2015

                 

 GatewaytoMENAforlogisticServices
 Address:43AbdulHamidSharafSt.P.O.Box950601Amman11195Jordan

Description                                                   Q-ty           Prise           Amount
Bulldozer                                                 1           90500          90500
Constructionmixer                                        1           12146          12146
Concretemixer                                            3           1225           3675
Scaffolding                                               1           5500           5500




Total:     Payment for building materials/equipment acc contr11/15 dd 02.02.15              111821 USD


    TASKOMANAGEMENTLTD

    RegNo:114,298

    Address:Suite102,GroundFloor,BlakeBuilding,CornerEyre&HutsonStreets,BelizeCity,Belize

    LV91LAPB0000056056113

    Bank:ASLATVIJASPASTABANKA

    Bank'saddress::Brivibasstr.54,Riga,LVͲ1011,Latvia

    SWIFT:LAPBLV2X                      




  00084608                                                                                                      Ghanem_00000241
                                                       Ghanem_Sentencing_00001252
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 227 of 273 Page ID
                                   #:6673




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            840

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001253
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 228 of 273 Page ID
                                         #:6674

   From:       Alexei Alexei <office.hartford@gmail.com>
   Sent:       Wednesday, July 15, 2015 5:00 AM
   To:         Rami Ghanem < ramithe@gmail.com>
   Subject:    invoice L39
   Attach:     Tasko- Gtwl 5.07.pdf




00077508.pdf                                                            Ghanem-00072443
                                   Ghanem_Sentencing_00001254
        Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 229 of 273 Page ID
                                           #:6675




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 230 of 273 Page ID
                                   #:6676




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            841

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001256
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 231 of 273 Page ID
                                         #:6677

   From:           Gerton Business <gerton.businessllp@gmail.com>
   Sent:           Tuesday, April 2 1, 2015 3:33 PM
   To:             Rami Ghanem < ramithe@gmail.com>
   Subject:        Pocket money
   Attach:         Invoice Gateway 3.pdf



   Describtion:
   We paid pocket money for mi24 only for december 2014
   So in invoice are included pocket money for january, february, march and april 2015
   Best regards




00083770.pdf                                                                             Ghanem 00000241
                                         Ghanem_Sentencing_00001257
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 232 of 273 Page ID
                                         #:6678




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          Data: Aptll 2olli, 201S



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              TASKO MANA61:MEN1' lTD




              B<ln~: AS lATVUAS PASTA SANKA



                SWli7T: LAPBLV2X




00083771.pdf                                                                                                                                                                                                            Ghanem 00000241
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 233 of 273 Page ID
                                   #:6679




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        842

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001259
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 234 of 273 Page ID
                                         #:6680

   From:          Gerton Business <gerton.businessllp@gmail.com>
   Sent:          Tuesday, April 21 , 2015 7:54 AN[
   To:            Rami Ghanem < ramithe@gmail.com>
   Subject:       Fwd: MHBOHCbl
   Attach:        Inv Gateway PART I. pdf; Invoice Gateway 3. pdf




   1.1 )Sallary L 39 and pocket money for 3 months
   1.2) Sallary MI 24

   2) Pocket money Ml 24 for 4 months




00083805.pdf                                                            Ghanem 00000241
                                        Ghanem_Sentencing_00001260
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 235 of 273 Page ID
                                         #:6681




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 236 of 273 Page ID
                                   #:6682




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     Data: April 21 tht 101S




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            TASKO MANAGH>11ENT LTD




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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 237 of 273 Page ID
                                         #:6683




                                                                                                                                            INVOICE # 50
          Data: Aptll 2olli, 201S



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              TASKO MANA61:MEN1' lTD




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 238 of 273 Page ID
                                   #:6684




                                             CASE NO.   CR 15-0704 (A)-SJO
                                                   UNITED STATES OF AMERICA
                                              VS.     GHANEM

                                             PLAINTIFF=S EXHIBIT         843

                                             DATE                               IDEN.

                                             DATE                               EVID.

                                             BY
                                                          DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001264
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 239 of 273 Page ID
                                         #:6685

   From:           Gerton Business <gerton.businessllp@gmail.com>
   Sent:           Wednesday, April 22, 2015 2:39 AM
   To:             Rami Ghanem <ramithe@gmail.com>
   Subject:        Fwd: MHBOHCbl
   Attach:         Inv Gateway-Tasko 21.04.pdf; Inv Gateway-Tasko22.04.pdf



   Hi brother
   Invoice N 53 is for L 39
   lnvoice N 54 is for MI 24




00083750.pdf                                                                 Ghanem 00000241
                                       Ghanem_Sentencing_00001265
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 240 of 273 Page ID
                                         #:6686




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                TASKO MANAGEMENT t..TD




                 SWIFT: LAPBlV2X




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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 241 of 273 Page ID
                                         #:6687




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                 TASKO MANAGEMENT LTD




                   SW!FL tA?BI.\OX




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 242 of 273 Page ID
                                   #:6688




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            844

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001268
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 243 of 273 Page ID
                                         #:6689
   F rom:          Mohd <aldaboubim@gmail.com>
   Sen t:          Tuesday, April 28, 2015 10:17 AM
   To:             Rami Ghanem <ramithe@gmail.com>
   Subject:        Fwd: GATEWAY TO MENA FOR LOGISTIC
   Attach:         imageOOl.jpg; Message Text: swift.docx ; Message Text




   Sent from my iPhone    !e
   Begin forwarded message:

        From: Amjad Attiyat <A!J]jad. Attivat((qinvestbank. jo>
        Date: April 28, 2015 al L7 :57:50 GMT+3
        To: "Mohd <aldaboubim@gmail. com> " <aldaboubi1J1@,gmail.c_om>
        Subjecc: Fwd : GATEWAY TO MENA FOR LOGISTJC

        Dear Mohd,

        Please .find the attached upon your request

        Best Regards,
        Amjad

        Sent from my iPhone

        Begin forwarded message:

               From: Alaa Hindi <AJaa.Hindi@investbank.jo>
               Date: April 28, 2015 at 16:03 :44 GMT+3
               To: Amjad Attiyat <Amjad.Attivat(a)investbank.jo>
               S ubject: GATEWA Y TO MENA FOR LOGISTIC

               Amjad
               Attached

               Thanks
               Alaa AL-Hindi
               Assistant Relationship Manager
               Commercial Financial Services




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                                           Ghanem_Sentencing_00001269
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 244 of 273 Page ID
                                        #:6690




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      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 245 of 273 Page ID
                                         #:6691
                                              P.0.8ox950601, Amman, 111 95


                                              Tel: +9626 5001500 Ext. 1213 Fax: +9626 5672652


                                              Mobile: 0798858655


                                              Alaa.hindi!llJinvestbank.jo


               www.investbank.io




00083330.pdf                                                                                    Ghanem 00000241
                                   Ghanem_Sentencing_00001271
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 246 of 273 Page ID
                                         #:6692



           STANDARD CHARTERED BANK
           NEW YORK,NY 10036
           NEWYORK,NY
               us
               UNITED STATES



           20: Sender's Reference
                 001FTOU251160004
               238: Bank Operation Code
                 CRED
               32A: Val Dte/Curr/lnterbnk Settld Amt
                 Date       : 27 April 2015
                    Currency   : USD {US DOLLAR)
                    Amount               #145600,#
           338: Currency/Instructed Amount
             Currency     : USD (US DOLLAR)
             Amount               #145600,#
           SOK: Ordering Customer-Name & Address
                 /J019J I FB0010033000021662220001
                 GATEWAY TO MENA FOR LOGISTIC
             SERVICES
             BLDG.N0.25,ABDOUN
             P.O.BOX 830589 AMMAN 11183 JORDAN
           57A: Account With Institution - Fl BIC
                    LAP BLV2XXXX
                    LATVIJAS PASTA BAN KA

              RIGA LV
           59: Beneficiary Customer-Name & Addr
                 /LV91LAPB0000056056113
                 TASKO MANAGEMENT LTD
                 SUITE 102,GROUND FLOOR,BLAKE
              BUILDING,CORNER EYRE AND HUTSON
             STREETS,BELIZE CITY,BELIZE
           70: Remittance Information
             0806
             PAYMENT FOR BUILDING MATERIALS
             INV.N0.54 DTD 22/4/2015
           71A: Details of Charges
             SHA
           71F: sender's Charges
                    Currency   : USO (US DOLLAR)
                    Amount                 #0,#




00083331.pdf                                                             Ghanem 00000241
                                            Ghanem_Sentencing_00001272
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 247 of 273 Page ID
                                   #:6693




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        845

                                             DATE                                IDEN.

                                             DATE                                EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001273
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 248 of 273 Page ID
                                            #:6694

   From:                            Rami Ghanem <ramithe@gmail.com>
   Sent:                            Sunday, May 3, 2015 6:10 PM
   To:                              Tina cao <scf@hummerwindgenerator.cn>
   Subject:                         RE: Latest price for 5kw wind turbine off grid system




   Dear Tina ,

   Could you please send me an offer for 20 KW with a complete
   specifications w ith delivery to Cairo -Egypt.

   Thanks & regards




   &l&WIIIJ ~- BJ/~.                                                   /B'l'BJ
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   Telephone# 00201127999552
   lternational #: +37282432246
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramlthe@gmall.com or rami@caravaname.com
   US Telephone: 772 675-4363 Skype Address: caravaname

    The information contained in thismessage is for the int ended addressee only and mey contai n confident ill and/or prlvUeged information. tt you are not the Intended acdressee. this messate wll self destruct so
    noti fy tlle sender. do not copy o r distribute this mess.1ge or disclose Its contents t o anyone. Any views o r cpi nions expres.sed in this mess~ge ..ire these of t he author ..ind do not necessarily rep resent t t-ose of CME or
    of any cf its i ssociated :ompanies. No reliarce mily be placed on this mes~ge without wrl:ten confirmation from an authorized rep·esertatlve of the company.




                           Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                    Before you speak »Listen
                                                                                    Before you write »Think
                                                                                     Before you spend »Earn
                                                                                    Before you pray »Forgive
                                                                                      Before you hurt »Feel
                                                                                      Before you hate »Love
                                                                                       Before you quit »Try
                                                                                       Before you die »Live



00082394.pdf                                                                                                                                                                                            Ghanem 00000241
                                                                                   Ghanem_Sentencing_00001274
    Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 249 of 273 Page ID
                                       #:6695


                                                            That's Life ...


From: Tina cao [mailto:scf@hummerwindgenerator.cn]
Sent: Wednesday, May 15, 2013 9:06 AM
To: rami
Subject: Fw:Latest price for Skw wind turbine off grid system


Dear Friend,

Hope you are fine.

Now i'm writing for keeping in touch w ith you for further business.How about your plan fo r wind turbine?

Our hotsales 5kw wind turine latest price information is as follows:

SIN Standard parts                                                      Price (USO)
                                                         Blade
        Generator                                        Generator
1                                                                  US$4,384.00
        System                                           Yaw
                                                         Shaft
        On grid Rectifier/ Dumping
2                                                                       US$521 .00
        Controller
3       Dumping Load                                                    US$408.00
4       Siemens PLC Controller                                          US$800.00
5       Off grid Inverter (Single-phase)                                US$1,340.00
6       Guyed tower(12m)                                                US$1 ,288.00
7       Free Standing Tower(12m)                                        US$2,916.00
        with Guyed Tower                                                US$8,741.00
Total
        with Free Standing Tower                                        US$10,369.00

You can visit our website http://www.scfwindturbine.com/Global-Projects 5/ and see the detailed project.

If there's anything i can do for you,please don't hesitate to contact me.

Best Regards,

Tina Cao
ANHUI HUMMER DYNAMO CO.,LTD
Factory Add:Lujiang County Economic Development Zone, Anhui Province, China
Marketing Center Add: Room 302, No. E2 building, Hua Yi Industrial Park, High and New Technology Industrial Development
Zone ,Hefei,Anhui Province,China
Tel: 0086-551-5314300
Fax:0086-551-3442991
E-mail:sales33@chinahummer.cn
      hummer-63~hotmail.c;gm
MSN: hummer-633@hotmailcom
Skype: hummer-633
Web: www.scfvvindturbine.com
    vv·ww. hummerNindgenerator.en




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 250 of 273 Page ID
                                   #:6696




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT        846

                                             DATE                                IDEN.

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                         Ghanem_Sentencing_00001276
         Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 251 of 273 Page ID
                                            #:6697

   From:              Hummer Tina <windturbinehummer@l 63. com>
   Sent:              Monday, May 4, 2015 5:23 AM
   To:                ramithe <ramithe@gmail.com>
   Subject:           Re:~~: Latest price for 5kw wind turbine off grid system
   Attach:            20KW wind turbine specification.pdf; price of 20kw wind turbine off grid system. pdf



   DearRami,


   Thanks for your email.


   As you require.firstly i attach the FOB price of 20kwwind turbine off grid system.The price don't include battery.
   Do you need off grid or on grid system?
   Because now it's off time.Shipping company is not online.l can't check the sea freigt,Tomorrow i will check the sea
   freight for you.


   Best Regards,


   Tina Cao




   1£   2015-05-04 18:36:18, "Tina cao" <scf@hummerwindgenerator.cn>        ~ ifil:




     '.!iz11FA: Rami Ghanem <ramithe@gmail.com>
     &::i!lftl'aJ : 2015~ 5.FJ 4 B (~JW - ) 09:10
   , ~5C1'fA: tina cao <scf@hurnmerwindgenerator.cn>
   , :± Jl!2 : RE: Latest price for 5kw wind turbine off grid system

        Dear Tina ,




        Could you please send me an offer for 20 KW with a complete
        specifications with delivery to Cairo -Egypt.




00082333.pdf                                                                                          Ghanem 00000241
                                             Ghanem_Sentencing_00001277
  Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 252 of 273 Page ID
                                     #:6698




Thanks & regards




Complex 133, Building 7, Apartment 32


Al Rehab City, Cairo Egypt


Telephone# 00201127999552


lternational # : +37282432246


Jordan Office


Tel: 962 6 5685624
Fax: 962 6 5685625

ramithe@gmail.com_ or rami@caravaname.com
US Telephone: 772 675-4363                         Skype Address: caravaname


 The info·mati:>n contained in this messige is for the intended addressee on y and may contain omf1dentialand/ or pri\llleged intormaion. tf you are not the intended adcressee. this mess.age will self destruct so
 notl y the sender; do not COP\' or d stribute ttis mes~ee or dis.cl~ its contents to anyone. Any ..;e:wsor opinions exp1e$$e:S in this message are those of the cn.thor and co not nCct$$arly represent those of CME
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                     Life is short .. So love your life .. Be happy .. And Keep smiling .. and




                                                                          Before you speak >>Listen
                                                                           Bef ore you write »Think
                                                                            Before you spend »Earn
                                                                         Before you pray »Forgive
                                                                              Before you hurt »Feel



                                                                                                                                                                                    Ghanem 00000241
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    Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 253 of 273 Page ID
                                       #:6699

                                                 Before you hate »Love
                                                   Befo re you quit »Try
                                                   Before you die >>Live



                                                          Th at's Life ...




From: Tina cao [mailto:scf@hummerwind_generator.cn]
Sent: Wednesday, May 15, 2013 9:06 AM

To: rami

Subject : Fw:Lat est price for Skw w ind turbine off grid system




Dear Friend,




Hope you are fine.




Now i'm writing for keeping in touch with you for further business.How about your plan for wind turbine?




Our hotsales 5kw wind turine latest price information is as follows:




$/ N Standard parts                                                    Price (USD)
                                                        Blade
        Generator                                       Generator
1                                                                 US$4,384.00
        System                                          Yaw
                                                        Shaft
        On grid Rectifier/ Dumping
2       Controller
                                                                       US$521.00




                                                                                                           Ghanem 00000241
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    Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 254 of 273 Page ID
                                       #:6700

B       Dumping Load                                                    US$408.00
~       Siemens PLC Controller                                          US$800.00
5       K)ff grid Inverter (Single-phase)                               US$1 ,340.00
p       Guyed tower(12m)                                                US$1 ,288.00
7       Free Standing Tower(12m)                                        US$2,916.00
        With Guyed Tower                                                US$8,741.00
Total
        With Free Standing Tower                                        US$10,369.00




If there's anything i can do for you.please don't hesitate to contact me.




Best Regards,




Tina Cao


ANHUI HU MMER DYNAMO CO.,LTO


Factory Add:Lujiang County Economic Development Zone, Anhui Province, China


Marketing Center Add: Room 302, No. E2 building, Hua Yi Industrial Park, High and New Technology Industrial Development
Zone ,Hefei,Anhui Province.China


Tel: 0086-551-5314300
Fax: 0086-551-3442991
E-mail:sales33@chinahummer.cn


      hummer-633@hotmail.com


MSN: hummer-633@hotmail.com
Skype: hummer-633


Web: www.scfwindturbine.com


     Wlvw.hummerwindgenerator.cn




                                                                                                          Ghanem 00000241
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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 255 of 273 Page ID
                                   #:6701




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 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 256 of 273 Page ID
                                    #:6702




    Model: H9.0-20kW
    Hummer 20kW wind turbine can be applied in both on-grid and off-grid systems. It outputs single-phase or
    three-phase AC and can drive a load below 20kW.


    I. Features:
                             1. SCF Supercritical generator

                             Hummer’s wind generator adopts SCF supercritical technology which won a gold
                             award in the 37th Salon Eureka in Brussels. This technology significantly reduces
                             generator’s weight and size down to 20% to 30% of the traditional one, and the
                             production efficiency is 10% to 30% higher. This ensures that the generator
                             functions perfectly in small wind condition.

                             2. SKF bearings

                             Hummer wind turbine adopts two SKF (Svenska Kullager Fabriken) bearings
                             which are produced by the largest bearing manufacturer in the world, with the
                             perfect internal geometric structure, known for its life-time endurance and reliable
                             quality. Ordinary bearings need to be changed every two or three years, while SKF
                             bearings can greatly reduce the maintenance costs on this matter.

                             3. PLC integrated with Siemens module

                             Hummer wind turbine’s controlling system adopts the smart touch-screen PLC
                             (Programmable Logic Controller) which is integrated with Siemens controlling unit.
                             The PLC will alarm and adjust the abnormal running status of the wind turbine
                             automatically both timely and efficiently. Siemens module offers high reliability to
                             our PLC and its customers worldwide can testify for that.

                             4. Low noise

                             The design of the rotor blade of Hummer wind turbine absorbs the highlights of the
                             small aircraft’s airfoil, which is compliance with the aerodynamic standards. It
                             provides a more aesthetic look and a higher efficiency and reduces the noise
                             production as much as possible.



                             5. Triple braking protection

                             Hummer wind turbine generally adopts the yawing system and the electromagnetic
                             braking system to regulate the rotation of the wind turbine. Besides, customer can
                             order the hydraulic braking system as well as a third protection. It is easy and
                             convenient to shut down the whole system both manually and automatically.



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 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 257 of 273 Page ID
                                    #:6703




     II. Specifications:

           Rated power (W)                    20000
           Maximum output power (W)           28000
           Battery bank voltage (VDC)         240
           Cut-in wind speed (m/s)            3
           Rated wind speed (m/s)             11.5
           Working wind speed (m/s)           3-25
           Survival wind speed (m/s)          50
           Generator efficiency               >0.87
           Wind energy utilizing ratio (Cp)   0.4
           Generator type                     Permanent Magnet Alternator
           Generator weight (kg)              496
           Blade material/quantity            GRP/3
           Blade diameter (m)                 Ф9.0
           Over speed control                 Yaw + Electromagnetic brake / Hydraulic brake (optional)
           Shutting down method               Manual + Automatic




     III. Curve:




                                                        -2-
00082338                                                                                     Ghanem_00000241
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 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 258 of 273 Page ID
                                    #:6704




    IV. Structure and component parts:



    1. Generator Part

    It is composed of the patented SCF generator, the nose cone, and the protection cover. Hummer adopts the
    state-of-the-art SCF supercritical generator, which is installed in the hub, easy to radiate heat and reduce
    wind resistance. It is made of high-efficiency magnetic materials, special copper alloy, high-strength stainless
    steel and aeronautic aluminum alloys, which is extremely light in weight and small in size, but with higher
    power producing efficiency.




    2. Nose Cone & Protection Cover

    Both of them are made of the reinforced aluminum alloy. Nose cone is fixed in front of the rotor blades to
    reduce the wind resistance and radiate the heat produced by the generator. While the protection cover
    between the rotor blades and the nose cone to provide extra protection to the generator.




                                                          -3-
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 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 259 of 273 Page ID
                                    #:6705


  3. SKF Bearings

  Two SKF bearings ensure the reliability the longevity of our generator. Wide temperature ranges: operation in
  the high temperature (150-350ºC). Long life span, reach up to 60000-100000 hours. User may not change
  the bearing during the wind turbine using. It can greatly reduce the maintenance costs.




  4. Flange & Blades

  The flange is made of fine steel, used to fix the blades to the rotor. The blades are made of glass reinforced
  plastic; efficiently turn the wind energy into the mechanical energy. Every set of the three blades has passed
  the strict balance test before the shipping. It is important to fix the blades together which belongs to one set to
  the flange and never mix them up with other blades which belongs to another wind turbine.




                                                         -4-

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 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 260 of 273 Page ID
                                    #:6706




   5. Yaw Shaft

   It is made of fine steel and used to connect the generator and the blades to the tower. Powered with a 24V
   motor and integrated with a gear box, which are able to regulate the direction of the generator.




   6. Dogvane & Anemometer

   They receive the signals of the wind direction and the wind speed.

   The dogvane reads the average value of the wind direction every 120 seconds. If the angle between the
   dogvane and the wind generator axis surpasses 10°, the 24V motor will drive the yaw shaft to turn and follow
   the wind direction automatically.

   The anemometer measures the real-time wind speed. If the wind blows non-stop over 3m/s during 20
   seconds, the automatic wind tracking program will start to make the rotor blades surface face the wind
   correctly; if the wind speed drops below 3m/s, the tracking program will turn to stand-by.




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00082338                                                                                       Ghanem_00000241
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 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 261 of 273 Page ID
                                    #:6707




   7. Off-grid Inverter & On-grid Inverter

   Hummer off-grid inverter adopts SPWM (Sinusoidal Pulse Width Modulation) technology, is able to invert DC
   with higher efficiency into AC with stable frequency and voltage, and filters the noise as well. It is used in the
   off-grid power system.

   Hummer on-grid inverter adopts MPPT (Maximum Power Point Tracking) technology and IGBT (Insulated
   Gate Bipolar Transistor), is able to invert DC with a high power producing capacity and a wider AC voltage
   output range. It connects to the public grid and there is no need for any power storage device.




   8. Siemens Module PLC

   Hummer PLC (Programmable Logic Controller) adopts the Siemens controlling module and is equipped with
   a touch screen. It can alarm and adjust the abnormal running status of the wind turbine automatically.
   Siemens module offers high reliability to our PLC and its customers worldwide can testify for that. It is easy to
   control and operate your wind turbine via our PLC easily and efficiently.




                                                          -6-
00082338                                                                                            Ghanem_00000241
                                        Ghanem_Sentencing_00001287
 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 262 of 273 Page ID
                                    #:6708




   9. Rectifier/Dump Load Controller & Dump Load Box

   The controller controls the process of which the AC produced by wind turbine being rectified into DC and
   eventually charges the battery bank with DC. It also controls the switching on and off of the dump load to
   protect the system against the risk of being overloaded with too much power.

   Metal box design of the dump load radiates the heat of the resistance inside quickly via the air convection. So
   there is no need for an extra fan.




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00082338                                                                                          Ghanem_00000241
                                       Ghanem_Sentencing_00001288
 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 263 of 273 Page ID
                                    #:6709
                                    Anhui Hummer Dynamo Co., Ltd.


           Hummer H9.0-20KW Wind Turbine Off Grid system Quotation


    S/N                           Standard parts                              Price (USD)
                        Blade
           Generator
    1                Generator                                           US$14,454.00
            System
                     Yaw Shaft (with hydraulic braking)
    2      Rectifier / Dumping Controller                                     US$707.00
    3      Dump Load                                                      US$1,039.00
    4      Off grid Inverter(single-phase)                                US$4,945.00
    5      Siemens PLC Controller                                             US$771.00
    6      Free Standing Tower(16m)                                       US$6,210.00
   Total                                                                 US$28,126.00


 Remarks
     1     MOQ: 1 set
     2     Price terms: FOB Shanghai (China)
     3     Payment Terms: 30% deposite in advance & balance before delivery
     4     Delivery Time: 30 working days after receiving deposite
     5     Valid Terms: December 31,2014
     6     All tems above are based on our standard system. Terms may change in case of special requirements.




 Schematic diagram




00082345                                                                                        Ghanem_00000241
                                          Ghanem_Sentencing_00001289
 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 264 of 273 Page ID
                                    #:6710
                       Anhui Hummer Dynamo Co., Ltd.


       Picture




00082345                                                        Ghanem_00000241
                          Ghanem_Sentencing_00001290
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 265 of 273 Page ID
                                   #:6711




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            847

                                             DATE                                 IDEN.

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                                             AO 386




                         Ghanem_Sentencing_00001291
      Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 266 of 273 Page ID
                                         #:6712

   From:       Rami Ghanem < ramithe@gmail.com>
   Sent:       Tuesday, May 5, 2015 7: L7 AM
   To:         gerton.businessllp@gmail .com
   Subject:    Document21
   Attach:     Docu ment21 .docx




00082175.pdf                                                            Ghanem 00000241
                                 Ghanem_Sentencing_00001292
     Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 267 of 273 Page ID
                                        #:6713




       S/N       Standard parts                                        QTY   Price (USD)/U Total prices

           1.    Generator                                 Blade       20    US$ 14,384.00
                 System
                                                           Generator   20                    $ 287,680
           2.    20KW
                                                           Yaw Shaft   20
           3.
           4.    Dumping Load                                          20    US$ 1,009.00    $ 20,180

           5.    Off grid Rectifier / Dumping Controller               20    US $ 687.00     $ 13,740

           6.    Siemens PLC Controller                                20    US$ 800.00      $ 16,000

           7.    Off grid Inverter (Single-phase)                      20    US$ 4,805.00    $ 96,100

           8. 6 Guyed tower(12m)                                       20    US$ 1,288.00    $ 25,760

           9. 7 Free Standing Tower(12m)                               20    US$ 3,435.00    $ 68,700,

           10.   with Guyed Tower                                      20    US$ 5,966.00    $ 119,320

           11.   with Free Standing Tower                              20    US$ 7,594.00    $ 151,880

       Total …………………………………………………….                                                           $ 799,360.00




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Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 268 of 273 Page ID
                                   #:6714




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT       848

                                             DATE                                IDEN.

                                             DATE                                EVID.

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                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001294
       Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 269 of 273 Page ID
                                          #:6715

   From:            Alexei Alexei <office.hartford@gmail.com>
   Sent:            Tuesday, May 5, 2015 3:00 PM
   To:              Rami Ghanem < ramithe@gmail.com>
   Subject:         Fwd: invoice 64.1
   Attach:          Inv-Tasko64.1.doc; Inv-Tasko64 .2.doc; Inv-Tasko64.doc




   hi
   As you wanted
   done for all transfers




00082120.pdf                                                                 Ghanem 00000241
                                         Ghanem_Sentencing_00001295
                 Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 270 of 273 Page ID
                                                    #:6716
        TASKO MANAGEMENT LTD

        Address: Suite 102, Ground Floor, Blake Building, Corner Eyre & Hutson Streets, Belize City, Belize




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                                                                                                                       INVOICE # 64/1
 Data: May 5th, 2015

 Gateway to MENA for logistic Services
 Address: 43 Abdul Hamid SharafSt. P.O. Box 950601 Amman 11195 Jordan


Description                                                                                                        Q-ty                    Prise                       Amount
Generator system 20 KW:
blade                                                                                                         8                      2520 USD                 20160 USD
generator                                                                                                     8                      2850 USD                 22800 USD
Yaw shaft                                                                                                     8                      2800 USD                 22400 USO

Dumping Load                                                                                                  7                      2130 USD                 14910 USD
Off grid Rectifier/ Dumping Controller                                                                        11                     2655 USD                 29205 USD
Siemens PLC Controller                                                                                        9                      5240 USD                 47160 USO
Off Qrid Inverter (SinQle-phase)                                                                              18                     1560 USO                 28080 USO
Guyed tower(12m)                                                                                              14                     3420 USD                 47880 USD
Free Standing Tower(12m)                                                                                      9                      2755 USD                 24795 USO
with Guyed Tower                                                                                             10                      1580 USD                 15800 USD

with Free Standing Tower                                                                                     11                      1710 USD                 18810 USD

Total:  Payment for building materials/equipment ace contr11/15 dd
                                                                                                                                                                  292 000 USO
02.02.15

   Beneficiary name: TASKO MANAGEMENT LTD
   Beneficiary Reg No: 114,298
   Beneficiary's address: Suite 102, Ground Floor, Blake Building, Corner Eyre &Hutson Streets,Belize City,Belize
   Beneficiary's account.· LV91LAPB0000056056113
   Beneficiary's Bank: AS LA TVJJAS PASTA BAN KA
   Beneficiary's Bank's address: : Brivibas str. 54, Rig_a, LV-1011, Latvia
   Beneficiary's bank SWIFT: LAPBLV2X                   \

   Correspondence bank: Bank of Georgia
   Correspondence bank address: Tbilisi, Georgia
   Correspondence account: GE98BG0000000881562400
   Correspondence SWIFT: BAGAGE22




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                                                                                                           Ghanem_Sentencing_00001296
              Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 271 of 273 Page ID
                                                 #:6717
         TASKO MANAGEMENT LTD

         Address: Suite 102, Ground Floor, Blake Building, Corner Eyre & Hutson Streets, Belize City, Belize




                                                           INVOICE # 64/2
 Data: May 5th, 2015

 Gateway to MENA for logistic Services
 Address: 43 Abdul Hamid Sharaf St. P.O. Box 950601 Amman 11195 Jordan


Description                                              Q-ty       Prise              Amount
Generator system 20 KW:
blade                                                8          2520 USD        20160 USD
generator                                            8          2850 USD        22800 USD
Yaw shaft                                            8          2800 USD        22400 USD

Dumping Load                                         13         2130 USD        27690 USD
Off grid Rectifier / Dumping Controller              11         2655 USD        29205 USD
Siemens PLC Controller                               9          5240 USD        47160 USD
Off grid Inverter (Single-phase)                     19         1560 USD        29640 USD
Guyed tower(12m)                                     14         3420 USD        47880 USD
Free Standing Tower(12m)                             9          2755 USD        24795 USD
with Guyed Tower                                    10          1580 USD        15800 USD
with Free Standing Tower                            11          1710 USD        18810 USD

Total:  Payment for building materials/equipment acc contr11/15 dd
                                                                                    306 340 USD
02.02.15

    Beneficiary name: TASKO MANAGEMENT LTD
    Beneficiary Reg No: 114,298
    Beneficiary’s address: Suite 102, Ground Floor, Blake Building, Corner Eyre &Hutson Streets,Belize City,Belize
    Beneficiary’s account: LV91LAPB0000056056113
    Beneficiary’s Bank: AS LATVIJAS PASTA BANKA
    Beneficiary’s Bank's address: : Brivibas str. 54, Riga, LV-1011, Latvia
    Beneficiary’s bank SWIFT: LAPBLV2X

    Correspondence bank: Bank of Georgia
    Correspondence bank address: Tbilisi, Georgia
    Correspondence account: GE98BG0000000881562400
    Correspondence SWIFT: BAGAGE22




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              Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 272 of 273 Page ID
                                                 #:6718
         TASKO MANAGEMENT LTD

         Address: Suite 102, Ground Floor, Blake Building, Corner Eyre & Hutson Streets, Belize City, Belize




                                                                INVOICE # 64
 Data: May 5th, 2015

 Gateway to MENA for logistic Services
 Address: 43 Abdul Hamid Sharaf St. P.O. Box 950601 Amman 11195 Jordan


Description                                              Q-ty        Prise             Amount
Generator system 20 KW:
blade                                                3           2520 USD       7560 USD
generator                                            3           2850 USD       8550 USD
Yaw shaft                                            3           2800 USD       8400 USD

Dumping Load                                         5           2130 USD       10650 USD
Off grid Rectifier / Dumping Controller              8           2655 USD       21240 USD
Siemens PLC Controller                               7           5240 USD       36680 USD
Off grid Inverter (Single-phase)                     18          1560 USD        28080 USD
Guyed tower(12m)                                     6           3420 USD       20520 USD
Free Standing Tower(12m)                             9           2755 USD       24795 USD
with Guyed Tower                                    10           1580 USD       15800 USD
with Free Standing Tower                            11           1710 USD       18810 USD

Total:  Payment for building materials/equipment acc contr11/15 dd
                                                                                    201 085 USD
02.02.15

    Beneficiary name: TASKO MANAGEMENT LTD
    Beneficiary Reg No: 114,298
    Beneficiary’s address: Suite 102, Ground Floor, Blake Building, Corner Eyre &Hutson Streets,Belize City,Belize
    Beneficiary’s account: LV91LAPB0000056056113
    Beneficiary’s Bank: AS LATVIJAS PASTA BANKA
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    Beneficiary’s bank SWIFT: LAPBLV2X

    Correspondence bank: Bank of Georgia
    Correspondence bank address: Tbilisi, Georgia
    Correspondence account: GE98BG0000000881562400
    Correspondence SWIFT: BAGAGE22




  00082123                                                                                                     Ghanem_00000241
                                                   Ghanem_Sentencing_00001298
Case 2:15-cr-00704-SJO Document 431-12 Filed 05/13/19 Page 273 of 273 Page ID
                                   #:6719




                                             CASE NO.     CR 15-0704 (A)-SJO

                                                      UNITED STATES OF AMERICA
                                               VS.       GHANEM

                                             PLAINTIFF=S EXHIBIT            849

                                             DATE                                 IDEN.

                                             DATE                                 EVID.

                                             BY
                                                             DEPUTY CLERK
                                             AO 386




                         Ghanem_Sentencing_00001299
